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 11
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 12

 13                        UNITED STATES DISTRICT COURT
 14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15                                 WESTERN DIVISION
 16

 17   DEN-MAT HOLDINGS, LLC,                     Case No.: 2-18-cv-6358-CAS-JEM
 18                Plaintiff/Counter-            CAO’S REPLY STATEMENT TO
                   Defendant,
 19                                              DENMAT’S RESPONSES TO CAO’S
             v.                                  STATEMENT OF
 20                                              UNCONTROVERTED FACTS
      CAO GROUP, INC.,
 21
                   Defendant/Counter-
 22                Plaintiff.
 23
                                                 Hearing Date: July 29, 2019
 24                                              Hearing Time: 10:00 a.m.
                                                 Judge: Hon. Christina A. Snyder
 25                                              Place: Courtroom 8D
 26   //
 27   //
 28   //

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1
             Pursuant to Local Rule 56-1, Defendant and Counterclaim Plaintiff CAO
  2
      GROUP, INC. (“CAO”) submits the following Reply Statement to the Responses
  3
      filed by Den-Mat Holdings, LLC (“DenMat”) to CAO’s Statement of
  4
      Uncontroverted Facts.
  5
         Uncontroverted             DenMat’s Response                      CAO’s Reply
  6
               Fact
  7   1. In 2015, CAO sued    Undisputed.                        The fact is established.
      Den-Mat Holdings,
  8
      LLC (“DenMat”) for
  9   patent infringement
      over certain patents
 10
      related to products
 11   sold by DenMat (“the
      Patent Lawsuit”).
 12
      The action was
 13   stayed while the
      United States Patent
 14
      and Trademark
 15   Office (“USPTO”)
 16
      conducted a
      reexamination of one
 17   of the patents in
 18
      question, which it
      completed in July
 19   2017, verifying
 20
      CAO’s patent rights.
      DenMat Compl. at
 21   2:11-16; CAO
 22
      Answer and
      Countercl. at 10:10-
 23   22.
 24   2. In November 2017,     Disputed; the $800,000 in         The fact is established.
      DenMat and CAO           payments were not based on an     DenMat’s attempt to
 25   entered two              “anticipated judgment” CAO        create a disputed issue is
 26   agreements: (i) a        would have received against       neither material to the
      Nonexclusive Patent      DenMat in the Patent Lawsuit.”    issues before the Court
 27   License (“the License    The $800,000 in payments were     on CAO’s Motion for
 28   Agreement”); and (ii)    in consideration for CAO’s        Partial Summary

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2             Fact
      a Manufacturing and      supplying DenMat with the           Judgment, nor
  3   Service Agreement        lasers and laser tips under the     supported by the
  4   (“the Manufacturing      Initial Purchase Order, which       evidence.
      Agreement”). The         had a value of $724,000.
  5   parties entered these    Support: DEN 00001-00021            Section 4.1 of the License
  6   two agreements to        (Section 7.1) (“[CAO] will          Agreement expressly
      settle the Patent        provide these quantities of         states that DenMat was
  7   Lawsuit, and the         Products in the Initial Purchase    to pay the $800,000
  8   $800,000 license         Order at no cost to DENMAT.”)       License Issue Fee to
      issue fee DenMat         (attached to Tiberi Decl. at Exh.   CAO in consideration
  9   agreed to pay under      10); DEN 05200-DEN 05201            for the license that CAO
 10   the License              (attached to Tiberi Decl. at        granted to DenMat
      Agreement was based      Exh. 10); Cao Depo. at 48:23-       under the License
 11   on the anticipated       49:24, 156:16-23                    Agreement. Dkt. No 55-
 12   judgment CAO             (attached to Tiberi Decl. at Exh    7, Kopp Decl. 7/8/19, Ex.
      would have received      1).                                 I (License Agreement)
 13   against DenMat in                                            § 4.1. The
 14   the Patent Lawsuit.                                          Manufacturing
      DenMat Compl. at                                             Agreement says nothing
 15   2:21-27; CAO                                                 about the $800,000
 16   Answer and                                                   License Issue Fee or any
      Countercl. at 10:27 –                                        other obligation that
 17   11:3; Declaration of                                         DenMat owes under the
 18   Densen Cao (“CAO                                             License Agreement. Dkt.
      Decl.”) ¶ 3, Ex. 1                                           No 55-6, Kopp Decl.
 19
      (License Agreement)                                          7/8/19, Ex. H
 20   and Ex. 2                                                    (Manufacturing
      (Manufacturing                                               Agreement).
 21
      Agreement).
 22                                                                DenMat fails to offer any
                                                                   evidence to controvert
 23
                                                                   the evidence presented in
 24                                                                support of this
                                                                   uncontroverted fact,
 25
                                                                   which speaks for itself.
 26
      3. In entering the Disputed as to “calculated to net         The fact is established.
 27
      Manufacturing      CAO a profit on each product              DenMat’s attempt to
 28   Agreement, CAO and sold”; DenMat of what net                 create a disputed issue is
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted               DenMat’s Response                    CAO’s Reply
  2            Fact
      DenMat desired that       profit, if any, and when, CAO       neither material to the
  3   CAO would                 targeted; DenMat had no             issues before the Court
  4   manufacture the           knowledge of CAO’s volume           on CAO’s Motion for
      products addressed in     buying power for laser              Partial Summary
  5   the Manufacturing         components, internal business       Judgment, nor
  6   Agreement                 model, profit targets,              supported by the
      exclusively for           manufacturing efficiency, or any    evidence.
  7   DenMat, once the          other factors CAO may have
  8   products were ready       considered in negotiating the       DenMat admits that the
      for production by         terms of the contract.              objective of the parties
  9   CAO, at which point       Support: Casper Depo. at 91:13-     was not to enter an
 10   CAO would sell the        92:2, 129:21-130:3, 251:2-10        agreement that would
      products to DenMat        (attached to Tiberi Decl. at Exh.   cause CAO to suffer a
 11   at fixed prices which     4); Cao Depo. at 96:4-13            loss, but to enter an
 12   were calculated to net    (attached to Tiberi Decl. at Exh.   agreement that was
      CAO a profit on each      1).                                 mutually beneficial. Dkt
 13   product sold.                                                 No. 55-9, Kopp Decl. ¶
 14   CAO Decl., ¶ 3, Ex.                                           8, Ex. L (Cartagena
      2, Recital F and § 5.2.                                       Depo. 161:18-25 to
 15                                                                 162:2.).
 16
                                                                    DenMat fails to offer any
 17
                                                                    evidence to controvert
 18                                                                 the evidence presented in
                                                                    support of this
 19
                                                                    uncontroverted fact,
 20                                                                 which speaks for itself.
 21
      4. By its terms, the      Undisputed.                         The fact is established.
 22   Manufacturing
      Agreement is to be
 23
      governed, construed
 24   and enforced
      exclusively in
 25
      accordance with the
 26   laws of the State of
      California and the
 27
      laws of the United
 28   States of America.

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2             Fact
      CAO Decl., ¶ 3,
  3   Ex. 2, § 13.5.
  4   5. Section 3.1 of the   Disputed as mischaracterizes        The fact is established.
      Manufacturing           Section 3.1; the document           DenMat’s attempt to
  5   Agreement requires      speaks for itself and does not      create a disputed issue is
  6   DenMat to provide       state that DenMat is required to    neither material to the
      all the information     “provide all the information and    issues before the Court
  7   and materials that      materials that CAO would need       on CAO’s Motion for
  8   CAO would need to       to make the products.” Support:     Partial Summary
      make the products,      DEN 00001-00021 (Section            Judgment, nor
  9   and further requires    3.1) (attached to Tiberi Decl. at   supported by the
 10   DenMat to pay for       Exh. 10).                           evidence.
      any necessary
 11   tooling.                                                    DenMat fails to offer any
 12   CAO Decl., ¶ 3, Ex.                                         evidence to controvert
      2, § 3.1.                                                   the evidence presented in
 13                                                               support of this
 14                                                               uncontroverted fact,
                                                                  which speaks for itself.
 15

 16   6. Section 4.1 of the    Undisputed.                        The fact is established.
      Manufacturing
 17
      Agreement requires
 18   CAO to use
      commercially
 19
      reasonable efforts to
 20   develop and deliver
      products within three
 21
      (3) months of signing
 22   the Manufacturing
      Agreement, but
 23
      further acknowledges
 24   that this timeline is an
      estimate and may
 25
      take more or less time
 26   depending on many
      factors.
 27
      CAO Decl., ¶ 3, Ex.
 28   2, § 4.1.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted          DenMat’s Response                         CAO’s Reply
  2             Fact
      7. Under Section 4.2 Undisputed.                           The fact is established.
  3   of the Manufacturing
  4   Agreement, DenMat
      had an option to
  5   require CAO to
  6   purchase DenMat’s
      Existing Inventory of
  7   components at
  8   DenMat’s material
      cost, plus four
  9   percent (4%), or at
 10   the then current fair
      market price of
 11   equivalent
 12   component inventory,
      whichever is less.
 13   CAO Decl., ¶ 3, Ex.
 14   2, § 4.2.
      8. If DenMat          Undisputed.                          The fact is established.
 15
      exercised its option
 16   under Section 4.2 of
      the Manufacturing
 17
      Agreement, CAO
 18   would be prohibited
      from purchasing
 19
      components
 20   elsewhere until
      DenMat’s existing
 21
      inventory was
 22   consumed.
      CAO Decl., ¶ 3, Ex.
 23
      2, § 4.2.
 24   9. Under Section 4.3 Undisputed.                           The fact is established.
      of the Manufacturing
 25
      Agreement, if CAO
 26   “fails to timely
      supply all or
 27
      substantially all of
 28   two (2) or more
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted          DenMat’s Response                         CAO’s Reply
  2             Fact
      Purchase Orders,”
  3   and is unable to cure
  4   within ten (10) days,
      then this shall be
  5   considered a material
  6   breach committed by
      CAO, “unless CAO’s
  7   failure to timely
  8   supply is caused by
      [DenMat].”
  9   CAO Decl., ¶ 3, Ex.
 10   2, § 4.3.
      10. Under Section 7.1 Undisputed.                          The fact is established.
 11   of the Manufacturing
 12   Agreement, DenMat
      was to issue an
 13   “Initial Purchase
 14   Order” of following
      quantity after
 15
      completion of
 16   manufacturing
      logistics between
 17
      DenMat and CAO:
 18   150 Units NV laser
      kits, 150 Units SOL
 19
      laser kits, and
 20   200,000 laser tips.
      CAO Decl., ¶ 3, Ex.
 21
      2, § 7.1.
 22   11. Under Section 7.2 Undisputed.                          The fact is established.
      of the Manufacturing
 23
      Agreement, DenMat
 24   was to allow CAO to
      deliver all the
 25
      products under the
 26   Initial Purchase
      Order, then wait an
 27
      additional thirty days,
 28   then commence
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted            DenMat’s Response                       CAO’s Reply
  2             Fact
      ordering additional
  3   products from CAO
  4   in lower minimum
      quantities.
  5   CAO Decl., ¶ 3, Ex.
  6   2, § 7.2.
      12. Under Section 9.5 Undisputed.                          The fact is established.
  7   of the Manufacturing
  8   Agreement, CAO
      agreed to
  9   manufacture the
 10   products in
      accordance with
 11   DenMat’s
 12   specifications,
      drawings, and
 13   technical
 14   requirements, using
      approved vendors and
 15
      components; and
 16   agreed not to change
      any bills of materials,
 17
      vendors, or work
 18   instructions without
      prior written approval
 19
      of DenMat.
 20   CAO Decl., ¶ 3, Ex.
      2, § 9.5.
 21
      13. Section 13.7 of     Undisputed.                        The fact is established.
 22   the Manufacturing
      Agreement requires
 23
      that any attempted
 24   modification of the
      Manufacturing
 25
      Agreement is not
 26   effective unless it is
      made in a writing
 27
      executed by both
 28   CAO and DenMat.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2            Fact
      CAO Decl., ¶ 3, Ex.
  3   2, § 13.7.
  4   14. Section 13.7 of      Undisputed.                        The fact is established.
      the Manufacturing
  5   Agreement further
  6   states that no
      standard terms on any
  7   purchase order or
  8   other documentation
      of DenMat shall be
  9   binding on CAO
 10   unless separately
      agreed to by CAO as
 11   a modification of the
 12   Manufacturing
      Agreement.
 13   CAO Decl., ¶ 3, Ex.
 14   2, § 13.7.
      15. Section 4.1 of the   Disputed; the $800,000 in          The fact is established.
 15
      License Agreement        payments were not based on an      DenMat’s attempt to
 16   requires DenMat to       “anticipated judgment” CAO         create a disputed issue is
      pay CAO a License        would have received against        neither material to the
 17
      Issue Fee of $800,000    DenMat in the Patent Lawsuit.”     issues before the Court
 18   in consideration for     The $800,000 in payments were      on CAO’s Motion for
      the license CAO          in consideration for CAO’s         Partial Summary
 19
      granted to DenMat to     supplying DenMat with the          Judgment, nor
 20   use CAO’s patents,       lasers and laser tips under the    supported by the
      with the first payment   Initial Purchase Order, which      evidence.
 21
      due within five (5)      had a value of $724,000.
 22   days of execution of     Support: DEN 00001-00021           Section 4.1 of the License
      the License              (Section 7.1) (“[CAO] will         Agreement expressly
 23
      Agreement, in the        provide these quantities of        states that DenMat was
 24   amount of $200,000.      Products in the Initial Purchase   to pay the $800,000
      CAO Decl., ¶ 3, Ex.      Order at no cost to                License Issue Fee to
 25
      1, § 4.1                 DENMAT.”), DEN05200-               CAO in consideration
 26                            DEN05201                           for the license that CAO
                               (attached to Tiberi Decl. at       granted to DenMat
 27
                               Exh. 10); Cao Depo. at 48:23-      under the License
 28                            49:24, 156:16-23                   Agreement. Dkt. No 55-
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted               DenMat’s Response                    CAO’s Reply
  2          Fact
                                (attached to Tiberi Decl. at Exh    7, Kopp Decl. 7/8/19, Ex.
  3                                                                 I (License Agreement)
                                1.)
  4                                                                 § 4.1. The
                                                                    Manufacturing
  5                                                                 Agreement says nothing
  6                                                                 about the $800,000
                                                                    License Issue Fee or any
  7                                                                 other obligation that
  8                                                                 DenMat owes under the
                                                                    License Agreement. Dkt.
  9                                                                 No 55-6, Kopp Decl.
 10                                                                 7/8/19, Ex. H
                                                                    (Manufacturing
 11                                                                 Agreement).
 12
                                                                    DenMat fails to offer any
 13                                                                 evidence to controvert
 14                                                                 the evidence presented in
                                                                    support of this
 15                                                                 uncontroverted fact,
 16                                                                 which speaks for itself.
 17
      16. Section 4.2 of the    Disputed as mischaracterizes the    The fact is established.
 18   License Agreement         document; the document speaks       DenMat’s attempt to
      requires that DenMat      for itself and Section 4.3          create a disputed issue is
 19
      shall pay CAO a           specifically exempts three          neither material to the
 20   royalty of ten percent    categories of products from a       issues before the Court
      (10%) of DenMat’s         royalty obligation, including any   on CAO’s Motion for
 21
      net sales price for the   products sold by DenMat that        Partial Summary
 22   products DenMat           are purchased from CAO:             Judgment, nor
      sells which use                                               supported by the
 23
      CAO’s patents,                                                evidence.
 24   beginning on January
      1, 2018 and                                                   DenMat fails to offer any
 25
      continuing until the                                          evidence to controvert
 26   patents expire.           Support: DEN 00022-00035            the evidence presented in
      CAO Decl., ¶ 3, Ex.       (Section 4.3) (attached to Tiberi   support of this
 27
      1, § 4.2.                 Decl. at Exh. 10).                  uncontroverted fact,
 28                                                                 which speaks for itself.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted              DenMat’s Response                     CAO’s Reply
  2            Fact
      17. On February 27,      Disputed as mischaracterizes         The fact is established.
  3   2018, CAO received       the Initial Purchase Order; the      DenMat’s attempt to
  4   six purchase orders      Initial Purchase                     create a disputed issue is
      from DenMat.             Order was comprised of               neither material to the
  5   CAO Decl., ¶ 4,          different quantities over multiple   issues before the Court
  6   Ex. 3.                   delivery dates,                      on CAO’s Motion for
                               which is common in a                 Partial Summary
  7                            manufacturing                        Judgment, nor
  8                            and supply agreement; the Initial    supported by the
                               Purchase Order had the correct       evidence.
  9                            quantities for Products under
 10                            Section                              DenMat fails to offer any
                               7.1 of the Manufacturing             evidence to controvert
 11                            Agreement.                           the evidence presented in
 12                            Support: CAO 002676-002684           support of this
                               (attached to Tiberi Decl. at         uncontroverted fact,
 13                            Exh. 9).                             which speaks for itself.
 14
      18. The six purchase     Disputed as mischaracterizes         The fact is established.
 15
      orders CAO received      the Initial Purchase Order; the      DenMat’s attempt to
 16   on February 27, 2018     Initial Purchase Order was           create a disputed issue is
      were the only            comprised of different               neither material to the
 17
      purchase orders that     quantities over multiple             issues before the Court
 18   CAO received from        delivery dates, which is             on CAO’s Motion for
      DenMat, and CAO          common in a manufacturing            Partial Summary
 19
      never received a         and supply agreement; the            Judgment, nor
 20   single purchase order    Initial Purchase Order had the       supported by the
      from DenMat              correct quantities for Products      evidence.
 21
      ordering “150 Units      under Section 7.1 of the
 22   NV laser kits, 150       Manufacturing Agreement.             DenMat fails to offer any
      Units SOL laser kits,    Support: CAO 002676-002684           evidence to controvert
 23
      and 200,000 laser        (attached to Tiberi Decl. at Exh.    the evidence presented in
 24   tips” as required to     9).                                  support of this
      meet the definition of                                        uncontroverted fact.
 25
      the Initial Purchase
 26   Order under Section
      7.1 of the
 27
      Manufacturing
 28   Agreement.

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2             Fact
      CAO Decl., ¶ 5.
  3   19. Part of the          Disputed because the parties did    The fact is established.
  4   manufacturing            complete manufacturing              DenMat’s attempt to
      logistics phase, which   logistics as evidenced by CAO’s     create a disputed issue is
  5   Section 7.1 of the       manufacturing DenMat’s lasers       not supported by the
  6   Manufacturing            (but they did not pass              evidence.
      Agreement required       validation); also the deposition
  7   the parties to           excerpt cited as support does not   David Casper, DenMat’s
  8   complete before          provide support because the         Chief Executive Officer
      DenMat issued the        non-lawyer deponent was asked       and appointed
  9   Initial Purchase         to make a legal conclusion as to    representative under
 10   Order, was a process     the legal definition of             Rule 30(b)(6), admits
      validation.              “manufacturing logistics,”          that the manufacturing
 11   CAO Decl., ¶ 6;          which is an undefined term in a     logistics phase was not
 12   Declaration of           contract.                           completed because the
      Nathan J. Kopp                                               parties did not complete
 13   (“Kopp Decl.”), ¶ 5,     Support: Casper Depo. at
                                                                   the process validation.
      Ex. A (Deposition of     145:11- 146:4; 168:21-169:7
 14                                                                He testified: “As it
      David Casper             (attached to Tiberi
                                                                   clearly states in Section
 15                            Decl. at Exh. 4).
      (“Casper Depo.”)                                             7.1, the initial purchase
 16   145:8-25 to 146:1-9).                                        order is to be issued
                                                                   after the manufactured
 17
                                                                   initial logistics were
 18                                                                completed, which
                                                                   includes process
 19
                                                                   validation to your point,
 20                                                                and we had not gotten
                                                                   there yet.” Dkt. No. 41-
 21
                                                                   16, Kopp Decl. 6/24/19
 22                                                                (Casper Depo. 153:24-
                                                                   154:3).
 23

 24                                                                DenMat fails to offer any
                                                                   evidence to controvert
 25
                                                                   the evidence presented in
 26                                                                support of this
                                                                   uncontroverted fact.
 27

 28

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2             Fact
      20. CAO and DenMat      Undisputed.                         The fact is established.
  3   never completed the
  4   process validation.
      CAO Decl., ¶ 7;
  5   Kopp Decl., ¶ 5, Ex.
  6   A (Casper Depo.
      55:13-25 to 56:1-6,
  7   60:11-25 to 61:1-20);
  8   Kopp Decl., ¶ 6, Ex.
      B (Deposition of
  9   Robert Cartagena
 10   (“Cartagena Depo.”)
      235:7-9); Kopp Decl.,
 11   ¶ 7, Ex. C
 12   (Deposition of
      Nicholas Gonzales
 13   (“Gonzales Depo.”)
 14   196:11-13).
      21. Because CAO         Disputed because the parties did    The fact is established.
 15
      and DenMat never        complete manufacturing              DenMat’s attempt to
 16   completed the           logistics as evidenced by CAO’s     create a disputed issue is
      process validation,     manufacturing DenMat’s lasers       not supported by the
 17
      they never completed    (but they did not pass              evidence.
 18   manufacturing           validation); also, the deposition
      logistics.              excerpt cited as support does not   David Casper, DenMat’s
 19
      CAO Decl., ¶ 8;         provide support because the         Chief Executive Officer
 20   Kopp Decl., ¶ 5, Ex.    non-lawyer deponent was asked       and appointed
      A (Casper Depo.         to make a legal conclusion as to    representative under
 21
      153:22-25 to 154:1-     the legal definition of             Rule 30(b)(6), admits
 22   3).                     “manufacturing logistics,”          that the manufacturing
                              which is an                         logistics phase was not
 23
                              undefined term in a contract.       completed because the
 24                                                               parties did not complete
                              Support: Casper Depo. at            the process validation.
 25
                              145:11- 146:4; 168:21-169:7         He testified: “As it
 26                           (attached to Tiberi                 clearly states in Section
                              Decl. at Exh. 4).                   7.1, the initial purchase
 27
                                                                  order is to be issued
 28                                                               after the manufactured
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                 initial logistics were
  3                                                              completed, which
  4                                                              includes process
                                                                 validation to your point,
  5                                                              and we had not gotten
  6                                                              there yet.” Dkt. No. 41-
                                                                 16, Kopp Decl. 6/24/19
  7                                                              (Casper Depo. 153:24-
  8                                                              154:3).
  9                                                              DenMat fails to offer any
 10                                                              evidence to controvert
                                                                 the evidence presented in
 11                                                              support of this
 12                                                              uncontroverted fact.
 13   22. CAO was not        Undisputed.                         The fact is established.
 14   authorized to make
      any products for
 15
      DenMat to sell to
 16   customers until the
      process validation
 17
      was successfully
 18   completed.
      CAO Decl., ¶ 9;
 19
      Kopp Decl., ¶ 5, Ex.
 20   A (Casper Depo.
      55:13-25 to 56:1-6,
 21
      60:11-25 to 61:1-20).
 22   23. CAO was not        Undisputed.                         The fact is established.
      authorized to build or
 23
      deliver products to
 24   fill any DenMat
      purchase order until
 25
      the parties
 26   successfully
      completed the
 27
      process validation.
 28   CAO Decl. ¶ 10;
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2             Fact
      Kopp Decl., ¶ 6, Ex.
  3   B (Cartagena Depo.
  4   212:22-24); Kopp
      Decl., ¶ 7, Ex. C
  5   (Gonzales Depo.
  6   183:6-10); Kopp
      Decl., ¶ 5, Ex. A
  7   (Casper Depo.
  8   192:13-25 to 194:1-
      4).
  9   24. On February 26,      Undisputed.                       The fact is established.
 10   2018, DenMat’s
      Chief Operating
 11   Officer, Robert
 12   Cartagena, had sent
      an e-mail to DenMat
 13   personnel which
 14   included the text of
      Section 7.1 of the
 15
      Manufacturing
 16   Agreement and the
      statement: “We need
 17
      to issue the Initial
 18   Purchase Order as
      outlined in Section
 19
      7.”
 20   Kopp Decl. ¶ 8, Ex.
      D.; Kopp Decl., ¶ 6,
 21
      Ex. B (Cartagena
 22   Depo. 180:11-20).
      25. David Casper,        Disputed as incomplete; the       The fact is established.
 23
      testifying on behalf     context of the cited deposition   DenMat’s attempt to
 24   of DenMat, stated        excerpt is as follows:            create a disputed issue is
      that he does not                                           neither material to the
 25
      specifically know        “Q. Right. Do you know why
                                                                 issues before the Court
      why DenMat issued        Den-Mat issued multiple
 26                                                              on CAO’s Motion for
      multiple purchase        purchase orders instead of the
                                                                 Partial Summary
 27                            initial purchase order as
      orders instead of the                                      Judgment, nor
      Initial Purchase Order   defined in the manufacturing
 28                                                              supported by the
                               agreement?
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted              DenMat’s Response                     CAO’s Reply
  2            Fact
      as defined in the        A. I don't know specifically.       evidence.
  3   Manufacturing            It's -- they are all blanket
  4   Agreement.               purchase orders for one             DenMat fails to offer any
      Kopp Decl., ¶ 5, Ex.     product over a given period of      evidence to controvert
  5   A (Casper Depo.          time with multiple deliveries,      the evidence presented in
  6   158:19-25).              which is very consistent with       support of this
                               how we buy products.”               uncontroverted fact,
  7                                                                which speaks for itself.
                               Support: Casper Depo. at
  8
                               158:18-25
  9                            (attached to Tiberi Decl. at Exh.
 10
                               4).

 11   26. According to         Disputed as misleading; the         The fact is established.
 12   DenMat, the six          deponent also testified that the    DenMat’s attempt to
      purchase orders that     Initial Purchase Order included     create a disputed issue is
 13   DenMat issued were       “multiple separate purchase         neither material to the
 14   treated by the parties   orders.” Support: Casper Depo.      issues before the Court
      as one Initial           at 159:1-5                          on CAO’s Motion for
 15   Purchase Order.          (attached to Tiberi Decl. at Exh.   Partial Summary
 16   Kopp Decl., ¶ 5, Ex.     4).                                 Judgment, nor
      A (Casper Depo.                                              supported by the
 17   160:21-25 to 161:1-                                          evidence.
 18   20).
                                                                   DenMat fails to offer any
 19                                                                evidence to controvert
 20                                                                the evidence presented in
                                                                   support of this
 21                                                                uncontroverted fact,
 22                                                                which speaks for itself.
 23   27. DenMat admits        Disputed as incomplete; the         The fact is established.
 24   that DenMat was to       document speaks for itself; the     DenMat’s attempt to
      pay for tooling under    full context is “If there is a      create a disputed issue is
 25   the Manufacturing        tooling needed, DENMAT              neither material to the
 26   Agreement.               agrees to pay such tooling fee.”    issues before the Court
      Kopp Decl., ¶ 5, Ex.     Support: DEN 00001-00021            on CAO’s Motion for
 27   A (Casper Depo.          (Section 3.1) (attached to Tiberi   Partial Summary
 28   217:8-11).               Decl. at Exh. 10).                  Judgment, nor

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  1      Uncontroverted              DenMat’s Response                     CAO’s Reply
  2          Fact
                                                                   supported by the
  3                                                                evidence.
  4
                                                                   DenMat fails to offer any
  5                                                                evidence to controvert
  6                                                                the evidence presented in
                                                                   support of this
  7                                                                uncontroverted fact,
  8                                                                which speaks for itself.
  9   28. To enable CAO        Disputed as mischaracterizes        The fact is established.
 10   to make the products     Section 3.1; the document           DenMat’s attempt to
      under the                speaks for itself and does not      create a disputed issue is
 11   Manufacturing            state that DenMat is required to    neither material to the
 12   Agreement, DenMat        “provide all the information and    issues before the Court
      needed to provide        materials that CAO would need       on CAO’s Motion for
 13   CAO with all the         to make the products.”              Partial Summary
 14   information and                                              Judgment, nor
      specifications for the   Support: DEN 00001-00021            supported by the
 15                            (Section 3.1) (attached to Tiberi
      products.                                                    evidence.
 16   CAO Decl., ¶ 12;         Decl. at Exh. 10).
      Kopp Decl., ¶ 5, Ex.                                         DenMat fails to offer any
 17
      A (Casper Depo.                                              evidence to controvert
 18   64:5-14).                                                    the evidence presented in
                                                                   support of this
 19
                                                                   uncontroverted fact,
 20                                                                which speaks for itself.
 21
      29. David Casper,     Undisputed.                            The fact is established.
 22   testifying on behalf
      of DenMat, stated
 23
      that he does not know
 24   whether, as of March
      2018, DenMat had
 25
      provided CAO with
 26   all of the material
      specifications CAO
 27
      needed to build
 28   DenMat’s lasers.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2           Fact
      Kopp Decl., ¶ 5, Ex.
  3   A (Casper Depo.
  4   167:24-25 to 168:1-
      20, 169:16-25 to
  5   170:1-5).
  6   30. According to         Disputed as misleading; the       The fact is established.
      DenMat, CAO              deponent in the excerpt cited     DenMat’s attempt to
  7   continued to request     by CAO also testified that he     create a disputed issue is
  8   information from         “can’t speak to what              neither material to the
      DenMat, through          any those of communications       issues before the Court
  9   May 24, 2018.            were.”                            on CAO’s Motion for
 10   Kopp Decl., ¶ 5, Ex.                                       Partial Summary
      A (Casper Depo.          Support: Casper Depo. at 170:2- Judgment, nor
 11   167:24-25 to 168:1-      12                                supported by the
 12   20, 169:16-25 to         (attached to Tiberi Decl. at Exh. evidence.
      170:1-5).                4).
 13                                                              DenMat fails to offer any
 14                                                              evidence to controvert
                                                                 the evidence presented in
 15
                                                                 support of this
 16                                                              uncontroverted fact,
                                                                 which speaks for itself.
 17

 18   31. DenMat trusts the Undisputed.                          The fact is established.
      estimate of Nicholas
 19
      Gonzales, its Director
 20   of Operations, for
      when DenMat
 21
      provided CAO with
 22   all the information
      CAO needed to build
 23
      DenMat’s lasers.
 24   Kopp Decl., ¶ 5, Ex.
      A (Casper Depo.
 25
      214:8-12).
 26   32. According to       Undisputed.                         The fact is established.
      Nicholas Gonzales,
 27
      the time when CAO
 28   had everything it
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2             Fact
      needed from DenMat
  3   to build DenMat’s
  4   lasers was in March
      or April of 2018.
  5   Kopp Decl., ¶ 7, Ex.
  6   C (Gonzales Depo.
      207:3-21).
  7   33. After CAO            Disputed; CAO was able to       The fact is established.
  8   received DenMat’s        build SOLs and NVs using        DenMat’s attempt to
      six purchase orders      DenMat’s components.            create a disputed issue is
  9   on February 27,                                          neither material to the
                               Support: Casper Depo. at
 10   2018, it contacted                                       issues before the Court
                               168:21-169:7 (attached to
      DenMat to notify                                         on CAO’s Motion for
 11                            Tiberi Decl. at Exh. 4);
      DenMat that CAO                                          Partial Summary
 12   was still missing        Cao Depo. at 92:12-21 (attached Judgment, nor
      information from         to Tiberi Decl. at Exh. 1).     supported by the
 13   DenMat which would                                       evidence.
 14   prevent CAO from
      delivering finished                                        DenMat fails to offer any
 15
      products by the due                                        evidence to controvert
 16   dates in the purchase                                      the evidence presented in
      orders, and which                                          support of this
 17
      was preventing CAO                                         uncontroverted fact,
 18   from manufacturing                                         which speaks for itself.
      products in
 19
      accordance with
 20   DenMat’s
      specifications.
 21
      CAO Decl. ¶ 11, Ex.
 22   4 and 5 (Hult Email
      3/12/18 and Jones
 23
      Email 3/13/18)
 24   34. To determine        Disputed; at least as early as     The fact is established.
      whether CAO needed      February 2018, DenMat made         DenMat’s attempt to
 25
      to make arrangements    CAO aware of its suppliers’        create a disputed issue is
 26   to purchase             contact information and            neither material to the
      components from         provided a list of all DenMat      issues before the Court
 27
      sources other than      laser component inventory to       on CAO’s Motion for
 28   DenMat, and             CAO; the parties were in           Partial Summary
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2            Fact
      otherwise plan its      constant contact regarding          Judgment, nor
  3   supply chain and        DenMat’s inventory, which           supported by the
  4   manufacturing           CAO could have purchased at         evidence.
      process, CAO needed     any time.
  5   DenMat to inform                                            In the event that
      CAO whether             Support: CAO 002685-CAO             DenMat decided to
  6
      DenMat intended to      002693 (attached to Tiberi Decl.    exercise its option to
  7   exercise its option     at Exh. 9); Cartagena Depo. at      require CAO to
      under Section 4.2 of    116:3-118:12                        purchase its existing
  8
      the Manufacturing       (attached to Tiberi Decl. at Exh.   inventory under Section
  9   Agreement.              6).                                 4.2 of the Manufacturing
 10   CAO Decl. ¶ 13.                                             Agreement, CAO would
                                                                  be prohibited from
 11                                                               purchasing components
 12                                                               from any other source
                                                                  until DenMat’s existing
 13                                                               inventory was exhausted.
 14                                                               Dkt. No. 55-6, Kopp Decl.
                                                                  7/8/19, Ex. H
 15                                                               (Manufacturing
 16                                                               Agreement) § 3.1. CAO
                                                                  was therefore unable to
 17
                                                                  order any components
 18                                                               from alternative sources,
                                                                  without risking a breach
 19
                                                                  of Section 4.2 of the
 20                                                               Manufacturing
                                                                  Agreement, until
 21
                                                                  DenMat decided
 22                                                               whether or not it was
                                                                  going to exercise the
 23
                                                                  option under Section 4.2,
 24                                                               and advised CAO
                                                                  accordingly. Id.; Dkt. No.
 25
                                                                  41-2, CAO Decl. 6/24/19,
 26                                                               ¶ 13.
 27
                                                                  DenMat fails to offer any
 28                                                               evidence to controvert

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                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted              DenMat’s Response                     CAO’s Reply
  2          Fact
                                                                 the evidence presented in
  3                                                              support of this
  4                                                              uncontroverted fact,
                                                                 which speaks for itself.
  5

  6   35. CAO made direct       Disputed; at least as early as   The fact is established.
      requests to DenMat,       February 2018, DenMat made       DenMat’s attempt to
  7   attempting to get         CAO aware of its suppliers’      create a disputed issue is
  8   DenMat to state           contact information and          neither material to the
      whether it intended to    provided a list of all DenMat    issues before the Court
  9   exercise its option       laser                            on CAO’s Motion for
 10   under Section 4.2 of     component inventory to CAO;       Partial Summary
      the Manufacturing        the parties were in constant      Judgment, nor
 11   Agreement.               contact regarding DenMat’s        supported by the
 12   CAO Decl. ¶ 14;          inventory, which CAO could        evidence.
      Kopp Decl., ¶ 9, Ex.     have purchased at any time;
 13   E.                       CAO did not ask DenMat            The DenMat e-mail cited
 14                            whether it intended to exercise   in support of this
                               the                               uncontroverted fact
 15
                               option in Section 4.2 of the      shows that CAO asked
 16                            Manufacturing Agreement.          DenMat whether it
                               Support: CAO 002685-CAO           intended to exercise its
 17
                               002693                            option under Section 4.2
 18                                                              of the Manufacturing
                               (attached to Tiberi Decl. at      Agreement. In it,
 19                            Exh. 9); Cartagena Depo. at       DenMat’s Chief
 20                            116:3-118:12 (attached to         Operating Officer,
                               Tiberi Depo. at Exh. 6);          Robert Cartagena,
 21                            Casper Depo. at 130:21-           stated: “The CAO
 22                            131:22                            Group simply wants to
                               (attached to Tiberi Decl. at      know whether or not we
 23                            Exh. 4).                          will exercise our option
 24                                                              and if so, what items and
                                                                 what quantities we will
 25
                                                                 be selling.” Dkt. No. 41-
 26                                                              20, Kopp Decl. 6/24/19, ¶
                                                                 9, Ex. E.
 27

 28                                                              DenMat fails to offer any
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                  evidence to controvert
  3                                                               the evidence presented in
  4                                                               support of this
                                                                  uncontroverted fact,
  5                                                               which speaks for itself.
  6
      36. DenMat never        Undisputed.                         The fact is established.
  7   exercised its option
  8   under Section 4.2 of
      the Manufacturing
  9   Agreement.
 10   CAO Decl. ¶ 15;
      Kopp Decl., ¶ 6, Ex.
 11   B (Cartagena Depo.
 12   113:11-25 to 115:5-
      18).
 13
      37. DenMat never        Disputed; at least as early as      The fact is established.
 14   sent CAO any            February 2018, DenMat made          DenMat’s attempt to
      communication           CAO aware of its suppliers’         create a disputed issue is
 15
      indicating whether or   contact information and             neither material to the
 16   not it intended to      provided a list of all DenMat       issues before the Court
      exercise its option     laser component inventory to        on CAO’s Motion for
 17
      under Section 4.2 of    CAO; the                            Partial Summary
 18   the Manufacturing       parties were in constant contact    Judgment, nor
      Agreement.              regarding DenMat’s inventory,       supported by the
 19
      CAO Decl. ¶ 16;         which CAO could have                evidence.
 20   Kopp Decl., ¶ 6, Ex.    purchased at any time; CAO did
      B (Cartagena Depo.      not ask DenMat                      Robert Cartagena,
 21
      113:11-25 to 115:5-     whether it intended to exercise     DenMat’s Chief
 22   18).                    the option in Section 4.2 of the    Operating Officer,
                              Manufacturing Agreement.            admits that this
 23
                                                                  uncontroverted fact is
 24                           Support: CAO 002685-CAO             true. He testified as
                              002693                              follows:
 25                           (attached to Tiberi Decl. at Exh.
 26                           9);                                 Q. To your knowledge,
                              Cartagena Depo. at 116:3-           did DenMat ever tell
 27                           118:12                              anyone at CAO that it was
 28                           (attached to Tiberi Decl. at Exh.   choosing not to exercise
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                              6);                                 that option?
  3                           Casper Depo. at 130:21-131:22
  4                           (attached to Tiberi Decl. at Exh.   A. No. I don’t believe
                              4).                                 that there was any
  5                                                               communication either
  6                                                               way of DenMat’s
                                                                  choosing not to exercise
  7                                                               the option or choosing to
  8                                                               exercise the option.
                                                                  There was no
  9                                                               communication either
 10                                                               way.
 11                                                               Dkt. No. 41-17, Kopp
 12                                                               Decl., ¶ 6, Ex. B
                                                                  (Cartagena Depo. 113:11-
 13                                                               25 to 115:5-18).
 14
                                                                  DenMat fails to offer any
 15                                                               evidence to controvert
 16                                                               the evidence presented in
                                                                  support of this
 17
                                                                  uncontroverted fact,
 18                                                               which speaks for itself.
 19
      38. Because DenMat      Disputed; at least as early as      The fact is established.
 20   did not tell CAO one    February 2018, DenMat made          DenMat’s attempt to
      way or the other        CAO aware of its suppliers’         create a disputed issue is
 21
      whether DenMat          contact information and             neither material to the
 22   intended to exercise    provided a list of all DenMat       issues before the Court
      its option under        laser                               on CAO’s Motion for
 23
      Section 4.2 of the      component inventory to CAO;         Partial Summary
 24   Manufacturing           the parties were in constant        Judgment, nor
      Agreement, CAO          contact                             supported by the
 25
      was unable to           regading DenMat’s inventory,        evidence.
 26   determine which, and    which
      how many,               CAO could have purchased at         DenMat has
 27
      components CAO          any                                 acknowledged in writing
 28   would be required to    time; CAO did not ask DenMat        that CAO was
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1     Uncontroverted              DenMat’s Response                      CAO’s Reply
  2            Fact
      purchase from           whether it intended to exercise     requesting DenMat to
  3   DenMat’s existing       the                                 advise whether it was
  4   inventory and which     option in Section 4.2 of the        going to exercise its
      components CAO          Manufacturing Agreement.            option under Section 4.2
  5   would be permitted to   Support: CAO 002685-CAO             of the Manufacturing
  6   purchase from other     002693                              Agreement. DenMat’s
      sources.                (attached to Tiberi Decl. at Exh.   Chief Operating Officer,
  7   CAO Decl. ¶ 17.         9);                                 Robert Cartagena,
  8                           Cartagena Depo. at 116:3-           stated: “The CAO
                              118:12 (attached to Tiberi Decl.    Group simply wants to
  9                           at Exh. 6);                         know whether or not we
 10                           Casper Depo. at 130:21-131:22       will exercise our option
                              (attached to Tiberi Decl. at Exh.   and if so, what items and
 11                           4).                                 what quantities we will
 12                                                               be selling.” Dkt. No. 41-
                                                                  20, Kopp Decl. 6/24/19, ¶
 13                                                               9, Ex. E.
 14
                                                                  Mr. Cartagena further
 15                                                               admits that DenMat
 16                                                               never told CAO whether
                                                                  it intended to exercise
 17
                                                                  the option. He testified
 18                                                               as follows:
 19
                                                                  Q. To your knowledge,
 20                                                               did DenMat ever tell
                                                                  anyone at CAO that it was
 21
                                                                  choosing not to exercise
 22                                                               that option?
 23
                                                                  A. No. I don’t believe
 24                                                               that there was any
                                                                  communication either
 25
                                                                  way of DenMat’s
 26                                                               choosing not to exercise
                                                                  the option or choosing to
 27
                                                                  exercise the option.
 28                                                               There was no

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                  communication either
  3                                                               way.
  4
                                                                  Dkt. No. 41-17, Kopp
  5                                                               Decl., ¶ 6, Ex. B
  6                                                               (Cartagena Depo. 113:11-
                                                                  25 to 115:5-18).
  7

  8
                                                                  DenMat fails to offer any
  9                                                               evidence to controvert
 10                                                               the evidence presented in
                                                                  support of this
 11                                                               uncontroverted fact,
 12                                                               which speaks for itself.
 13   39. CAO                 Disputed to the extend CAO          The fact is established.
 14   manufactured and        intends                             DenMat’s attempt to
      delivered products to   “delivered” to have legal           create a disputed issue is
 15
      DenMat during the       significance with respect to the    neither material to the
 16   pilot builds and        Manufacturing                       issues before the Court
      process validation.     Agreement or the License            on CAO’s Motion for
 17
      CAO Decl. ¶ 18;         Agreement;                          Partial Summary
 18   Kopp Decl., ¶ 7, Ex.    CAO sent certain lasers to          Judgment, nor
      C (Gonzales Depo.       DenMat during the pilot builds      supported by the
 19
      74:2-16, 109:10-14,     and validation                      evidence.
 20   130:15-25 to 131:1-     (but CAO was never able to
      12); Kopp Decl., ¶ 6,   successfully complete a             DenMat fails to offer any
 21
      Ex. B (Cartagena        validation for SOL or NVPro3        evidence to controvert
 22   Depo. 107:16-25 to      and never attempted to validate     the evidence presented in
      108:1-12, 226:13-25     the laser tips).                    support of this
 23
      to 227:1); Kopp         Support: Larsen Depo. at 108:7-     uncontroverted fact,
 24   Decl., ¶ 5, Ex. A       109:14                              which speaks for itself.
      (Casper Depo.           (attached to Tiberi Decl. at Exh.
 25
      163:22-25 to 164:1-     2);
 26   10).                    Gonzales Depo. at 74:24-75:25,
                              109:6-110:2 (attached to Tiberi
 27
                              Decl. at Exh. 7).
 28   40. CAO never made      Disputed to the extent that         The fact is established.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1     Uncontroverted              DenMat’s Response                      CAO’s Reply
  2           Fact
      products for DenMat     DenMat cannot be certain that       DenMat’s attempt to
  3   using any vendors or    CAO never used a vendor or          create a disputed issue is
  4   components that         component that DenMat               neither material to the
      DenMat had not          did not approve to make             issues before the Court
  5   approved.               Products under the                  on CAO’s Motion for
  6   CAO Decl. ¶ 19.         Manufacturing Agreement; if         Partial Summary
                              CAO did so, that would be a         Judgment, nor
  7                           breach of the Manufacturing         supported by the
  8                           Agreement.                          evidence.
                              Support: DEN 00001-00021
  9                           (Section                           DenMat fails to offer any
 10                           9.5) (attached to Tiberi Decl. at  evidence to controvert
                              Exh.                               the evidence presented in
 11                           10).                               support of this
 12                                                              uncontroverted fact,
                                                                 which speaks for itself.
 13   41. CAO’s               Disputed; CAO’s representation The fact is established.
 14   representation in       in                                 DenMat’s attempt to
      Section 11.3 of the     Section 11.3 is false as           create a disputed issue is
 15
      Manufacturing           demonstrated by its failure to     not supported by the
 16   Agreement was true      perform and its statements that it evidence.
      at the time CAO         cannot perform.
 17
      entered the             Support: Cao Depo. at 141:6-23 DenMat fails to offer any
 18   Manufacturing           (attached to Tiberi Decl. at Exh. evidence to controvert
      Agreement, and it       1);                                the evidence presented in
 19
      remains true.           DEN 00275-00276, DEN05202- support of this
 20   CAO Decl. ¶ 20.         DEN05208 (attached to Tiberi       uncontroverted fact,
                              Decl. at                           which speaks for itself.
 21
                              Exh. 10); Cartagena Depo. at
 22                           254:4-
                              255:14; Casper Depo. at 245:22-
 23
                              246:15
 24                           (attached to Tiberi Decl. at Exh.
                              4);
 25
                              Casper Decl., ¶ 3.
 26   42. Over the course     Disputed; the factual record is    The fact is established.
      of this case, DenMat    replete                            DenMat’s attempt to
 27
      has not provided        with evidence of DenMat’s          create a disputed issue is
 28   CAO with any            damages.                           not supported by the
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted                DenMat’s Response                   CAO’s Reply
  2            Fact
      evidence of damages        Support: Casper 238:20-239:10;      evidence.
  3   DenMat has incurred        296:23-297:1 (attached to Tiberi
  4   as a result of CAO’s       Decl.                               DenMat has presented
      alleged breaches of        at Exh. 4); Casper Decl., ¶ 4.      no evidence supporting
  5   the Manufacturing                                              the damage claims it
  6   Agreement.                                                     raised for the first time
      Kopp Decl. ¶ 4.                                                in response to CAO’s
  7                                                                  Motion for Partial
  8                                                                  Summary Judgment.
                                                                     DenMat did not disclose
  9                                                                  these damage claims, or
 10                                                                  any evidence to support
                                                                     them, in its Initial
 11                                                                  Disclosures in this case
 12                                                                  or in any subsequent
                                                                     disclosure or production.
 13                                                                  Kopp Decl., ¶ 3, Ex. Z
 14                                                                  (DenMat Initial
                                                                     Disclosures).
 15

 16                                                                  DenMat fails to offer any
                                                                     evidence to controvert
 17
                                                                     the evidence presented in
 18                                                                  support of this
                                                                     uncontroverted fact,
 19
                                                                     which speaks for itself.
 20
      43. While DenMat           Disputed as misleading; DenMat      The fact is established.
 21
      and CAO were               lost the extra gross profit would   DenMat’s attempt to
 22   working together           have made if CAO performed by       create a disputed issue is
      under the                  supplying lasers                    not supported by the
 23
      Manufacturing              by March 1, 2018; DenMat lost       evidence.
 24   Agreement, DenMat          $200,000 it paid to CAO in
      continued to make          consideration for no-charge         DenMat has presented
 25
      and sell the lasers that   lasers and                          no evidence supporting
 26   CAO was contracted         laser tips; DenMat lost money       the damage claims it
      to build. DenMat was       spent on its labor, time, and       raised for the first time
 27
      not losing money at        expenses; DenMat lost money         in response to CAO’s
 28   this time, and that        on free components.                 Motion for Partial
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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                                  #:2630

  1     Uncontroverted              DenMat’s Response                      CAO’s Reply
  2           Fact
      DenMat was              Support: Casper Depo. at 235:8-     Summary Judgment.
  3   continuing to make      236:8,                              DenMat did not disclose
  4   money.                  238:20-239:10 (attached to          these damage claims, or
      Kopp Decl., ¶ 5, Ex.    Tiberi                              any evidence to support
  5   A                       Decl. at Exh. 4); Casper Decl., ¶   them, in its Initial
  6                           4.                                  Disclosures in this case
                                                                  or in any subsequent
  7                                                               disclosure or production.
  8                                                               Kopp Decl., ¶ 3, Ex. Z
                                                                  (DenMat Initial
  9                                                               Disclosures).
 10
                                                                  Section 4.1 of the License
 11                                                               Agreement expressly
 12                                                               states that DenMat was
                                                                  to pay the $800,000
 13                                                               License Issue Fee to
 14                                                               CAO, including the first
                                                                  payment of $200,000, in
 15                                                               consideration for the
 16                                                               license that CAO
                                                                  granted to DenMat
 17
                                                                  under the License
 18                                                               Agreement, not in
                                                                  consideration for “no-
 19
                                                                  charge lasers and laser
 20                                                               tips.” Dkt. No 55-7, Kopp
                                                                  Decl. 7/8/19, Ex. I
 21
                                                                  (License Agreement)
 22                                                               § 4.1.
 23
                                                                  DenMat fails to offer any
 24                                                               evidence to controvert
                                                                  the evidence presented in
 25
                                                                  support of this
 26                                                               uncontroverted fact,
                                                                  which speaks for itself.
 27

 28   44. While DenMat        Disputed; CAO caused DenMat         The fact is established.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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                                  #:2631

  1     Uncontroverted              DenMat’s Response                      CAO’s Reply
  2           Fact
      and CAO were            to lose                              DenMat’s attempt to
  3   working together        money prior to and each day          create a disputed issue is
  4   under the               after March 1, 2018 due to           evidence.
      Manufacturing           CAO’s failure to
  5   Agreement, DenMat       supply lasers as of March 1,         DenMat has presented
  6   was not losing          2018 and CAO’s breach of the         no evidence supporting
      money, but was          Manufacturing                        the damage claims it
  7   continuing to make      Agreement; also, DenMat lost         raised for the first time
  8   money.                  the extra gross profit would have    in response to CAO’s
      Kopp Decl., ¶ 5, Ex.    made if CAO                          Motion for Partial
  9   A (Casper Depo.         performed by supplying lasers        Summary Judgment.
 10   238:11-19).             by March 1, 2018; DenMat lost        DenMat did not disclose
                              $200,000                             these damage claims, or
 11                           it paid to CAO in consideration      any evidence to support
 12                           for nocharge lasers and laser        them, in its Initial
                              tips; DenMat                         Disclosures in this case
 13                           lost money spent on its labor,       or in any subsequent
 14                           time, and                            disclosure or production.
                              expenses; DenMat lost money          Kopp Decl., ¶ 3, Ex. Z
 15                           on free                              (DenMat Initial
 16                           components; whether DenMat           Disclosures).
                              overall
 17                           as a company with roughly            Section 4.1 of the License
 18                           6,000 SKUs other than lasers         Agreement expressly
                              was “making money” is                states that DenMat was
 19
                              immaterial.                          to pay the $800,000
 20                           Support: Casper Depo. at 235:8-      License Issue Fee to
                              236:8 (attached to Tiberi Decl. at   CAO, including the first
 21
                              Exh. 4);                             payment of $200,000, in
 22                           Casper Decl., ¶ 4.                   consideration for the
                                                                   license that CAO
 23
                                                                   granted to DenMat
 24                                                                under the License
                                                                   Agreement, not in
 25
                                                                   consideration for “no-
 26                                                                charge lasers and laser
                                                                   tips.” Dkt. No 55-7, Kopp
 27
                                                                   Decl. 7/8/19, Ex. I
 28                                                                (License Agreement)

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  1      Uncontroverted                DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                     § 4.1.
  3

  4                                                                  DenMat fails to offer any
                                                                     evidence to controvert
  5                                                                  the evidence presented in
  6                                                                  support of this
                                                                     uncontroverted fact,
  7                                                                  which speaks for itself.
  8   45. DenMat’s               Disputed as misleading and          The fact is established.
      position is that it does   immaterial; the deponent in the     DenMat’s attempt to
  9   not owe any future         excerpt                             create a disputed issue is
 10   license payments or        cited by CAO also testified that    neither material to the
      royalty fees to CAO,       “[i]t                               issues before the Court
 11   which potentially          would be pure speculation to        on CAO’s Motion for
 12   makes DenMat worth         indicate                            Partial Summary
      more to a prospective      that we would somehow               Judgment, nor
 13   buyer of the               predetermine value of whatever      supported by the
 14   company.                   royalties or license fees we        evidence.
      Kopp Decl., ¶ 5, Ex.       would pay.”
 15
      A (Casper Depo.            Support: Casper Depo. at 298:6-     DenMat fails to offer any
 16   298:6-25 to 299:1-3).      15                                  evidence to controvert
                                 (attached to Tiberi Decl. at Exh.   the evidence presented in
 17
                                 4).                                 support of this
 18                                                                  uncontroverted fact,
                                                                     which speaks for itself.
 19
      46. DenMat’s               Disputed; the claims are based      The fact is established.
 20   anticipatory               on CAO’s statements and             DenMat’s attempt to
      repudiation claims         actions,                            create a disputed issue is
 21
      against CAO are            including ceasing to perform        neither material to the
 22   based on alleged           under the                           issues before the Court
      statements by CAO.         Manufacturing Agreement, and        on CAO’s Motion for
 23
      Kopp Decl., ¶ 9, Ex.       multiple statements.                Partial Summary
 24   F (DenMat Resp. to         Support: Cao Depo. at 126:6-        Judgment, nor
      First Set of Disc.,        127:6,                              supported by the
 25
      Answer to Interrog.        140:22-141:11 (attached to          evidence.
 26   No. 3 11:20-28 to          Tiberi Decl. at Exh. 1); Casper
      12:1-16)                   Depo. at                            DenMat has never
 27
                                 269:4- 25 (attached to Tiberi       alleged in this case that
 28                              Decl. at                            its anticipatory
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted              DenMat’s Response                     CAO’s Reply
  2          Fact
                               Exh. 4); DEN05202-DEN05208,         repudiation claims are
  3                            DEN                                 based on anything but
  4                            00704 (attached to Tiberi Decl.     statements made by
                               at Exh.                             CAO. Even if DenMat
  5                            10); Cartagena Depo. at 254:4-      had attempted to claim
  6                            255:14                              that its repudiation
                               (attached to Tiberi Decl. at Exh.   claims are also based on
  7                            6);                                 alleged conduct by CAO,
  8                            CAO 000250-000255 (attached         it has alleged no conduct
                               to Tiberi Decl. at Exh. 9);         by CAO whereby CAO
  9                            Casper Decl., ¶ 3.                  ever “put[] it out of [its]
 10                                                                power to perform so as
                                                                   to make substantial
 11                                                                performance of [its]
 12                                                                promise impossible.”
                                                                   (Taylor v. Johnston
 13                                                                (1975) 15 Cal.3d 130,
 14                                                                137.)
 15                                                                DenMat fails to offer any
 16                                                                evidence to controvert
                                                                   the evidence presented in
 17
                                                                   support of this
 18                                                                uncontroverted fact,
                                                                   which speaks for itself.
 19
      47. On May 16, 2018,     Disputed as mischaracterizing       The fact is established.
 20   CAO sent DenMat a        the May 16, 2018 as a proposal      DenMat’s attempt to
      proposal to transition   “to transition                      create a disputed issue is
 21
      away from vendors        away from vendors and               neither material to the
 22   and components           components DenMat had been          issues before the Court
      DenMat had been          using”; in reality, the proposal    on CAO’s Motion for
 23
      using, and to            was a demand to redesign            Partial Summary
 24   alternative vendors      DenMat’s lasers by substituting     Judgment, nor
      and components           at least                            supported by the
 25
      identified by CAO,       145 new components, requiring       evidence.
 26   with DenMat’s            extraordinary DenMat resources,
      approval.                and                              David Casper, DenMat’s
 27
      CAO Decl., ¶ 21, Ex.     taking several months if not     Chief Executive Officer
 28   6 (CAO Proposal          years.                           and appointed
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1     Uncontroverted              DenMat’s Response                      CAO’s Reply
  2           Fact
      May 16, 2018, DEN       Support: DEN 00704 (attached        representative under
  3   4050-4056).             to                                  Rule 30(b)(6), admits
  4                           Tiberi Decl. at Exh. 10); CAO       that the proposal that
                              000250-                             CAO sent DenMat on
  5                           000255, 002922-002935               May 16, 2018 requests
  6                           (attached to                        DenMat’s approval to
                              Tiberi Decl. at Exh. 9); Cao        make the changes set
  7                           Depo. at                            forth in the proposal,
  8                           126:6-127:6 (attached to Tiberi     which is consistent with
                              Decl.                               the Manufacturing
  9                           at Exh. 1); Larsen Depo. at         Agreement. Dkt. No. 41-
 10                           115:19-                             16, Kopp Decl. 6/24/19, ¶
                              117:4, 121:7-122:2 (attached to     5, Ex. A (Casper Depo.
 11                           Tiberi                              243:15-18).
 12                           Decl. at Exh. 2); Casper Decl., ¶
                              13.                                 DenMat fails to offer any
 13                                                               evidence to controvert
 14                                                               the evidence presented in
                                                                  support of this
 15                                                               uncontroverted fact,
 16                                                               which speaks for itself.
 17
      48. DenMat had          Disputed as misleading; CAO         The fact is established.
 18   requested that CAO      verbally stated to DenMat it        DenMat’s attempt to
      prepare and send        would not perform unless it can     create a disputed issue is
 19
      DenMat the May 16,      substitute components;              neither material to the
 20   2018 proposal.          DenMat asked CAO to                 issues before the Court
      CAO Decl., ¶ 22;        memorialize the request so          on CAO’s Motion for
 21
      Kopp Decl., ¶ 5, Ex.    DenMat could consider it.           Partial Summary
 22   A (Casper Depo.         Support: Casper Depo. at            Judgment, nor
      224:15-17; 225:16-      223:18- 224:17 (attached to         supported by the
 23
      24).                    Tiberi Decl. at                     evidence.
 24                           Exh. 4).
                                                                  David Casper, DenMat’s
 25
                                                                  Chief Executive Officer
 26                                                               and appointed
                                                                  representative under
 27
                                                                  Rule 30(b)(6), admits
 28                                                               that DenMat invited
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                  CAO to prepare the
  3                                                               proposal that CAO sent
  4                                                               on May 16, 2018. Dkt.
                                                                  No. 41-16, Kopp Decl.
  5                                                               6/24/19, ¶ 5, Ex. A
  6                                                               (Casper Depo. 224:15-17;
                                                                  225:16-24).
  7

  8                                                               DenMat fails to offer any
                                                                  evidence to controvert
  9                                                               the evidence presented in
 10                                                               support of this
                                                                  uncontroverted fact,
 11                                                               which speaks for itself.
 12
      49. From the early       Disputed as incorrect; there was   The fact is established.
 13   stages of CAO’s and      no                                 DenMat’s attempt to
 14   DenMat’s work            understanding that CAO would       create a disputed issue is
      together under the       be                                 neither material to the
 15
      Manufacturing            permitted to source components     issues before the Court
 16   Agreement, the           from                               on CAO’s Motion for
      parties understood       vendors other than DenMat’s        Partial Summary
 17
      that CAO would be        existing                           Judgment, nor
 18   permitted to source      vendors without DenMat’s prior     supported by the
      components from          approval as expressly              evidence.
 19
      vendors other than       memorialized in the                DenMat
 20   DenMat’s existing        Manufacturing Agreement; CAO       mischaracterizes the
      vendors, and the         was not prohibited from            uncontroverted fact,
 21
      parties discussed this   sourcing                           which does not suggest
 22   openly.                  components from other vendors,     that CAO intended to
      CAO Decl., ¶ 23;         validating the components, and     make changes without
 23
      Kopp Decl., ¶ 5, Ex.     then                               DenMat’s approval.
 24   A (Casper Depo.          proposing the validated
      57:23-25 to 58:1-3,      components to DenMat; DenMat       DenMat fails to offer any
 25
      59:13-19); Kopp          had sole discretion whether to     evidence to controvert
 26   Decl., ¶ 6, Ex. B        approve or not approve any and     the evidence presented in
      (Cartagena Depo.         all such suggestions from CAO,     support of this
 27
      55:4-11).                per the terms of the               uncontroverted fact,
 28                            Manufacturing Agreement.           which speaks for itself.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                             Support: DEN 00001-00021
  3                          (Section
  4                          9.5) (attached to Tiberi Decl. at
                             Exh.
  5                          10); Larsen Depo. at 48:13-49:2
  6                          (attached to Tiberi Decl. at Exh.
                             2);
  7                          CAO 002034, CAO 002039
  8                          (attached
                             to Tiberi Decl. at Exh. 9); Hult
  9                          Depo.
 10                          at 80:19-81:12 (attached to
                             Tiberi
 11                          Decl. at Exh. 3); Casper Decl., ¶
 12                          15.
      50. The proposal that Disputed as incorrect and            The fact is established.
 13   CAO sent DenMat on mischaracterizes the May 16,            DenMat’s attempt to
 14   May 16, 2018           2018 communication as a             create a disputed issue is
      requests DenMat’s      proposal “to transition away        neither material to the
 15
      approval to make the from vendors and components           issues before the Court
 16   changes set forth in   DenMat had been using”;             on CAO’s Motion for
      the proposal, which is in reality, the proposal was a      Partial Summary
 17
      consistent with the    demand to redesign DenMat’s         Judgment, nor
 18   Manufacturing          lasers by                           supported by the
      Agreement.             substituting at least 145 new       evidence.
 19
      CAO Decl., ¶ 24;       components, requiring
 20   Kopp Decl., ¶ 5, Ex. extraordinary                         David Casper, DenMat’s
      A (Casper Depo.        DenMat resources, and taking        Chief Executive Officer
 21
      243:15-18).            several months if not years.        and appointed
 22                          Support: DEN 00704 (attached        representative under
                             to Tiberi Decl. at Exh. 10); CAO    Rule 30(b)(6), admits
 23
                             000250-000255, CAO 002034,          that the proposal that
 24                          CAO 002039,                         CAO sent DenMat on
                             CAO 002922-002935 (attached         May 16, 2018 requests
 25
                             to Tiberi Decl. at Exh. 9); Cao     DenMat’s approval to
 26                          Depo. at                            make the changes set
                             126:6-127:6 (attached to Tiberi     forth in the proposal,
 27
                             Decl. at Exh. 1); Larsen Depo. at   which is consistent with
 28                          48:13-49:2, 115:19-117:4,           the Manufacturing
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                              121:7-122:2 (attached to            Agreement. Dkt. No. 41-
  3                           Tiberi Decl. at Exh. 2); Casper     16, Kopp Decl. 6/24/19, ¶
  4                           Depo. at 244:2-246:3 (attached      5, Ex. A (Casper Depo.
                              to Tiberi                           243:15-18).
  5                           Decl. at Exh. 4); Casper Decl.,
  6                           ¶¶ 12, 13.                          DenMat fails to offer any
                                                                  evidence to controvert
  7                                                               the evidence presented in
  8                                                               support of this
                                                                  uncontroverted fact,
  9                                                               which speaks for itself.
 10
      51. After CAO sent      Disputed; DenMat considered         The fact is established.
 11   DenMat the May 16,      approving the proposal but, eight   DenMat’s attempt to
 12   2018 proposal,          days after in received the          create a disputed issue is
      DenMat did not          proposal, ultimately rejected it    neither material to the
 13   consider approving      because of, inter alia, the         issues before the Court
 14   any of the changes      extraordinary burden it would       on CAO’s Motion for
      CAO proposed, but       place on DenMat resources (and      Partial Summary
 15
      rejected it out of      the                                 Judgment, nor
 16   hand.                   fact that CAO had no legal right    supported by the
      CAO Decl., ¶ 25;        to force DenMat to accept the       evidence.
 17
      Kopp Decl., ¶ 5, Ex.    proposal).
 18   A (Casper Depo.         Support: DEN 00700-00703            David Casper, DenMat’s
      246:16-25 to 247:1-     (attached                           Chief Executive Officer
 19
      5).                     to Tiberi Decl. at Exh. 10);        and appointed
 20                           Casper                              representative under
                              Depo. at 244:2-246:3 (attached      Rule 30(b)(6), admits
 21
                              to                                  that DenMat never
 22                           Tiberi Decl. at Exh. 4); Casper     considered any of the
                              Decl.,                              proposed changes that
 23
                              ¶¶ 12, 13.                          presented in the
 24                                                               proposal that CAO sent
                                                                  DenMat on May 16,
 25
                                                                  2018, and further admits
 26                                                               that “the proposal, in
                                                                  itself, was rejected out of
 27
                                                                  hand.” Dkt. No. 41-16,
 28                                                               Kopp Decl. 6/24/19, ¶ 5,

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  1      Uncontroverted              DenMat’s Response                     CAO’s Reply
  2          Fact
                                                                    Ex. A (Casper Depo.
  3                                                                 246:16-25 to 247:1-5).
  4
                                                                    DenMat fails to offer any
  5                                                                 evidence to controvert
  6                                                                 the evidence presented in
                                                                    support of this
  7                                                                 uncontroverted fact,
  8                                                                 which speaks for itself.
  9   52. After DenMat         Disputed; DenMat considered          DenMat’s attempt to
 10   rejected CAO’s May       approving the proposal but, eight    create a disputed issue is
      16, 2018 proposal        days after the proposal,             neither material to the
 11   and refused to           ultimately rejected it because of,   issues before the Court
 12   consider approving       inter alia, the extraordinary        on CAO’s Motion for
      alternative vendors or   burden it would place on             Partial Summary
 13   components, Densen       DenMat                               Judgment, nor
 14   Cao contacted David      resources (and the fact that CAO     supported by the
      Casper to ascertain      had no legal right to force          evidence.
 15
      why.                     DenMat to accept the proposal);
 16   CAO Decl., ¶ 26.         Densen Cao contacted David           David Casper, DenMat’s
                               Casper not to ascertain why but      Chief Executive Officer
 17
                               to demand that DenMat accept         and appointed
 18                            his proposal.                        representative under
                                                                    Rule 30(b)(6), admits
 19                            Support: DEN 00700-00703,            that DenMat never
 20                            DEN                                  considered any of the
                               05202-05208 (DEN 05203)              proposed changes that
 21                            (attached                            presented in the
 22                            to Tiberi Decl. at Exh. 10);         proposal that CAO sent
                               Casper Depo. at 244:2-246:3          DenMat on May 16,
 23                            (attached to                         2018, and further admits
 24                            Tiberi Decl. at Exh. 4); Casper      that “the proposal, in
                               Decl.,                               itself, was rejected out of
 25                            ¶¶ 12, 13.                           hand.” Dkt. No. 41-16,
 26                                                                 Kopp Decl. 6/24/19, ¶ 5,
                                                                    Ex. A (Casper Depo.
 27
                                                                    246:16-25 to 247:1-5).
 28

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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                  DenMat fails to offer any
  3                                                               evidence to controvert
  4                                                               the evidence presented in
                                                                  support of this
  5                                                               uncontroverted fact,
  6                                                               which speaks for itself.
  7   53. Densen Cao           Disputed; Dr. Cao told David       DenMat’s attempt to
  8   represented to David     Casper that if CAO performed       create a disputed issue is
      Casper that CAO          under the Manufacturing            neither material to the
  9   would suffer a loss on   Agreement using                    issues before the Court
 10   each laser it made       DenMat’s component and             on CAO’s Motion for
      under the                vendors, CAO would make 12%        Partial Summary
 11   Manufacturing            profit margin                      Judgment, nor
 12   Agreement if DenMat      on the SOL laser and 5% profit     supported by the
      refused to approve       on the NVPro3 laser but wanted     evidence.
 13   vendors and              to make
 14   components other         more money; CAO also admitted      The testimony cited from
      than those DenMat        it would make even more profit     David Casper does not
 15
      had been using, thus     on the                             support DenMat’s
 16   undermining the          laser tips.                        statement. Mr. Casper’s
      purpose of the           Support: Casper Depo. at           testimony was that Dr.
 17
      Manufacturing            256:11-21,                         Cao represented to him
 18   Agreement, which         289:23-290:19 (attached to         that CAO had a “gross
      was supposed to          Tiberi                             margin of 12 percent for
 19
      allow CAO to profit      Decl. at Exh. 4); Cao Depo. at     SOL, 5 percent for the
 20   on each laser sold.      91:14-                             NV PRO3,” and that
      DenMat’s known           21, 126:6-127:6, 160:5-11          Mr. Casper interpreted
 21
      costs to make each       (attached to                       these representations as
 22   laser, using its         Tiberi Decl. at Exh. 1); DEN       “profit that CAO Group
      existing vendors and     05202-                             would realize if it
 23
      components and           05208 (DEN 05204) (attached to     followed the
 24   without including any    Tiberi                             manufacturing
      profit margin, were      Decl. at Exh. 10); Casper Decl.,   agreement as written
 25
      higher than the final    ¶ 11.                              and agreed to.” Dkt. No.
 26   sale prices CAO                                             38-4, Casper Depo. at
      could charge for each                                       289:23-290:19 (attached
 27
      laser under Section                                         to Tiberi Decl. at Ex. 4).
 28   5.2 of the                                                  DenMat’s cited
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1     Uncontroverted              DenMat’s Response                      CAO’s Reply
  2          Fact
      Manufacturing                                              testimony from Mr.
  3   Agreement.                                                 Casper expressly notes
  4   CAO Decl., ¶¶ 27-28.                                       that this was Mr.
                                                                 Casper’s interpretation
  5                                                              of something Dr. Cao
  6                                                              allegedly said, based on
                                                                 Mr. Casper’s
  7                                                              understanding of the
  8                                                              Manufacturing
                                                                 Agreement “as written
  9                                                              and agreed to.”
 10                                                              However, Mr. Casper
                                                                 admitted that, as written
 11                                                              and agreed to, the
 12                                                              Manufacturing
                                                                 Agreement does not state
 13                                                              that CAO must only use
 14                                                              DenMat’s existing
                                                                 vendors and
 15                                                              components. Dkt. No. 55-
 16                                                              10, Kopp Decl., ¶ 8, Ex.
                                                                 M (Casper Depo. 257:7-
 17                                                              24).
 18
                                                                 Section 9.5 of the
 19
                                                                 Manufacturing
 20                                                              Agreement, as written
                                                                 and agreed to, permits
 21
                                                                 CAO to use alternative
 22                                                              vendors and
                                                                 components, with
 23
                                                                 DenMat’s approval. Dkt.
 24                                                              No. 55-6, Kopp Decl.
                                                                 7/8/19, ¶ 3, Ex. H, § 9.5
 25
                                                                 (Manufacturing
 26                                                              Agreement).
 27
                                                                 The testimony DenMat
 28                                                              cites from Dr. Cao also

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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                 does not support this
  3                                                              statement. In the cited
  4                                                              testimony, Dr. Cao states
                                                                 that CAO “should make
  5                                                              a profit with all the
  6                                                              product we build.” Dkt.
                                                                 No. 38-1, Cao Depo. at
  7                                                              91:14-21 (attached to
  8                                                              Tiberi Decl. at Exh. 1).
                                                                 This is a general
  9                                                              statement about why
 10                                                              CAO enters agreements
                                                                 to build products, not a
 11                                                              statement about CAO’s
 12                                                              ability to profit from the
                                                                 Manufacturing
 13                                                              Agreement if DenMat
 14                                                              refuses to approve any
                                                                 alternative vendors and
 15                                                              components, as DenMat
 16                                                              is attempting to imply.
                                                                 The other testimony
 17
                                                                 DenMat cites from Dr.
 18                                                              Cao on this point also
                                                                 does not help DenMat, as
 19
                                                                 he confirmed that when
 20                                                              he represented the gross
                                                                 margins to Mr. Casper,
 21
                                                                 they were based on
 22                                                              DenMat agreeing to
                                                                 approve CAO’s desire to
 23
                                                                 source non-critical
 24                                                              components from
                                                                 alternative vendors. Id.
 25
                                                                 at 160:5-11 (attached to
 26                                                              Tiberi Decl. at Exh. 1).
 27
                                                                 DenMat fails to offer any
 28                                                              evidence to controvert

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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                  the evidence presented in
  3                                                               support of this
  4                                                               uncontroverted fact,
                                                                  which speaks for itself.
  5

  6   54. Densen Cao          Disputed as mischaracterizes the    The fact is established.
      represented to David    evidence; Dr. Cao told David        DenMat’s attempt to
  7   Casper that if          Casper                              create a disputed issue is
  8   DenMat had not          that the Manufacturing              not supported by the
      intended to approve     Agreement was                       evidence.
  9   vendors and             “D.O.A.” because CAO refused
 10   components other        to perform in accordance with its   Neither the testimony
      than those DenMat       terms                               cited from Dr. Cao nor
 11   had been using, then    and wanted to make more money       Mr. Casper supports
 12   that would have made    out of the deal.                    DenMat’s contention
      the Manufacturing       Support: Cao Depo. at 171:21-       that Dr. Cao ever
 13   Agreement “D.O.A.”      172:16 (attached to Tiberi Decl.    represented that the
 14   CAO Decl., ¶ 29.        at Exh. 1);                         Manufacturing
                              Casper Depo. at 285:5-25            Agreement was
 15
                              (attached to Tiberi Decl. at Exh.   “D.O.A.” because CAO
 16                           4); DEN 05202-                      “wanted to make more
                              05208 (attached to Tiberi Decl.     money out of the deal,”
 17
                              at Exh. 10).                        or anything to that
 18                                                               effect.
 19
                                                                  DenMat fails to offer any
 20                                                               evidence to controvert
                                                                  the evidence presented in
 21
                                                                  support of this
 22                                                               uncontroverted fact,
                                                                  which speaks for itself.
 23

 24   55. Densen Cao          Disputed as mischaracterizes        The fact is established.
      represented to David    CAO’s                               DenMat’s attempt to
 25
      Casper that the         requests to use alternative         create a disputed issue is
 26   Manufacturing           vendors and                         neither material to the
      Agreement does not      components, with DenMat’s           issues before the Court
 27
      require CAO to use      approval;                           on CAO’s Motion for
 28   only DenMat’s           in reality, the proposal was a      Partial Summary
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2            Fact
      existing vendors and    demand                             Judgment, nor
  3   components, but         to redesign DenMat’s lasers by     supported by the
  4   permits CAO to use      substituting at least 145 new      evidence.
      alternative vendors     components, requiring
  5   and components, with    extraordinary                      DenMat fails to offer any
  6   DenMat’s approval.      DenMat resources, and taking       evidence to controvert
      CAO Decl., ¶ 30.        several                            the evidence presented in
  7                           months if not years to complete    support of this
  8                           the project.                       uncontroverted fact,
                                                                 which speaks for itself.
  9                        Support: CAO 000250-000255,
                           CAO
 10
                           002922-002935 (attached to
 11                        Tiberi
 12
                           Decl. at Exh. 9); Cao Depo. at
                           126:6-
 13                        127:6 (attached to Tiberi Decl. at
 14
                           Exh.
                           1); Larsen Depo. at 115:19-
 15                        117:4,
 16
                           121:7-122:2 (attached to Tiberi
                           Decl.
 17                        at Exh. 2); Casper Depo. at
 18
                           244:2-
                           246:3 (attached to Tiberi Decl. at
 19                        Exh.
 20                        4); Casper Decl., ¶ 12.
      56. By representing  Disputed as mischaracterizes the      The fact is established.
 21   to David Casper that evidence; Dr. Cao told David          DenMat’s attempt to
 22   DenMat’s attempt to Casper that the Manufacturing          create a disputed issue is
      force CAO to use     Agreement was                         not supported by the
 23   only DenMat’s        “D.O.A.” because CAO refused          evidence.
 24   existing vendors and to perform in accordance with its
      components would     terms                                 None of the testimony
 25   have made the        and wanted to make more money         cited supports DenMat’s
 26   Manufacturing        out of the deal; CAO would have       contention that Dr. Cao
      Agreement “D.O.A.,” made a                                 ever represented that the
 27   Densen Cao meant     profit if it performed under the      Manufacturing
 28   that the contract    Manufacturing Agreement; Dr.          Agreement was

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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2            Fact
      would have been a       Cao                                 “D.O.A.” because CAO
  3   losing venture for      told David Casper that if CAO       “wanted to make more
  4   CAO from the            performed under the                 money out of the deal,”
      beginning, because      Manufacturing                       or anything to that
  5   DenMat’s known cost     Agreement using DenMat’s            effect.
  6   to make each laser      components and vendors, that
      using its existing      CAO                                 The testimony cited from
  7   vendors and             would make 12% profit margin        David Casper does not
  8   components was          on the                              support DenMat’s
      higher than the final   NVPro3 laser and 5% profit on       statement. Mr. Casper’s
  9   sale price that CAO     the SOL laser but wanted to         testimony was that Dr.
 10   was permitted to        make more                           Cao represented to him
      charge DenMat per       money; CAO also admitted it         that CAO had a “gross
 11   laser under Section     would                               margin of 12 percent for
 12   5.2 of the              make even more profit on the        SOL, 5 percent for the
      Manufacturing           laser tips.                         NV PRO3,” and that
 13   Agreement.              Support: Cao Depo. at 91:14-21,     Mr. Casper interpreted
 14   CAO Decl., ¶ 31.        126:6-127:6, 160:5-11, 171:21-      these representations as
                              172:16                              “profit that CAO Group
 15                           (attached to Tiberi Decl. at Exh.   would realize if it
 16                           1);                                 followed the
                              Casper Depo. at 256:11-21,          manufacturing
 17                           285:5-25,                           agreement as written
 18                           289:23-290:19, (attached to         and agreed to.” Dkt. No.
                              Tiberi                              38-4, Casper Depo. at
 19
                              Decl. at Exh. 4); CAO 000250-       289:23-290:19 (attached
 20                           000255                              to Tiberi Decl. at Ex. 4).
                              (attached to Tiberi Decl. at Exh.   DenMat’s cited
 21
                              9);                                 testimony from Mr.
 22                           DEN 05202-05208 (DEN                Casper expressly notes
                              05204)                              that this was Mr.
 23
                              (attached to Tiberi Decl. at Exh.   Casper’s interpretation
 24                           10); Casper Decl., ¶ 11.            of something Dr. Cao
                                                                  allegedly said, based on
 25
                                                                  Mr. Casper’s
 26                                                               understanding of the
                                                                  Manufacturing
 27
                                                                  Agreement “as written
 28                                                               and agreed to.”

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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                 However, Mr. Casper
  3                                                              admitted that, as written
  4                                                              and agreed to, the
                                                                 Manufacturing
  5                                                              Agreement does not state
  6                                                              that CAO must only use
                                                                 DenMat’s existing
  7                                                              vendors and
  8                                                              components. Dkt. No. 55-
                                                                 10, Kopp Decl., ¶ 8, Ex.
  9                                                              M (Casper Depo. 257:7-
 10                                                              24).
 11                                                              Section 9.5 of the
 12                                                              Manufacturing
                                                                 Agreement, as written
 13                                                              and agreed to, permits
 14                                                              CAO to use alternative
                                                                 vendors and
 15                                                              components, with
 16                                                              DenMat’s approval. Dkt.
                                                                 No. ___, Kopp Decl.
 17                                                              7/8/19, ¶ 4, Ex. H, § 9.5
 18                                                              (Manufacturing
                                                                 Agreement).
 19
 20                                                              DenMat fails to offer any
                                                                 evidence to controvert
 21
                                                                 the evidence presented in
 22                                                              support of this
                                                                 uncontroverted fact,
 23
                                                                 which speaks for itself.
 24
      57. DenMat admits       Disputed as mischaracterizes the   The fact is established.
 25
      that it does not        evidence; DenMat understood it     DenMat’s attempt to
 26   understand what         meant                              create a disputed issue is
      Densen Cao was          CAO was not going to source        not supported by the
 27
      thinking, or what he    the                                evidence.
 28   meant, when Mr. Cao     components from approved

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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2            Fact
      allegedly said “the     vendors as                          Mr. Casper, DenMat’s
  3   Agreement was           required by the Manufacturing       appointed representative
  4   D.O.A.”                 Agreement.                          under Rule 30(b)(6),
      Kopp Decl., ¶ 5, Ex.    Support: Casper Depo. at 285:5-     admits that he does not
  5   A (Casper Depo.         25                                  understand what Dr.
  6   263:1-25 to 264:1).     (attached to Tiberi Decl. at Exh.   Cao was thinking, or
                              4).                                 what he meant, when he
  7                                                               said “D.O.A.” and that
  8                                                               he “has no idea what
                                                                  that means” to Dr. Cao.
  9                                                               Dkt. No. 55-10, Kopp
 10                                                               Decl. 7/8/19, ¶ 8, Ex. M
                                                                  (Casper Depo. 263:1-25 to
 11                                                               264:1).
 12
                                                                  DenMat fails to offer any
 13                                                               evidence to controvert
 14                                                               the evidence presented in
                                                                  support of this
 15                                                               uncontroverted fact,
 16                                                               which speaks for itself.
 17
      58. Beginning on        Disputed as misleading for          The fact is established.
 18   May 24, 2018,           incompleteness; the cited email     DenMat’s attempt to
      Densen Cao and          also contains Dr. Cao’s             create a disputed issue is
 19
      David Casper            admission that                      neither material to the
 20   exchanged e-mails,      CAO refuses to source               issues before the Court
      the first of which      components from DenMat’s            on CAO’s Motion for
 21
      contained the           vendors, which is a breach of the   Partial Summary
 22   following statement     Manufacturing                       Judgment, nor
      by Mr. Cao, among       Agreement and CAO’s motive          supported by the
 23
      others: “The best way   for its breach, namely, that it     evidence.
 24   to move forward is      claims it would lose money if it
      that DenMat will pay    performed under the                 DenMat fails to offer any
 25
      ongoing royalty for     Manufacturing Agreement; also       evidence to controvert
 26   lasers and tip sales    misleading as fails to provide      the evidence presented in
      per license             proper context, which was CAO       support of this
 27
      agreement, it will be   had stopped performing and was      uncontroverted fact,
 28   10% of net sales        threatening                         which speaks for itself.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted               DenMat’s Response                    CAO’s Reply
  2             Fact
      starting Jan. 1, 2018.”   DenMat.
  3   CAO Decl., ¶ 32, Ex.      Support: DEN 00701-00702,
  4   7 (Cao and Casper E-      DEN05202-DEN05208
      mails, DEN 700-01)        (attached to Tiberi Decl. at Exh.
  5                             10).
  6   59. CAO’s May 16,         Disputed as misleading; CAO          The fact is established.
      2018 proposal was         verbally stated to DenMat it         DenMat’s attempt to
  7   prepared upon             would not perform unless it can      create a disputed issue is
  8   DenMat’s invitation,      substitute components;               neither material to the
      does not include the      DenMat asked CAO to                  issues before the Court
  9   word “demand” or          memorialize the request so           on CAO’s Motion for
 10   anything to that          DenMat could consider it;            Partial Summary
      effect, and is framed     further disputed as                  Judgment, nor
 11   as a proposal for         mischaracterizing the May 16,        supported by the
 12   DenMat to accept or       2018 communication as a              evidence.
      reject.                   proposal; in reality, the proposal
 13   Kopp Decl., ¶ 5, Ex.      was a demand to redesign             Mr. Casper, DenMat’s
 14   A (Casper Depo.           DenMat’s lasers by substituting      appointed representative
      225:16-25 to 226:1-       at least 145 new components,         under Rule 30(b)(6),
 15
      17).                      requiring extraordinary DenMat       admits that CAO’s May
 16                             resources, and taking several        16, 2018 proposal was
                                months if not years. Support:        prepared upon
 17
                                DEN 00704 (attached to Tiberi        DenMat’s invitation,
 18                             Decl. at Exh. 10); Cao Depo. at      does not include the
                                126:6-127:6 (attached to Tiberi      word “demand” or
 19
                                Decl. at Exh. 1); Larsen Depo. at    anything to that effect,
 20                             115:19-117:4, 121:7-122:2            and is framed as a
                                (attached to Tiberi                  proposal for DenMat to
 21
                                Decl. at Exh. 2); CAO 000250-        accept or reject. Dkt. No.
 22                             000255, 002922-002935                41-16, Kopp Decl., ¶ 5,
                                (attached to Tiberi Decl. at Exh.    Ex. A (Casper Depo.
 23
                                9); DEN05202-DEN05208                225:16-25 to 226:1-17).
 24                             (attached to Tiberi Decl. at Exh.
                                10); Casper Depo. at 223:18-         DenMat fails to offer any
 25
                                224:17; 244:2-246:3; Casper          evidence to controvert
 26                             Decl., ¶¶ 12, 13.                    the evidence presented in
                                                                     support of this
 27
                                                                     uncontroverted fact,
 28                                                                  which speaks for itself.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1      Uncontroverted               DenMat’s Response                    CAO’s Reply
  2          Fact

  3   60. In its attempts to    Disputed as mischaracterizing;       The fact is established.
  4   continue working          CAO                                  DenMat’s attempt to
      with DenMat under         verbally stated to DenMat it         create a disputed issue is
  5   the Manufacturing         would not perform unless it can      neither material to the
  6   Agreement, CAO            substitute                           issues before the Court
      never demanded to         components; further disputed as      on CAO’s Motion for
  7   increase the prices set   mischaracterizing the May 16,        Partial Summary
  8   forth in the              2018 communication as a              Judgment, nor
      Manufacturing             proposal; in reality, the proposal   supported by the
  9   Agreement, or             was a demand to                      evidence.
 10   demanded that             redesign DenMat’s lasers by
      DenMat accept one         substituting at least 145 new        DenMat fails to offer any
 11   of the three options      components, requiring                evidence to controvert
 12   set forth in the May      extraordinary                        the evidence presented in
      16, 2018 proposal.        DenMat resources, and taking         support of this
 13   CAO Decl., ¶ 33.          several months if not years.         uncontroverted fact,
 14                             Support: Cao Depo. at 126:6-         which speaks for itself.
                                127:6
 15
                                (attached to Tiberi Decl. at Exh.
 16                             1); Larsen Depo. at 115:19-
                                117:4, 121:7-
 17
                                122:2 (attached to Tiberi Decl. at
 18                             Exh. 2); CAO 000250-000255,
                                CAO
 19
                                002922-002935 (attached to
 20                             Tiberi Decl. at Exh. 9); Casper
                                Depo. at 223:18-224:17; 244:2-
 21
                                246:3 (attached to Tiberi Decl. at
 22                             Exh. 4); DEN 00704,
                                DEN05202-DEN05208
 23
                                (attached to Tiberi Decl. at Exh.
 24                             10); Casper Decl.,
                                ¶¶ 12, 13.
 25
      61. On or about May       Undisputed.                          The fact is established.
 26   29, 2018, CAO
      received a letter from
 27
      DenMat’s counsel,
 28   Todd Tiberi, accusing
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2            Fact
      CAO of repudiating
  3   the Manufacturing
  4   Agreement, stating
      that DenMat desired
  5   that CAO honor the
  6   terms of the
      Manufacturing
  7   Agreement, and
  8   requesting that CAO
      revoke alleged
  9   repudiating
 10   statements.
      CAO Decl., ¶ 34, Ex.
 11   8 (Tiberi Letter, CAO
 12   2838-2839)
      62. On June 1, 2018,    Disputed as mischaracterizing       The fact is established.
 13   CAO responded to        the                                 DenMat’s attempt to
 14   Todd Tiberi’s May       evidence; CAO’s June 1, 2018        create a disputed issue is
      29, 2018 letter,        did not serve as a revocation of    neither material to the
 15
      denying that CAO        those repudiating statements and    issues before the Court
 16   had repudiated the      acts committed by CAO before        on CAO’s Motion for
      Manufacturing           or after June 1, 2018. Support:     Partial Summary
 17
      Agreement and           DEN 00275-00276, 05202-             Judgment, nor
 18   revoking any alleged    05208 (attached to Tiberi Decl.     supported by the
      statements of           at Exh.10); Cartagena Depo. at      evidence.
 19
      repudiation made on     254:21-255:14 (attached to
 20   behalf of CAO.          Tiberi Decl. at Exh. 6);            DenMat fails to offer any
      CAO Decl., ¶ 25, Ex.    Casper Decl., ¶ 3.                  evidence to controvert
 21
      9 (Jones Letter, CAO                                        the evidence presented in
 22   002844-2845).                                               support of this
                                                                  uncontroverted fact,
 23
                                                                  which speaks for itself.
 24
      63. The                 Disputed; the Manufacturing         The fact is established.
 25
      Manufacturing           Agreement states that “[CAO]        DenMat’s attempt to
 26   Agreement contains      will use commercially               create a disputed issue is
      no deadlines or time    reasonable efforts under this       neither material to the
 27
      for CAO to deliver      Agreement to develop and            issues before the Court
 28   products to DenMat.     deliver the Products within three   on CAO’s Motion for
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2           Fact
      CAO Decl., ¶ 3, Ex. 2   (3) months of signing this             Partial Summary
  3   (Manufacturing          Agreement.” In addition, the           Judgment, nor
  4   Agreement,              License Agreement states that          supported by the
      Deposition Exhibit      the Parties intend CAO to make         evidence.
  5   6).                     a first delivery of lasers “no later
  6                           than March 1, 2018” and that           DenMat omits the
                              CAO’s failure to                       language in the
  7                           make the first delivery under the      Manufacturing
  8                           Manufacturing Agreement by             Agreement which
                              March 15, 2018 shall mean              immediately follows its
  9                           DenMat will owe no additional          quote: “The Timeline is
 10                           payments to CAO.                       an estimate and may
                              Support: DEN 00022-00035               take more or less time
 11                           (Section 4.1) (attached to Tiberi      depending on many
 12                           Decl. at Exh. 10).                     factors.” Dkt. No. 55-6,
                                                                     Kopp Decl. 7/8/19, Ex. H
 13                                                                  (Manufacturing
 14                                                                  Agreement) § 4.1.
 15                                                                  DenMat also
 16                                                                  mischaracterizes the
                                                                     parties’ rights and
 17
                                                                     obligations under the
 18                                                                  License Agreement.
                                                                     DenMat has brought no
 19
                                                                     claim in this case
 20                                                                  pursuant to the terms of
                                                                     the License Agreement.
 21
                                                                     DenMat’s arguments
 22                                                                  regarding the License
                                                                     Agreement are
 23
                                                                     immaterial to the issues
 24                                                                  before the Court on
                                                                     DenMat’s affirmative
 25
                                                                     claims under the
 26                                                                  Manufacturing
                                                                     Agreement and for
 27
                                                                     unjust enrichment,
 28                                                                  which claims are the

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  1      Uncontroverted             DenMat’s Response                      CAO’s Reply
  2          Fact
                                                                  subject of CAO’s Motion
  3                                                               for Partial Summary
  4                                                               Judgment.
  5                                                               DenMat fails to offer any
  6                                                               evidence to controvert
                                                                  the evidence presented in
  7                                                               support of this
  8                                                               uncontroverted fact,
                                                                  which speaks for itself.
  9

 10   64. David Casper sent   Disputed as misleading by           The fact is established.
      an e-mail to Densen     omitting David Casper’s             DenMat’s attempt to
 11   Cao on May 25, 2018     additional statements in the        create a disputed issue is
 12   which stated that he    referenced email that DenMat        neither material to the
      appreciated the line    “would like to move forward         issues before the Court
 13   of thinking that went   with the                            on CAO’s Motion for
 14   into CAO’s proposal,    original contract and expect        Partial Summary
      and in reference to     CAO Group to honor its terms        Judgment, nor
 15
      the alleged “D.O.A”     by making our lasers for the        supported by the
 16   comment, stated that    agreed upon price(s) utilizing      evidence.
      DenMat wanted to        existing components listed on
 17
      move forward under      the bill of materials.”             DenMat fails to offer any
 18   the Manufacturing       Support: DEN 00700-00702            evidence to controvert
      Agreement.              (attached to Tiberi Decl. at Exh.   the evidence presented in
 19
      CAO Decl., ¶ 32, Ex.    10).                                support of this
 20   4 (Cao and Casper E-                                        uncontroverted fact,
      mails, DEN 00700-                                           which speaks for itself.
 21
      01)
 22   65. DenMat did not      Disputed as vague as to “stop       The fact is established.
      stop working with       working with” and disputed as       DenMat’s attempt to
 23
      CAO under the           mischaracterizes the evidence;      create a disputed issue is
 24   Manufacturing           the deponent cited also testified   neither material to the
      Agreement until early   that “CAO Group had sent            issues before the Court
 25
      June 2018.              [DenMat] an e-mail on May 2nd       on CAO’s Motion for
 26   CAO Decl., ¶ 36;        [2018] saying we are not            Partial Summary
      Kopp Decl., ¶ 6, Ex.    working on this anymore.”           Judgment, nor
 27
      B (Cartagena Depo.      Support: Cartagena Depo. at         supported by the
 28   at 253:9-15, 254:15-    254:21-255:14 (attached to          evidence.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1     Uncontroverted              DenMat’s Response                      CAO’s Reply
  2         Fact
      20).                  Tiberi Decl. at Exh. 6); DEN
  3                         00275-00276, DEN05202-               DenMat fails to offer any
  4                         DEN05208 (attached to Tiberi         evidence to controvert
                            Decl. at Exh. 10); Casper Depo.      the evidence presented in
  5                         at 245:22-246:15 (attached to        support of this
  6                         Tiberi Decl. at Exh. 4); Casper      uncontroverted fact,
                            Decl., ¶ 3.                          which speaks for itself.
  7   66. On May 22, 2018, Disputed as misleading; CAO           The fact is established.
  8   CAO sent DenMat an had already repudiated the              DenMat’s attempt to
      invoice for tooling   Manufacturing Agreement              create a disputed issue is
  9   needed for tips, but  before the invoice was sent and      neither material to the
 10   DenMat refused to     never nullified its repudiation;     issues before the Court
      pay it.               CAO’s sending the invoice was        on CAO’s Motion for
 11   CAO Decl., ¶ 37, Ex. a                                     Partial Summary
 12   10 (Hult and          transparent ploy to try to drum      Judgment, nor
      Cartagena E-mails,    up an issue; CAO never paid for      supported by the
 13   CAO 000141-44).       the tooling                          evidence.
 14                         and never sent DenMat tooling
                            design for DenMat to evaluate        DenMat fails to offer any
 15
                            whether the proposed tooling         evidence to controvert
 16                         could even be used. Support:         the evidence presented in
                            Cartagena Depo. at 254:21-           support of this
 17
                            255:14 (attached to Tiberi Decl.     uncontroverted fact,
 18                         at Exh. 6); DEN 05202-05208          which speaks for itself.
                            (attached to Tiberi Decl. at Exh.
 19
                            10); Casper
 20                         Decl., ¶ 5.
      67. On or about July Disputed as incorrect if intended     The fact is established.
 21
      3, 2018, CAO          to imply CAO had revoked its         DenMat’s attempt to
 22   received a            repudiation and misleading for       create a disputed issue is
      communication from omitting the entire sentence from       neither material to the
 23
      Todd Tiberi on behalf which the excerpt is                 issues before the Court
 24   of DenMat, inviting   taken: “Said proposal must           on CAO’s Motion for
      CAO to make a         fundamentally be in-line with        Partial Summary
 25
      proposal “in          the original terms of the            Judgment, nor
 26   accordance with the   manufacturing agreement and          supported by the
      manufacturing         must maintain the integrity and      evidence.
 27
      agreement.”           quality of the products by using
 28   CAO Decl., ¶ 38, Ex. the existing specifications,          DenMat fails to offer any
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1     Uncontroverted               DenMat’s Response                     CAO’s Reply
  2           Fact
      11 (Tiberi July 3,       components, and approved            evidence to controvert
  3   2018 E-mail, CAO         vendors in accordance with the      the evidence presented in
  4   002834).                 manufacturing agreement.”           support of this
                               Support: CAO 002834 (attached       uncontroverted fact,
  5                            to Tiberi Decl. at Exh. 9);         which speaks for itself.
  6                            DEN00275-
                               00276, DEN05202-DEN05208
  7                            (attached to Tiberi Decl. at Exh.
  8                            10);
                               Casper Depo. at 245:22-246:15
  9                            (attached to Tiberi Decl. at Exh.
 10                            4); Cartagena Depo. at 254:4-
                               255:14 (attached to Tiberi Decl.
 11                            at Exh. 6);
 12                            Casper Decl., ¶ 3.
      68. The parties never    Undisputed.                         The fact is established.
 13   amended or modified
 14   the Manufacturing
      Agreement.
 15
      CAO Decl., ¶ 39;
 16   Kopp Decl., ¶ 5, Ex.
      A (Casper Depo.
 17
      150:7-10).
 18   69. On or about June     Undisputed.                         The fact is established.
      4, 2018, CAO
 19
      received a letter from
 20   DenMat’s counsel,
      Todd Tiberi, bearing
 21
      the subject line
 22   “Written Notice of
      Breach,” and
 23
      accusing CAO of
 24   breaching provisions
      of the Manufacturing
 25
      Agreement.
 26   CAO Decl., ¶ 40, Ex.
      12 (Tiberi June 4,
 27
      2018 Letter (CAO
 28   2852-53).
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1

  2
          RESPONSE TO DENMAT UNCONTROVERTED FACT SUPPORTING
  3                                         EVIDENCE
  4   Plaintiff’s Uncontroverted Facts and         Defendant’s Facts and
      Supporting Evidence                          Supporting Evidence
  5   1. Under the Manufacturing Agreement,        Disputed, but immaterial to the
  6   CAO was obligated to make DenMat’s           issues before the Court on
      lasers (sold under the tradenames SOL® and CAO’s Motion for Partial
  7   NV®Pro3) as DenMat had been making them Summary Judgment. DenMat’s
  8   (Product Changes, Section 9.5) and sell them statement is also contradicted
      to DenMat at the agreed prices (Pricing,     by the evidence.
  9   Section 5.2).Compl., ¶¶ 15-16 (Dkt. 1);
 10   DEN00001-00021 (Sections 4.3, 5.1,5.2)       DenMat’s statement misstates
      (attached to Tiberi Decl. at Exh. 10).       what is set forth in “Product
 11                                                Changes” provision of the
 12                                                Manufacturing Agreement,
                                                   Section 9.5. Section 9.5 of the
 13                                                Manufacturing Agreement
 14                                                allows CAO to make changes to
                                                   the components, vendors, and
 15                                                specifications used to
 16                                                manufacture DenMat’s
                                                   products, with DenMat’s
 17                                                approval. Dkt. No. 55-6, Kopp
 18                                                Decl. 7/8/19, ¶ 3, Ex. H, § 9.5
                                                   (Manufacturing Agreement).
 19
 20                                                  DenMat admits that the
                                                     Manufacturing Agreement does
 21
                                                     not contain language requiring
 22                                                  that DenMat’s products must
                                                     be made with only DenMat’s
 23
                                                     ‘existing’ components from
 24                                                  DenMat’s ‘existing’ suppliers,
                                                     as DenMat’s statement attempts
 25
                                                     to suggest. Dkt. No. 55-10, Kopp
 26                                                  Decl. 7/8/19, ¶ 8, Ex. M (Casper
                                                     Depo. 257:7-24).
 27

 28                                                  DenMat also admits that the

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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     proposal that CAO submitted
  3                                                  to DenMat requests approval
  4                                                  from DenMat to make changes,
                                                     which is consistent with the
  5                                                  terms of the Manufacturing
  6                                                  Agreement, which further
                                                     contradicts DenMat’s
  7                                                  statement. Dkt. No. 55-10, Kopp
  8                                                  Decl. 7/8/19, ¶ 8, Ex. M (Casper
                                                     Depo. 243:15-18).
  9

 10   2. The Product Changes term of the             Undisputed.
      Manufacturing Agreement required CAO to
 11   use DenMat’s components and vendors and
 12   allowed for CAO to propose changes, which
      DenMat could approve (or not). DEN
 13   00001-00021 (Section 9.5) (attached to
 14   Tiberi Decl. at Exh.10); Compl., ¶ 15 (Dkt.
      1).
 15
      3. Five days after signing the Manufacturing   Undisputed, though DenMat’s
 16   Agreement, DenMat paid CAO $200,000.           statement seems to imply that
      Compl., ¶¶ 15-16 (Dkt. 1); DEN00001-           DenMat’s payment of $200,000
 17
      00021 (Sections 4.3, 5.1, 5.2) (attached to    to CAO had something to do
 18   Tiberi Decl.at Exh. 10); Cao Depo. at 50:10-   with the Manufacturing
      21 (attached to Tiberi Decl. at Exh. 1).       Agreement. It did not.
 19
                                                     DenMat’s owed this payment,
 20                                                  and made it, pursuant to the
                                                     terms of the License
 21
                                                     Agreement, not the
 22                                                  Manufacturing Agreement.
                                                     Section 4.1 of the License
 23
                                                     Agreement expressly states that
 24                                                  DenMat was to pay the
                                                     $800,000 License Issue Fee to
 25
                                                     CAO, including the first
 26                                                  payment of $200,000, in
                                                     consideration for the license
 27
                                                     that CAO granted to DenMat
 28                                                  under the License Agreement,
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and             Defendant’s Facts and
  2   Supporting Evidence                              Supporting Evidence
                                                       not for anything under the
  3                                                    Manufacturing Agreement. Dkt.
  4                                                    No. 55-7 Kopp Decl. 7/8/19, Ex. I
                                                       (License Agreement) § 4.1.
  5

  6   4. This was the first of payments that were to   Disputed, but immaterial to the
      total $800,000, in consideration for CAO’s       issues before the Court on
  7   delivering to DenMat lasers worth $724,000       CAO’s Motion for Partial
  8   under an Initial Purchase Order. DEN             Summary Judgment. DenMat’s
      00001-00021 (Section 7.1), DEN 00022-            statement is also contradicted
  9   00035 (Section 4.1) (attached to Tiberi Decl.    by the evidence.
 10   at Exh. 10); DEN05200-DEN05201
      (attached to Tiberi Decl. at Exh. 10); Cao       Section 4.1 of the License
 11   Depo. at 48:23-49:24, 156:16-23 (attached to     Agreement expressly states that
 12   Tiberi Decl. at Exh. 1); Casper Decl. ¶ 2.       DenMat was to pay the
                                                       $800,000 License Issue Fee to
 13                                                    CAO, including the first
 14                                                    payment of $200,000, in
                                                       consideration for the license
 15
                                                       that CAO granted to DenMat
 16                                                    under the License Agreement,
                                                       not for lasers. Dkt. No. 55-7,
 17
                                                       Kopp Decl. 7/8/19, Ex. I (License
 18                                                    Agreement) § 4.1.
 19
      5. The Product Changes term is found at          Undisputed.
 20   Section 9.5 of the Manufacturing
      Agreement. DEN 00001-00021 (Section 9.5)
 21
      (attached to Tiberi Decl. at Exh. 10);
 22   Compl., ¶ 15 (Dkt. 1).
      6. The express language of Section 9.5 gives     Disputed, but this statement
 23
      DenMat the right to change components and        does not raise a genuine issue of
 24   offers CAO no such right. DEN 00001-             material fact. DenMat’s
      00021 (Section 9.5) (attached to Tiberi Decl.    statement is contradicted by the
 25
      at Exh. 10); Compl., 15 (Dkt. 1).                evidence.
 26

 27
                                                       Section 9.5 of the
                                                       Manufacturing Agreement
 28                                                    allows CAO to make changes to
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     the components, vendors, and
  3                                                  specifications used to
  4                                                  manufacture DenMat’s
                                                     products, with DenMat’s
  5                                                  approval. Dkt. No. 55-7, Kopp
  6                                                  Decl. 7/8/19, ¶ 3, Ex. H, § 9.5
                                                     (Manufacturing Agreement).
  7

  8                                                  Section 9.5 of the
                                                     Manufacturing Agreement also
  9                                                  contains no language that
 10                                                  relieving DenMat of its duty to
                                                     adhere to the implied covenant
 11                                                  of good faith and fair dealing,
 12                                                  i.e. to refrain from doing
                                                     anything which would injure
 13                                                  the right of CAO to receive the
 14                                                  benefits of the Manufacturing
                                                     Agreement. Id.
 15

 16                                                  DenMat also admits that the
                                                     proposal that CAO submitted
 17
                                                     to DenMat requests approval
 18                                                  from DenMat to make changes,
                                                     which is consistent with the
 19
                                                     terms of the Manufacturing
 20                                                  Agreement, which further
                                                     contradicts DenMat’s
 21
                                                     statement. Dkt. No. 55-10, Kopp
 22                                                  Decl. 7/8/19, ¶ 8, Ex. M (Casper
                                                     Depo. 243:15-18).
 23

 24   7. CAO neither sought, bargained for, or       Undisputed.
      offered consideration for a right to change
 25
      components without need for DenMat to
 26   approve. Casper Decl., ¶ 14.
      8. CAO’s Vice President of Products and        Undisputed that CAO always
 27
      Vice President of Operations each confirmed    understood that proposed
 28   there was no such “shared understanding”       changes to components would
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      that CAO could change components because       not be implemented before they
  3   CAO understood it had no right to change       received DenMat’s approval.
  4   components without first receiving             DenMat’s statement
      DenMat’s approval. CAO 002034, CAO             mischaracterizes the evidence
  5   002039 (attached to Tiberi Decl. at Exh. 9);   cited, so this part of DenMat’s
  6   Larsen Depo. at 48:13-49:2 (attached to        statement is disputed.
      Tiberi Decl. at Exh. 2).                       However, this statement does
  7                                                  not raise a genuine issue of
  8                                                  material fact, and it is also
                                                     contradicted by the evidence.
  9

 10                                                  DenMat has admitted that it
                                                     was understood from the
 11                                                  beginning that CAO would be
 12                                                  able to source components from
                                                     alternative vendors, and
 13                                                  DenMat was not demanding or
 14                                                  requiring that CAO use only
                                                     DenMat’s existing vendors and
 15                                                  components. Dkt. No. 55-10,
 16                                                  Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                     (Casper Depo. 57:23-58:3, 59:13-
 17                                                  19); Dkt. No. 55-9, Kopp Decl., ¶
 18                                                  7, Ex. L (Cartagena Depo. 55:4-
                                                     11).
 19
 20   9. The plain meaning of the Pricing term       Undisputed.
      (Section 5.2) in the Manufacturing
 21
      Agreement is that CAO shall charge DenMat
 22   $1,199 for a SOL laser, $1,029 for an
      NVPro3 laser, and $1.95 for a Laser tip.
 23
      DEN 00001-00021 (Section 5.2) (attached to
 24   Tiberi Decl. at Exh. 10); Compl., ¶ 16 (Dkt.
      1).
 25
      10. There is no provision in the               Disputed, but immaterial to the
 26   Manufacturing Agreement giving either          issues before the Court on
      party the right to increase or decrease the    CAO’s Motion for Partial
 27
      Pricing term. DEN 00001-00021 (Section         Summary Judgment. DenMat’s
 28   5.2) (attached to Tiberi Decl. at Exh. 10);    statement is also contradicted
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      Compl., ¶ 16 (Dkt. 1).                         by the evidence.
  3

  4                                                  The parties had the right to
                                                     modify any provision of the
  5                                                  Manufacturing Agreement if
  6                                                  they so chose, under Section
                                                     13.7. Dkt. No. 55-6, Kopp Decl.
  7                                                  7/8/19, Ex. H, § 13.7
  8                                                  (Manufacturing Agreement).
  9   11. In February 2018, three months after the   Disputed, but this statement
 10   Manufacturing Agreement was signed, CAO        does not raise a genuine issue of
      requested for the first time, and DenMat       fact that is material to the issues
 11   provided to CAO, the prices it paid for its    before the Court on CAO’s
 12   laser components. CAO 002655 (attached to      Motion for Partial Summary
      Tiberi Decl. at Exh. 9).                       Judgment. DenMat’s statement
 13                                                  is also contradicted by the
 14                                                  evidence, and not supported by
                                                     the evidence it cites.
 15

 16                                                  DenMat’s statement
                                                     mischaracterizes the document
 17
                                                     cited. The document is not a
 18                                                  request from CAO for
                                                     DenMat’s laser component
 19
                                                     prices, nor a response from
 20                                                  DenMat to such a request. The
                                                     cited document is a single e-
 21
                                                     mail selected from a larger
 22                                                  exchange between the parties,
                                                     and it is taken out of context.
 23
                                                     The e-mail exchange regards an
 24                                                  option that DenMat held under
                                                     Section 4.2 of the
 25
                                                     Manufacturing Agreement to
 26                                                  require CAO to purchase
                                                     DenMat’s existing inventory at
 27
                                                     the lesser of: DenMat’s material
 28                                                  cost plus 4%, or the fair market
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     price. Dkt. No. 55-14, Kopp
  3                                                  Decl. 7/8/19, ¶12, Ex. Q (DEN
  4                                                  133-138; Dkt. No. 55-6, Kopp
                                                     Decl. 7/8/19 ¶ 4, Ex. H, § 4.2
  5                                                  (Manufacturing Agreement).
  6
                                                     CAO had repeatedly requested
  7                                                  prior to February 2018, and
  8                                                  continuing thereafter, that
                                                     DenMat tell CAO whether
  9                                                  DenMat intended to exercise its
 10                                                  option under Section 4.2, and if
                                                     so, to please provide CAO with
 11                                                  the cost information for the
 12                                                  items DenMat wished to sell to
                                                     CAO from its existing
 13                                                  inventory, so that the parties
 14                                                  could determine whether CAO
                                                     would pay: DenMat’s material
 15                                                  cost plus 4%, or the fair market
 16                                                  price, whichever is less. When
                                                     CAO presented DenMat with
 17
                                                     information showing that the
 18                                                  fair market price for the
                                                     components was lower than
 19
                                                     DenMat’s material costs,
 20                                                  DenMat attempted to persuade
                                                     CAO to pay a negotiated
 21
                                                     “middle ground” price, but
 22                                                  DenMat ultimately never
                                                     exercised the option. Dkt. No.
 23
                                                     55-23, CAO Decl. 7/8/19, ¶ 9;
 24                                                  Dkt. No. 55-9, Kopp Decl. 7/8/19,
                                                     ¶ 7, Ex. L (Cartagena Depo.
 25
                                                     113:11-25 to 115:5-18); Dkt. No.
 26                                                  55-15, Kopp Decl. 7/8/19, ¶ 14,
                                                     Ex. R (DEN 2870).
 27

 28   12. DenMat required the pre-approval right     Undisputed, immaterial to the
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      because, inter alia, DenMat’s SOL and          issues before the Court on
  3   NVPro3 are Class IIb medical devices           CAO’s Motion for Partial
  4   highly-regulated by the U.S. Food & Drug       Summary Judgment.
      Administration (“FDA”). Casper Decl., ¶ 17.
  5   13. CAO acknowledged that the price            Disputed, but immaterial to the
  6   differences between DenMat’s costs and         issues before the Court on
      CAO’s so-called “Market Price” were “quite     CAO’s Motion for Partial
  7   minor concerns” CAO 002655 (attached to        Summary Judgment. DenMat’s
  8   Tiberi Decl. at Exh. 9).                       statement is also contradicted
                                                     by the evidence, and is not
  9                                                  supported by the evidence it
 10                                                  cites.
 11                                                  The document sets forth a list of
 12                                                  concerns, but does not state that
                                                     the difference between
 13                                                  DenMat’s costs for its existing
 14                                                  inventory components and the
                                                     fair market price is one of the
 15
                                                     “minor concerns” referenced.
 16
                                                     CAO was, in fact, very
 17
                                                     concerned that DenMat was
 18                                                  refusing to acknowledge CAO’s
                                                     right to pay the lower fair
 19
                                                     market prices for the
 20                                                  components in DenMat’s
                                                     existing inventory, if DenMat
 21
                                                     decided to exercise its option
 22                                                  under Section 4.2 of the
                                                     Manufacturing Agreement and
 23
                                                     required CAO to buy
 24                                                  components from DenMat. Dkt.
                                                     No. 55-23, CAO Decl. 7/8/19, ¶
 25
                                                     10; See also Dkt. No. 55-6, Kopp
 26                                                  Decl. 7/8/19, ¶ 3, Ex. H, § 4.2
                                                     (Manufacturing Agreement).
 27

 28                                                  The document cited actually
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and        Defendant’s Facts and
  2   Supporting Evidence                         Supporting Evidence
                                                  undermines DenMat’s
  3                                               statement. It supports the fact
  4                                               that the difference between the
                                                  fair market price and DenMat’s
  5                                               cost was an important concern
  6                                               for CAO, as it states that the
                                                  first option to resolve these
  7                                               concerns is to “[d]ecrease
  8                                               purchase cost of transferred
                                                  inventory to match current
  9                                               market price,” which was
 10                                               CAO’s right under Section 4.2
                                                  to pay the lower price, if
 11                                               DenMat decided to exercise its
 12                                               option.
      14. CAO acknowledged that “the total dollar Undisputed, immaterial to the
 13   amount is not huge.” CAO 000019-00020       issues before the Court on
 14   (attached to Tiberi Decl. at Exh. 9).       CAO’s Motion for Partial
                                                  Summary Judgment.
 15

 16   15. CAO eventually demanded that it be          Disputed, but this statement
      allowed to increase the prices because it was   does not raise a genuine issue of
 17
      unhappy with the amount of profits it           material fact, and it is not
 18   projected it would make under the               supported by any evidence,
      Manufacturing Agreement. CAO 000250-            including the evidence that
 19
      000255 (attached to Tiberi Decl. at Exh. 9);    DenMat cites.
 20   Cao Depo. at 126:6-127:6 (attached to Tiberi
      Decl. at Exh. 1); CAO 002861- 002862            Nowhere in any of the cited
 21
      (attached to Tiberi Decl. at Exh. 9); DEN       evidence is any reference to any
 22   05202-05208 (attached to Tiberi Decl. at        such ‘demand’. The testimony
      Exh. 10).                                       cited from Dr. Cao deals with
 23
                                                      CAO’s May 16, 2018 Proposal,
 24                                                   which is also cited, handwritten
                                                      notes from Mr. Casper, along
 25
                                                      with an April 26, 2018 e-mail
 26                                                   from DenMat Chief Operating
                                                      Officer, Robert Cartagena,
 27
                                                      wherein he discussed the
 28                                                   options for a “go forward plan”
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
  2   Supporting Evidence                             Supporting Evidence
                                                      based on the acknowledged fact
  3                                                   that CAO would suffer a loss if
  4                                                   it were forced to use only
                                                      DenMat’s existing vendors and
  5                                                   components.
  6
                                                      CAO never demanded that
  7                                                   DenMat agree to a price
  8                                                   increase or that DenMat do
                                                      anything contrary to any term
  9                                                   of the Manufacturing
 10                                                   Agreement, including Section
                                                      9.5. Dkt. No. 55-23, CAO Decl.
 11                                                   7/8/19, ¶ 30.
 12
                                                      DenMat admits that CAO’s
 13                                                   Proposal to make changes is
 14                                                   consistent with the terms of the
                                                      Manufacturing Agreement, as it
 15                                                   is written. Dkt. No. 55-10, Kopp
 16                                                   Decl. 7/8/19, ¶ 8, Ex. M (Casper
                                                      Depo. 243:15-18). DenMat
 17
                                                      further admits that CAO’s
 18                                                   proposal was not a “demand”
                                                      or anything to that effect. Dkt.
 19
                                                      No. 55-10, Kopp Decl. 7/8/19,
 20                                                   ¶ 8, Ex. M (Casper Depo. 225:16-
                                                      25 to 226:1-17).
 21
      16. CAO has a 15-year history of making         Undisputed.
 22   dental lasers. Cao Depo. at 98:24-99:7
      (attached to Tiberi Decl. at Exh. 1).
 23

 24   17. CAO assured DenMat it has lower costs       Undisputed that CAO’s costs to
      than DenMat. Hult Depo. at 43:11-44:21          make the lasers, using
 25
      (attached to Tiberi Decl. at Exh. 3); Cao       alternative vendors and
 26   Depo. at 69:13-15, 99:3-7 (attached to Tiberi   components, were lower than
      Decl. at Exh. 1).                               the costs to make the lasers
 27
                                                      using DenMat’s existing
 28                                                   vendors and components.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence

  3   18. CAO was familiar with DenMat’s lasers. Undisputed.
  4   Cao. Depo. at 37:1-25 (attached to Tiberi
      Decl. at Exh. 1).
  5
      19. CAO blamed DenMat for its failure to       Disputed, but this statement
  6   negotiate pricing more to CAO’s liking.        does not raise a genuine dispute
  7   CAO’s Response to DenMat’s First Set of        of fact and it is not supported
      Requests for Admission, Nos. 6 and 12          by any evidence. DenMat cites
  8   (attached to Tiberi Decl. at Exh. 11).         two of CAO’s responses to
  9                                                  DenMat’s requests for
                                                     admission, neither of which
 10                                                  supports this statement in any
 11                                                  way.
 12   20. CAO represented in sworn discovery         Undisputed.
 13   responses that prior to signing the
      Manufacturing Agreement, it had asked but
 14   DenMat refused to tell CAO its laser costs.
 15   CAO’s Response to DenMat’s First Set of
      Requests for Admission, Nos. 6, 10, 12, and
 16   16 (attached to Tiberi Decl. at Exh. 11).
 17   21. CAO later admitted that these sworn        Disputed, but this statement
 18   representations were false. Larsen Depo. at    does not raise a genuine dispute
      23:5-17, 76:25- 77:10 (attached to Tiberi      of fact regarding any issue
 19   Decl. at Exh. 2).                              before the Court on CAO’s
 20                                                  Motion for Partial Summary
                                                     Judgment, and it is not
 21                                                  supported by the evidence
 22                                                  DenMat cites.
 23                                                  There is nothing contained in
 24                                                  the testimony which indicates
                                                     that any of CAO’s discovery
 25                                                  responses are untrue.
 26
                                                     Rob Larsen was asked if he
 27                                                  remembers requests for
 28                                                  DenMat’s material costs. He

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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     testified that he, Rob Larsen,
  3                                                  did not remember those
  4                                                  requests. Dkt. No. 38-2, Larsen
                                                     Depo. at 76:25-77:10 (attached to
  5                                                  Tiberi Decl. at Exh. 2).
  6
      22. CAO never asked DenMat for its laser       Disputed, but this statement
  7   costs prior to signing the Manufacturing       does not raise a genuine dispute
  8   Agreement. Casper Depo. at 280:22-281:1        of fact regarding any issue
      (attached to Tiberi Decl. at Exh. 4); Larsen   before the Court on CAO’s
  9   Depo. at 76:25-77:10 (attached to Tiberi       Motion for Partial Summary
 10   Decl. at Exh. 2); Casper Decl., ¶ 9.           Judgment, and it is not
                                                     supported by the evidence
 11                                                  DenMat cites.
 12
                                                     Mr. Larsen testified that he
 13                                                  does not recall CAO’s requests
 14                                                  for DenMat’s material costs.
                                                     He did not testify, as DenMat’s
 15
                                                     statement implies, that CAO
 16                                                  did not ask for DenMat’s
                                                     material costs prior to signing
 17
                                                     the Manufacturing Agreement.
 18                                                  Dkt. No. 38-2, Larsen Depo. at
                                                     76:25-77:10 (attached to Tiberi
 19
                                                     Decl. at Exh. 2).
 20
                                                     Prior to the parties’ settlement
 21
                                                     of CAO’s patent infringement
 22                                                  case against DenMat, and their
                                                     subsequent entry of the
 23
                                                     Manufacturing Agreement and
 24                                                  License Agreement, they had
                                                     exchanged numerous
 25
                                                     communications about how
 26                                                  CAO could take over
                                                     manufacturing of DenMat’s
 27
                                                     lasers as a part of the
 28                                                  settlement. Dkt. No. 55-23, CAO

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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     Decl. 7/8/19, ¶ 63. These
  3                                                  communications included
  4                                                  exchanges of the sale prices that
                                                     the parties were proposing for
  5                                                  the products to be made by
  6                                                  CAO, which were dependent on
                                                     the respective cost information
  7                                                  known to the respective parties.
  8                                                  Dkt. No. 55-23, CAO Decl.
                                                     7/8/19, ¶ 64. CAO would send
  9                                                  its calculated pricing
 10                                                  information to DenMat, which
                                                     was based on CAO’s estimation
 11                                                  of its costs to make the
 12                                                  products, and request that
                                                     DenMat respond with
 13                                                  DenMat’s calculated pricing
 14                                                  information, which was based
                                                     on DenMat’s known costs to
 15                                                  make the products. Dkt. No. 55-
 16                                                  23, CAO Decl. 7/8/19, ¶ 65.
 17
                                                     However, DenMat declined to
 18                                                  provide CAO with the
                                                     information about its known
 19
                                                     costs at the time the parties
 20                                                  were exchanging these
                                                     communications. Dkt. No. 55-
 21
                                                     23, CAO Decl. 7/8/19, ¶ 66. The
 22                                                  parties therefore calculated the
                                                     final sales prices for the
 23
                                                     products that CAO was to make
 24                                                  based on the calculations from
                                                     CAO, which were generated
 25
                                                     based on what it would cost
 26                                                  CAO to make the products
                                                     using its own vendors and
 27
                                                     components, and which would
 28                                                  allow CAO to make a profit

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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     from selling the lasers to
  3                                                  DenMat. Dkt. No. 55-23, CAO
  4                                                  Decl. 7/8/19, ¶ 67.

  5   23. CAO’s pricing was not based on the         Disputed, but this statement
  6   actual DenMat lasers it agreed to make;        does not raise a genuine dispute
      rather, it knowingly evaluated “older”         of fact regarding any issue
  7   versions of the lasers. Cao Depo. at 80:17-    before the Court on CAO’s
  8   81:16, 82:9-20 (attached to Tiberi Decl. at    Motion for Partial Summary
      Exh. 1); Larsen Depo. at 14:16-15:15, 51:9-    Judgment, and it is not
  9   25 (attached to Tiberi Decl. at Exh. 2);       supported by the evidence
 10   DEN00630-00631 (attached to Tiberi Decl.       DenMat cites.
      at Exh. 10).
 11                                                  The testimony cited from Dr.
 12                                                  Cao contradicts DenMat’s
                                                     statement. Dr. Cao testified
 13                                                  that the SOL laser CAO
 14                                                  evaluated was the same
                                                     product, and that the NV laser
 15
                                                     CAO evaluated was the same
 16                                                  design, having almost exactly
                                                     the same components. Dkt. No.
 17
                                                     55-5, Kopp Decl. 7/8/19, ¶ 2, Ex.
 18                                                  G (Cao Depo. 80:25-81:16).
 19
                                                     Rob Larsen’s testimony also
 20                                                  does not support DenMat’s
                                                     statement. Though Mr. Larsen
 21
                                                     uses the word “older” when he
 22                                                  identifies the lasers in CAO’s
                                                     possession at that time, there is
 23
                                                     nothing in Mr. Larsen’s
 24                                                  testimony that indicates the
                                                     lasers in CAO’s possession were
 25
                                                     different from the lasers CAO
 26                                                  would be building under the
                                                     Manufacturing Agreement. Dkt.
 27
                                                     No. 55-44, Kopp Decl. 7/8/19, ¶
 28                                                  9, Ex. N (Larsen Depo. 50:11-

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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     51:25).
  3

  4   24. CAO’s laser pricing was based on           Undisputed.
      “somewhat similar articles” for which CAO
  5   had “some pricing” information rather than
  6   the actual prices for DenMat’s lasers. Cao
      Depo. at 80:17-81:16, 82:9-20 (attached to
  7   Tiberi Decl. at Exh. 1); Larsen Depo. at
  8   14:16-15:15, 51:9-25 (attached to Tiberi
      Decl. at Exh. 2); DEN00630-00631
  9   (attached to Tiberi Decl. at Exh. 10).
 10   25. CAO did not consider whether the           Disputed, but this statement
      “somewhat similar articles” would satisfy      does not raise a genuine dispute
 11   FDA and European Union electrical safety       of fact regarding any issue
 12   testing under IEC 60601 or other regulatory    before the Court on CAO’s
      requirements. Larsen Depo. at 57:9-21          Motion for Partial Summary
 13
      (attached to Tiberi Decl. at Exh. 2).          Judgment, and it is not
 14                                                  supported by the evidence
                                                     DenMat cites.
 15

 16                                                  DenMat’s statement grossly
                                                     mischaracterizes the cited
 17
                                                     witness testimony. Mr.
 18                                                  Larsen’s testimony explicitly
                                                     references the testing needed to
 19
                                                     meet safety standards. Dkt. No.
 20                                                  55-11, Kopp Decl. 7/8/19, ¶ 9,
                                                     Ex. N (Larsen Depo. 57:3-21).
 21
                                                     He stated that he did not know
 22                                                  in September 2017 whether
                                                     some of the components listed
 23
                                                     met certain criteria, but
 24                                                  nowhere in Mr. Larsen’s
                                                     testimony is there a statement
 25
                                                     that CAO simply failed to
 26                                                  consider whether components
                                                     would be able to pass safety
 27
                                                     tests and regulations.
 28

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      26. For its part, DenMat had no knowledge      Disputed, but this statement
  3   of how CAO estimated CAO’s cost to make        does not raise a genuine dispute
  4   the lasers. Casper Depo. at 91:13-92:2,        of fact regarding any issue
      129:21-130:3, 251:2-10 (attached to Tiberi     before the Court on CAO’s
  5   Decl. at Exh. 4); Cao Depo. at 96:4-13         Motion for Partial Summary
  6   (attached to Tiberi Decl. at Exh. 1); Casper   Judgment, and it is not
      Decl., ¶ 10.                                   supported by the evidence
  7                                                  DenMat cites.
  8
                                                     DenMat knew that CAO was
  9                                                  calculating its cost to make the
 10                                                  lasers based on information
                                                     that would allow CAO to make
 11                                                  a profit on each laser sold to
 12                                                  DenMat. DenMat further knew
                                                     that CAO was not calculating
 13                                                  its cost to make the lasers based
 14                                                  on any intention to use
                                                     DenMat’s existing vendors and
 15                                                  components.
 16
                                                     DenMat admits that the
 17
                                                     objective of the parties was not
 18                                                  to enter an agreement that
                                                     would cause CAO to suffer a
 19
                                                     loss, but to enter an agreement
 20                                                  that was mutually beneficial.
                                                     Dkt. No. 55-9, Kopp Decl.
 21
                                                     7/8/19, ¶ 7, Ex. L (Cartagena
 22                                                  Depo. 161:18-25 to 162:2.).
                                                     Therefore, when the parties
 23
                                                     were negotiating the
 24                                                  settlement, DenMat knew that
                                                     the sale prices CAO agreed to
 25
                                                     accept for each laser under
 26                                                  Section 5.2 of the
                                                     Manufacturing Agreement
 27
                                                     ($1,129 for each SOL; $1,029
 28                                                  for each NV) were calculated

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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     to benefit CAO. Dkt. No. 55-6,
  3                                                  Kopp Decl. 7/8/19 ¶ 4, Ex. H,
  4                                                  § 5.2. (Manufacturing
                                                     Agreement).
  5

  6                                                  As DenMat also knew at the
                                                     time the parties were
  7                                                  negotiating the settlement, the
  8                                                  final sale prices that CAO
                                                     agreed to accept for each laser
  9                                                  it made were lower than the
 10                                                  basic costs for DenMat to
                                                     make each laser, using
 11                                                  DenMat’s existing vendors
 12                                                  and components. Dkt. No. 58-
                                                     1, Hoggan Decl., ¶ 2, Ex. 1
 13                                                  (Tiberi E-mail 4/1/19)
 14                                                  (ATTORNEYS’ EYES ONLY).
                                                     Therefore, DenMat knew at
 15                                                  the time the parties entered
 16                                                  the Manufacturing Agreement
                                                     that the only way CAO could
 17
                                                     make money by selling the
 18                                                  lasers at the prices set forth in
                                                     Section 5.2 of the
 19
                                                     Manufacturing Agreement,
 20                                                  was to pay lower costs by
                                                     using alternative vendors and
 21
                                                     components, rather than using
 22                                                  DenMat’s existing vendors
                                                     and components.
 23

 24   27. DenMat had no knowledge of CAO’s           Disputed that DenMat had no
      volume buying power for laser components,      knowledge of “any other factors
 25
      internal business model, manufacturing         CAO may have considered in
 26   efficiency, or any other factors CAO may       negotiating the terms of the
      have considered in negotiating the terms of    contract.” See above Response
 27
      the contract. Casper Depo. at 91:13-92:2,      to DenMat’s Statement of Fact
 28   129:21-130:3, 251:2-10 (attached to Tiberi
                                                     No. 26, incorporated here as
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      Decl. at Exh. 4); Cao Depo. at 96:4-13         though set forth in full.
  3   (attached to Tiberi Decl. at Exh. 1); Casper
      Decl., ¶ 10.                                   This statement does not raise a
  4
                                                     genuine dispute of fact
  5                                                  regarding any issue before the
  6
                                                     Court on CAO’s Motion for
                                                     Partial Summary Judgment,
  7                                                  and it is not supported by the
  8                                                  evidence it cites.
  9                                                  DenMat also knew that CAO
                                                     was negotiating the terms of
 10
                                                     both the Manufacturing
 11                                                  Agreement and the License
                                                     Agreement as a settlement of
 12
                                                     CAO’s valid, pending claims
 13                                                  against DenMat for infringing
                                                     on CAO’s patents, and that the
 14
                                                     primary reason CAO was
 15                                                  willing to enter a
                                                     manufacturing relationship
 16
                                                     with DenMat was because
 17                                                  DenMat had represented that it
                                                     could not afford to pay CAO
 18
                                                     the full amount of the
 19                                                  reasonable royalty that CAO
                                                     anticipated receiving as a
 20
                                                     judgment award against
 21                                                  DenMat. Dkt. No. 55-23, Cao
                                                     Decl. 7/8/19, ¶ 7.
 22
      28. CAO could have performed under the         Disputed, but this statement
 23   Manufacturing Agreement by making              does not raise a genuine dispute
 24
      DenMat’s lasers using DenMat’s                 of fact regarding any issue
      components and vendors— but chose not to       before the Court on CAO’s
 25   because of pricing. Cao Depo. at 92:12-21      Motion for Partial Summary
 26
      (attached to Tiberi Decl. at Exh. 1).          Judgment, and it is not
                                                     supported by the evidence
 27                                                  DenMat cites. DenMat’s
 28                                                  statement mischaracterizes the

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     cited witness testimony, which
  3                                                  contradicts DenMat’s
  4                                                  statement.
  5                                                  Dr. Cao did not testify that
  6                                                  CAO “chose not to” make
                                                     lasers using only DenMat’s
  7                                                  existing vendors and
  8                                                  components “because it wanted
                                                     to make more money.” Dr. Cao
  9                                                  testified that CAO would have
 10                                                  been able to build the lasers
                                                     using only DenMat’s existing
 11                                                  components if the price were
 12                                                  different. Dkt. No. 55-5, Kopp
                                                     Decl. 7/8/19, ¶ 2, Ex. G (Cao
 13                                                  Depo. at 92:12-21).
 14
                                                     When DenMat suddenly
 15                                                  refused to consider or approve
 16                                                  any alternative vendors or
                                                     components, CAO was not
 17
                                                     faced with the prospect of
 18                                                  making a lower amount of
                                                     money under the
 19
                                                     Manufacturing Agreement.
 20                                                  CAO was faced with the
                                                     prospect of suffering a loss on
 21
                                                     every laser it made under the
 22                                                  Manufacturing Agreement. Dkt.
                                                     No. 55-23, CAO Decl. 7/8/19, ¶
 23
                                                     35. CAO would never have
 24                                                  settled its patent infringement
                                                     case against DenMat and
 25
                                                     entered the Manufacturing
 26                                                  Agreement if the deal was to
                                                     have CAO manufacture lasers
 27
                                                     for DenMat at a loss on each
 28                                                  laser CAO made. Dkt. No. 55-

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     23, CAO Decl. 7/8/19, ¶ 36.
  3

  4                                                  DenMat knew at this time, and
                                                     had known from the time the
  5                                                  parties settled the patent
  6                                                  infringement case and entered
                                                     the Manufacturing Agreement,
  7                                                  that CAO would suffer a loss on
  8                                                  every laser produced under the
                                                     Manufacturing Agreement if it
  9                                                  was forced to use only
 10                                                  DenMat’s existing vendors and
                                                     components. The final sale
 11                                                  prices that CAO agreed to
 12                                                  accept for each laser it made,
                                                     set forth in Section 5.2 of the
 13                                                  Manufacturing Agreement,
 14                                                  were lower than the basic costs
                                                     for DenMat to make each laser,
 15                                                  using DenMat’s existing
 16                                                  vendors and components.
                                                     DenMat admits that as of
 17
                                                     October 2017, its costs to make
 18                                                  each laser, using DenMat’s
                                                     existing vendors and
 19
                                                     components, were higher than
 20                                                  the prices set forth in Section
                                                     5.2 of the Manufacturing
 21
                                                     Agreement. Dkt. No. 55-6, Kopp
 22                                                  Decl. 7/8/19, ¶ 4, Ex. H, § 5.2
                                                     (Manufacturing Agreement); Dkt.
 23
                                                     No. 58-1, Hoggan Decl., ¶ 2, Ex.
 24                                                  1 (Tiberi E-mail 4/1/19)
                                                     (ATTORNEYS’ EYES ONLY).
 25
                                                     DenMat later expressly
 26                                                  acknowledged that CAO would
                                                     suffer a loss if DenMat failed to
 27
                                                     approve alternative vendors
 28                                                  and components, stating “the

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     product pricing in the
  3                                                  [Manufacturing Agreement]
  4                                                  would result in a net loss for
                                                     CAO if the product was built
  5                                                  using the existing inventory,
  6                                                  and or inventory from the
                                                     existing suppliers at the current
  7                                                  component pricing.” Dkt. No.
  8                                                  38-9, CAO 002861-002862
                                                     (attached to Tiberi Decl. at Exh.
  9                                                  9).
 10
                                                     DenMat further admits that the
 11                                                  Manufacturing Agreement does
 12                                                  not contain language requiring
                                                     that DenMat’s products must
 13                                                  be made with only DenMat’s
 14                                                  ‘existing’ components from
                                                     DenMat’s ‘existing’ suppliers,
 15                                                  essentially admitting that its
 16                                                  representations to CAO on this
                                                     point were false. Dkt. No. 55-10,
 17                                                  Kopp Decl. 7/8/19, ¶ 8, Ex. M
 18                                                  (Casper Depo. 257:7-24). In
                                                     reality, Section 9.5 of the
 19
                                                     Manufacturing Agreement does
 20                                                  not require that CAO only use
                                                     DenMat’s existing vendors and
 21
                                                     components to make the
 22                                                  products, but allows CAO to
                                                     make changes, with DenMat’s
 23
                                                     approval. Dkt. No. 55-6, Kopp
 24                                                  Decl. 7/8/19, ¶ 3, Ex. H, § 9.5
                                                     (Manufacturing Agreement).
 25

 26   29. Dr. Cao admitted this at deposition:       Undisputed.
 27
      Q. Was CAO Group able to build SOLs and
 28   NVs using Den-Mat's components?

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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                                  #:2675

  1   Plaintiff’s Uncontroverted Facts and              Defendant’s Facts and
  2   Supporting Evidence                               Supporting Evidence
      A. We can –
  3   Q. And did those -- sorry.
  4   A. -- if the price will be different.
      Q. Oh, I see. So if the price in Section 5.2 of
  5   the manufacturing agreement -- if that price
  6   were different, again, we would not be
      sitting here today; is that fair to say?
  7   A. Yes.
  8   Cao Depo. at 92:12-21 (attached to Tiberi
      Decl. at Exh. 1).
  9   30. Dr. Cao made clear to DenMat, on June         Disputed, but this statement
 10   4, 2018 (seven months after contract              does not raise a genuine dispute
      execution), that CAO would not perform            of fact regarding any issue
 11   under the Manufacturing Agreement:                before the Court on CAO’s
 12                                                     Motion for Partial Summary
      Q. Okay. Did you say something like, "CAO         Judgment, and it is not
 13   Group is definitely not able to perform using     supported by the evidence
 14   Den-Mat vendors," in a phone conversation?        DenMat cites. DenMat’s
      A. I said CAO -- I definitely said that, "CAO     statement mischaracterizes the
 15
      cannot perform using your existing vendors        cited witness testimony from
 16   for the agreed price in the agreement."           Dr. Cao. DenMat’s citation to
                                                        Mr. Casper’s testimony also
 17
      Cao Depo. at 140:22-141:11 (attached to           relies on hearsay.
 18   Tiberi Decl. at Exh. 1); Casper Depo. at
      269:4- 25 (attached to Tiberi Decl. at Exh.       Dr. Cao did not testify that he
 19
      4); DEN05203 (attached to Tiberi Decl. at         ever said CAO would not
 20   Exh. 10).                                         perform under the
                                                        Manufacturing Agreement, as
 21
                                                        DenMat’s citation to his
 22                                                     testimony implies. Dr. Cao
                                                        testified that he told Mr. Casper
 23
                                                        that CAO could not do so if
 24                                                     DenMat refused to approve any
                                                        alternative vendors or
 25
                                                        components, as permitted by
 26                                                     the Manufacturing Agreement
                                                        and understood by the parties
 27
                                                        from the beginning. The
 28                                                     testimony is set forth below.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence

  3                                                  Q.· ·And after these exchanges
  4                                                  between you and Mr. Casper,
                                                     did there come a time when you
  5                                                  told Mr. Casper, CAO Group --
  6                                                  something like, "CAO
                                                     Group·definitely is unable to
  7                                                  perform using your vendors"?
  8                                                  Did you tell him that?
  9                                                  A.· ·I think I tell him when we're
 10                                                  already in the existing
                                                     communications, and if we use
 11                                                  your·manufacturing the product
 12                                                  for the contract price, we·cannot
                                                     do it.
 13
 14                                                  Q.· ·Okay.· Did you say
                                                     something like, "CAO Group is
 15                                                  definitely not able to perform
 16                                                  using Den-Mat vendors," in a
                                                     phone conversation?
 17

 18                                                  A.· ·I said CAO -- I definitely
                                                     said that, "CAO cannot perform
 19
                                                     using your existing vendors for
 20                                                  the agreed price in the
                                                     agreement."
 21

 22                                                  Dkt. No. 55-5, Kopp Decl. 7/8/19,
                                                     ¶ 3, Ex. G (Cao Depo. at 160:5-
 23
                                                     11).
 24
                                                     Mr. Casper’s testimony about
 25
                                                     this call also contradicts
 26                                                  DenMat’s statement, as he
                                                     states that Dr. Cao was not
 27
                                                     repudiating the Manufacturing
 28                                                  Agreement, but was actually

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     promising to enforce the
  3                                                  Manufacturing Agreement.
  4                                                  This testimony is set forth
                                                     below:
  5

  6                                                  A. There's a response letter
                                                     from CAO Group addressing
  7                                                  anticipatory repudiation, and
  8                                                  there was a subsequent phone
                                                     call between myself and Dr.
  9                                                  Cao, June 4th.
 10
                                                     Q. Okay. June 4th?
 11

 12                                                  A. Correct.
 13                                                  Q. What did you talk about with
 14                                                  Densen Cao in that phone call?
 15                                                  A. June 4th discussion was the
 16                                                  definitely not able to perform.
                                                     Mostly the conversation was
 17
                                                     filled with Densen threatening
 18                                                  to sue Den-Mat. He was very
                                                     clear about him getting paid or
 19
                                                     I'll get my money one way or
 20                                                  the other, I don't recall the
                                                     exact words. I believe that was
 21
                                                     the phone call where he
 22                                                  questioned Todd's ability as an
                                                     attorney. He said specifically if
 23
                                                     there's -- if you think we are
 24                                                  going to get out of the
                                                     agreement, we're wrong, he'll
 25
                                                     get his money one way or the
 26                                                  other. And we concluded the
                                                     call with him saying that he had
 27
                                                     instructed his team to cease all
 28                                                  work on the project until he

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     heard back on the options
  3                                                  presented, which were
  4                                                  consistent with the May 16th
                                                     document related to him doing
  5                                                  nothing as it relates to using
  6                                                  Den-Mat-approved vendors, or
                                                     moving forward with his
  7                                                  proposal, which was Phase 1, 2
  8                                                  and 3, which had already been
                                                     rejected out of hand. So Mr.
  9                                                  Jones may have responded by
 10                                                  retracting or addressing
                                                     anticipatory repudiation,
 11                                                  Densen Cao on June 4th
 12                                                  doubled down.
 13                                                  Dkt. No. 55-10, Kopp Decl.
 14                                                  7/8/19, ¶ 8, Ex. M (Casper Depo.
                                                     at 269:5-270:8).
 15

 16                                                  Thus, testimony shows that
                                                     even in Mr. Casper’s memory
 17
                                                     of his conversations with Dr.
 18                                                  Cao, CAO was not refusing to
                                                     perform, but consistently
 19
                                                     representing its intention to
 20                                                  enforce its rights under the
                                                     Manufacturing Agreement,
 21
                                                     stating that “if you [DenMat]
 22                                                  think [you] are going to get out
                                                     of the agreement, [you’re]
 23
                                                     wrong.”
 24
                                                     CAO never refused to perform
 25
                                                     under the terms of the
 26                                                  Manufacturing Agreement. Dkt.
                                                     No. 55-23 CAO Decl. 7/8/19, ¶
 27
                                                     33.
 28                                                  Despite DenMat’s

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
  2   Supporting Evidence                             Supporting Evidence
                                                      interpretation, Section 9.5 of
  3                                                   the Manufacturing Agreement
  4                                                   does not require that CAO only
                                                      use DenMat’s existing vendors
  5                                                   and components to make the
  6                                                   products, but allows CAO to
                                                      make changes, with DenMat’s
  7                                                   approval. Dkt. No. 55-6, Kopp
  8                                                   Decl. 7/8/19, ¶ 3, Ex. H, § 9.5
                                                      (Manufacturing Agreement).
  9                                                   DenMat admits that the
 10                                                   Manufacturing Agreement does
                                                      not contain language requiring
 11                                                   that DenMat’s products must
 12                                                   be made with only DenMat’s
                                                      ‘existing’ components from
 13                                                   DenMat’s ‘existing’ suppliers,
 14                                                   essentially admitting that its
                                                      representations to CAO on this
 15                                                   point were false. Dkt. No. 55-10,
 16                                                   Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                      (Casper Depo. 257:7-24).
 17

 18   31. CAO reiterated that it will not resume      Disputed, but this statement
      performance unless the Manufacturing            does not raise a genuine dispute
 19
      Agreement were rewritten to give CAO            of fact regarding any issue
 20   unilateral rights to redesign DenMat’s lasers   before the Court on CAO’s
      or increase prices. Cao Depo. at 140:22-        Motion for Partial Summary
 21
      141:11 (attached to Tiberi Decl. at Exh. 1);    Judgment, and it is not
 22   Casper Depo. at 245:22- 246:15, 269:4-25        supported by the evidence
      (attached to Tiberi Decl. at Exh. 4);           DenMat cites. This statement
 23
      DEN05203 (attached to Tiberi Decl. at Exh.      lacks foundation, and grossly
 24   10).                                            mischaracterizes the cited
                                                      witness testimony and the cited
 25
                                                      documents.
 26
                                                      Nowhere in any of the cited
 27
                                                      evidence is any reference to any
 28                                                   ‘demand’ that the
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     Manufacturing Agreement be
  3                                                  ‘rewritten’ for any reason.
  4
                                                     CAO never refused to perform
  5                                                  under the terms of the
  6                                                  Manufacturing Agreement, as it
                                                     is written, or demanded that the
  7                                                  Manufacturing Agreement be
  8                                                  rewritten. Dkt. No. 55-23, CAO
                                                     Decl. 7/8/19, ¶ 33.
  9

 10                                                  DenMat admits that CAO’s
                                                     Proposal to make changes is
 11                                                  consistent with the terms of the
 12                                                  Manufacturing Agreement, as it
                                                     is written. Dkt. No. 55-10, Kopp
 13                                                  Decl. 7/8/19, ¶ 8, Ex. M (Casper
 14                                                  Depo. 243:15-18).
 15
      32. The admissible evidence includes Dr.       Undisputed that Dr. Cao
 16   Cao’s sworn deposition testimony admitting     testified about statements he
      that he made the statement. Cao Depo. at       made. DenMat’s attempts to
 17
      140:22-141:11 (attached to Tiberi Decl. at     mischaracterize what Dr. Cao
 18   Exh. 1); Casper Depo. at 269:4- 25 (attached   said do not raise genuine
      to Tiberi Decl. at Exh. 4); DEN05203           disputes of fact regarding the
 19
      (attached to Tiberi Decl. at Exh. 10).         issues before the Court on
 20                                                  CAO’s Motion for Partial
                                                     Summary Judgment.
 21

 22   33. [intentionally omitted.]                   No response necessary.
      34. After its June 4, 2018 statement, CAO      Disputed that either party’s
 23
      never resumed its performance under the        performance under the
 24   Manufacturing Agreement. DEN 00275-            Manufacturing Agreement
      00276, DEN05202- DEN05208) (attached to        ceased based on any statement
 25
      Tiberi Decl. at Exh. 10); Cartagena Depo. at   by CAO. DenMat’s statement
 26   254:4-255:14 ; Casper Decl., ¶ 3; Casper       does not raise a genuine dispute
      Depo. at 245:22-246:15 (attached to Tiberi     of material fact regarding the
 27
      Decl. at Exh. 4).                              issues before the Court on
 28                                                  CAO’s Motion for Partial
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     Summary Judgment. It
  3                                                  mischaracterizes the
  4                                                  uncontroverted facts, because it
                                                     ignores the fact that DenMat
  5                                                  purported to terminate the
  6                                                  Manufacturing Agreement on
                                                     June 4, 2018.
  7

  8                                                  The parties ceased performing
                                                     under the Manufacturing
  9                                                  Agreement because DenMat
 10                                                  claimed, on June 4, 2018, that it
                                                     had terminated the
 11                                                  Manufacturing Agreement. Dkt.
 12                                                  No. 41-2, CAO Decl. 6/24/19, ¶
                                                     40, Dkt. No. 41.14, Ex. 12 (Tiberi
 13                                                  June 4, 2018 Letter (CAO 2852-
 14                                                  53).
 15
      35. CAO’s May 16, 2018 proposal (the           Disputed, but this statement
 16   “Proposal”) demanded that DenMat evaluate      does not raise a genuine dispute
      and approve some 145 separate new laser        of material fact regarding any
 17
      components; in effect, CAO insisted it         issue before the Court on
 18   would not make DenMat’s lasers—it would        CAO’s Motion for Partial
      make CAO’s lasers. CAO 000250-000255           Summary Judgment. It is not
 19
      (attached to Tiberi Decl. at Exh. 9).          supported by the evidence it
 20                                                  cites, and it is also controverted
                                                     by the other evidence on record.
 21

 22                                                  DenMat admits that CAO’s
                                                     proposal was not a “demand”
 23
                                                     or anything to that effect. Dkt.
 24                                                  No. 51-10, Kopp Decl., ¶ 8, Ex.
                                                     M (Casper Depo. 225:16-25 to
 25
                                                     226:1-17).
 26
                                                     DenMat also admits that CAO’s
 27
                                                     Proposal to make changes from
 28                                                  DenMat’s expensive
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     components to CAO’s less
  3                                                  costly components is consistent
  4                                                  with the terms of the
                                                     Manufacturing Agreement,
  5                                                  which further contradicts
  6                                                  DenMat’s statement. Dkt. No.
                                                     51-10, Kopp Decl., ¶ 8, Ex. M
  7                                                  (Casper Depo. 243:15-18). Mr.
  8                                                  Casper testified on behalf of
                                                     DenMat that CAO’s Proposal
  9                                                  “is requesting approval from
 10                                                  DenMat to make the associated
                                                     changes, which is consistent
 11                                                  with the manufacturing
 12                                                  agreement.” Id.
      36. The Proposal conditions CAO’s              Disputed, but this statement
 13   performance on a new and condition, that is, does not raise a genuine dispute
 14   allowing CAO to redesign DenMat’s lasers       of material fact regarding any
      as it sees fit. The Proposal states: CAO has   issue before the Court on
 15
      determined that the act of assuming            CAO’s Motion for Partial
 16   manufacturing is simply not economically       Summary Judgment. It is not
      viable under the terms of continued purchase supported by the evidence it
 17
      of parts and materials exactly as DenMat is    cites, and it is also controverted
 18   doing now. For this activity to be profitable, by the other evidence on record.
      CAO must make some adjustments to the
 19
      sourcing of components for these products.     There is nothing in any of the
 20   Cao Depo. at 126:6-127:22 (attached to         testimony or documents cited
      Tiberi Decl. at Exh. 1); Casper Depo. at       which supports DenMat’s
 21
      245:22-246:15 (attached to Tiberi Decl. at     allegation that CAO ever
 22   Exh. 4); CAO 000250-000255 (attached to        ‘conditioned’ its performance
      Tiberi Decl. at Exh. 9).                       under the Manufacturing
 23
                                                     Agreement on anything. CAO’s
 24                                                  Proposal speaks for itself, and it
                                                     states numerous times that
 25
                                                     CAO would not make any
 26                                                  changes without DenMat’s
                                                     approval. Dkt. No. 38-9, CAO
 27
                                                     000250-000255 (attached to
 28                                                  Tiberi Decl. at Exh. 9).

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence

  3                                                  DenMat admits that CAO’s
  4                                                  Proposal is consistent with the
                                                     terms of the Manufacturing
  5                                                  Agreement, which further
  6                                                  contradicts DenMat’s
                                                     statement. Dkt. No. 51-10, Kopp
  7                                                  Decl., ¶ 8, Ex. M (Casper Depo.
  8                                                  243:15-18). Mr. Casper
                                                     testified on behalf of DenMat
  9                                                  that CAO’s Proposal “is
 10                                                  requesting approval from
                                                     DenMat to make the associated
 11                                                  changes, which is consistent
 12                                                  with the manufacturing
                                                     agreement.” Id.
 13
 14   37. DenMat resources required to evaluate      Disputed, but this statement
      for possible approval even a small fraction    does not raise a genuine dispute
 15
      of the Proposal would be extraordinary.        of material fact regarding any
 16   CAO 002922-002935 (attached to Tiberi          issue before the Court on
      Decl. at Exh. 9); Larsen Depo. at 115:19-      CAO’s Motion for Partial
 17
      117:4 (attached to Tiberi Decl. at Exh. 2);    Summary Judgment. It is not
 18   Casper Decl., ¶ 13.                            supported by the evidence cited
                                                     and it is also contradicted by
 19
                                                     the other evidence on record.
 20
                                                     The cited document and the
 21
                                                     testimony from Mr. Larsen
 22                                                  does not address DenMat’s
                                                     resources at all. Regardless,
 23
                                                     this has nothing to do with the
 24                                                  issues before the Court on
                                                     CAO’s Motion.
 25

 26   38. [intentionally omitted].                   No response necessary.
      39. The Proposal is based on CAO “Re-          Disputed, but this statement
 27
      Design Timelines” that set out the tasks and   raises no genuine dispute of
 28   time to complete the Proposal. CAO             material fact regarding any
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
  2   Supporting Evidence                             Supporting Evidence
      002922-002935 (attached to Tiberi Decl. at      issue before the Court on
  3   Exh. 9); Larsen Depo. at 115:19-117:4           CAO’s Motion.
  4   (attached to Tiberi Decl. at Exh. 2).
                                                      CAO’s Proposal was based on
  5                                                   DenMat’s request that asked
  6                                                   CAO submit a formal proposal
                                                      for switching from DenMat’s
  7                                                   existing vendors and
  8                                                   components to alternative
                                                      vendors and components. Dkt.
  9                                                   No. 51-10, Kopp Decl. 7/8/19, ¶
 10                                                   8, Ex. M (Casper Depo. 225:16-
                                                      24).
 11                                                   DenMat admits that CAO’s
 12                                                   Proposal is consistent with the
                                                      terms of the Manufacturing
 13                                                   Agreement. Dkt. No. 51-10,
 14                                                   Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                      (Casper Depo. 243:15-18).
 15

 16   40. The Re-Design Timelines showed that         Disputed, but this statement
      CAO’s laser do-over would take months (if       does not raise a genuine dispute
 17
      not years). CAO 002922-002935 (attached         of material fact regarding any
 18   to Tiberi Decl. at Exh. 9). 41. DenMat’s        issue before the Court on
      engineering, regulatory, quality control, and   CAO’s Motion for Partial
 19
      operations teams would be forced to shift       Summary Judgment.
 20   from their DenMat responsibilities
      overseeing some 6,000 different DenMat          CAO never proposed a “laser
 21
      products to evaluating more than 145 design     do-over”. Dkt. No. 55-23, CAO
 22   changes demanded by CAO. Cao Depo. at           Decl. 7/8/19, ¶ 22. DenMat
      64:17-65:10 (attached to Tiberi Decl. at Exh.   admits that CAO’s Proposal is
 23
      1); Casper Decl., ¶ 13.                         consistent with the terms of the
 24                                                   Manufacturing Agreement. Dkt.
                                                      No. 55-10, Kopp Decl. 7/8/19, ¶
 25
                                                      8, Ex. M (Casper Depo. 243:15-
 26                                                   18).
 27
      42. CAO admitted that DenMat would be           Undisputed.
 28   required to engage its engineering team,
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      quality control team, and others to allow
  3   CAO to substitute components. Cao Depo. at
  4   123:22-125:4 (attached to Tiberi Decl. at
      Exh. 1).
  5   43. CAO conceded that changing a simple        Undisputed.
  6   electrical laser component requires exacting
      compliance with a host of regulatory and
  7   electrical safety standards. Cao Depo. at
  8   64:17-65:3, 123:25- 125:16 (attached to
      Tiberi Decl. at Exh. 1); Larsen Depo. at
  9   54:24- 57:13 (attached to Tiberi Decl. at
 10   Exh. 2).
      44. CAO’s only “evidence” is DenMat’s          Undisputed that before DenMat
 11   consistent acknowledgement, post-              abruptly refused to consider
 12   execution, that the Manufacturing              alternative vendors and
      Agreement did not prohibit CAO from            components, and insisted that
 13
      sourcing components from alternative           CAO should only use DenMat’s
 14   vendors, subject to validation and DenMat’s    existing vendors and
      approval, as set forth in Section 9.5 of the   components and therefore
 15
      Manufacturing Agreement. DEN 01082-            suffer a loss on every laser
 16   01083 (attached to Tiberi Decl. at Exh. 10).   made, DenMat had maintained
                                                     a different position: that CAO
 17
                                                     would be permitted to replace
 18                                                  DenMat’s existing vendors and
                                                     components with alternatives.
 19
 20

 21

 22

 23

 24

 25

 26

 27

 28

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and             Defendant’s Facts and
  2   Supporting Evidence                              Supporting Evidence
      45. CAO failed to resume performance             Disputed, but this does not raise
  3   under the Manufacturing Agreement after (if      a genuine dispute of material
  4   not before) DenMat declined its May 16,          fact regarding the issues before
      2018 proposal. DEN 00275-00276,                  the Court on CAO’s Motion for
  5   DEN05202- DEN05208) (attached to Tiberi          Partial Summary Judgment.
  6   Decl. at Exh. 10); Cartagena Depo. at 254:4-     This statement is not supported
      255:14; Casper Decl., ¶ 3; Casper Depo. at       by the evidence it cites, and it is
  7   245:22-246:15 (attached to Tiberi Decl. at       contradicted by the other
  8   Exh. 4).                                         evidence on record.
  9                                                    According to DenMat, CAO
 10                                                    was still requesting information
                                                       from DenMat, through May 24,
 11                                                    2018, which CAO needed to
 12                                                    build the lasers. Dkt. No. 55-10,
                                                       Kopp Decl. 7/8/19, ¶ 8, Ex. M
 13                                                    (Casper Depo. 167:24-25 to
 14                                                    168:1-20, 169:16-25 to 170:1-5).
                                                       DenMat has also admitted that
 15                                                    it did not stop working with
 16                                                    CAO under the Manufacturing
                                                       Agreement until early June
 17                                                    2018. Dkt. No. 55-9, Kopp Decl.
 18                                                    7/8/19, ¶ 7, Ex. L (Cartagena
                                                       Depo. at 253:9-15, 254:15-20).
 19
 20   46. On May 24, 2018, Dr. Cao wrote to            Disputed, but this does not raise
      DenMat’s CEO that rather than CAO                a genuine dispute of material
 21
      perform by making DenMat’s lasers,               fact regarding the issues before
 22   “DenMat will pay ongoing royalty for CAO         the Court on CAO’s Motion for
      lasers and tip sales per license agreement, it   Partial Summary Judgment.
 23
      will be 10% of net sales starting Jan. 1,        This statement is not supported
 24   2018.” CAO 002865-002866 (attached to            by the evidence it cites, and it is
      Tiberi Decl. at Exh. 9).                         contradicted by the other
 25
                                                       evidence on record.
 26
                                                       DenMat’s cites no evidence that
 27
                                                       CAO ever intended to do
 28                                                    anything “rather than” perform
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     under the Manufacturing
  3                                                  Agreement. DenMat’s
  4                                                  statement also mischaracterizes
                                                     the document it cites, which
  5                                                  directly contradicts DenMat’s
  6                                                  statement.
  7                                                  DenMat’s statement cites a May
  8                                                  24, 2018 e-mail that Densen Cao
                                                     sent David Casper, which refers
  9                                                  to DenMat’s recent decision not
 10                                                  to allow CAO to source
                                                     materials from anywhere but
 11                                                  DenMat’s existing vendors, and
 12                                                  that fact that this would cause
                                                     CAO to lose money. Dkt. No.
 13                                                  38-9, CAO 002865-002866
 14                                                  (attached to Tiberi Decl. at Exh.
                                                     9). Dr. Cao’s e-mail further
 15                                                  refers to CAO’s desire to
 16                                                  continue performing under the
                                                     Manufacturing Agreement
 17
                                                     using alternative vendors,
 18                                                  stating: “We believe that our
                                                     sourcing will provide the same
 19
                                                     or better specifications as your
 20                                                  current vendor.” Id. Dr. Cao
                                                     then states that, out of respect
 21
                                                     for DenMat’s decision, the “best
 22                                                  way to move forward is that
                                                     DenMat will pay ongoing
 23
                                                     royalty for lasers and tip sales
 24                                                  per license agreement, it will be
                                                     10% of net sales starting Jan. 1,
 25
                                                     2018. This may be the best and
 26                                                  easiest way to move forward.”
                                                     Dkt No. 38-9, CAO 002865-
 27
                                                     002866 (attached to Tiberi Decl.
 28                                                  at Exh. 9). Nowhere in Dr.

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     Cao’s e-mail is there any
  3                                                  statement that CAO intended to
  4                                                  do anything “rather than”
                                                     perform under the
  5                                                  Manufacturing Agreement, as
  6                                                  DenMat’s statement alleges.
                                                     Dr. Cao’s statement is actually
  7                                                  a summary recitation of
  8                                                  obligations that DenMat owes
                                                     under the License Agreement.
  9                                                  Dkt. No. 55-7, Kopp Decl. 7/8/19,
 10                                                  ¶ 4, Ex. I, § 4.2 (License
                                                     Agreement).
 11

 12                                                  DenMat’s citation to this e-mail
                                                     is also misleading, as DenMat
 13                                                  selectively clipped it from a
 14                                                  larger e-mail exchange between
                                                     David Casper and Dr. Cao, and
 15                                                  omitted the remainder of the
 16                                                  exchange. Dkt. No. 55-16, Kopp
                                                     Decl. 7/8/19, ¶ 14, Ex. S (DEN
 17                                                  700-701). In Dr. Cao’s May 30,
 18                                                  2018 follow-up e-mail to Mr.
                                                     Casper, Dr. Cao again repeats
 19
                                                     CAO’s intention to perform
 20                                                  under the terms of the
                                                     Manufacturing Agreement: “I
 21
                                                     just want to let you know that it
 22                                                  is our intention to provide
                                                     DenMat with equal or better
 23
                                                     products with our sourcing.
 24                                                  Any changes of vendors will
                                                     have DenMat approval before
 25
                                                     proceed the change. I believe
 26                                                  that we can have a win-win
                                                     solution as I proposed.” Id.
 27

 28   47. Section 4.3 of the License Agreement       Undisputed.
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      lists Royalty Exempt Products, including
  3   lasers made for DenMat by CAO. DEN
  4   00022-00035 (Section 4.3) (attached to
      Tiberi Decl. at Exh. 10).
  5   48. If CAO performed by supplying DenMat       Disputed, but this statement
  6   lasers, then there would be no royalty owed    raises no genuine dispute of
      on those CAO supplied DenMat lasers. DEN       material fact regarding any
  7   00022-00035 (Section 4.3) (attached to         issue before the Court on
  8   Tiberi Decl. at Exh. 10).                      CAO’s Motion for Partial
                                                     Summary Judgment. DenMat’s
  9                                                  statement lacks foundation and
 10                                                  mischaracterizes the document
                                                     it cites, the License Agreement.
 11

 12                                                  Section 4.3 of the License
                                                     Agreement does not actually
 13                                                  support the statement. Section
 14                                                  4.3 of the License Agreement
                                                     lists certain products which
 15
                                                     would be exempt from royalties.
 16                                                  It does not state that DenMat
                                                     would not owe royalties to CAO
 17
                                                     under the License Agreement if
 18                                                  CAO performed under the
                                                     separate Manufacturing
 19
                                                     Agreement. Dkt. No. 55-7, Kopp
 20                                                  Decl. 7/8/19, ¶ 4, Ex. I, § 4.3
                                                     (License Agreement).
 21

 22                                                  Other provisions of the License
                                                     Agreement directly contradict
 23
                                                     DenMat’s statement.
 24
                                                     Section 10.1 of the License
 25
                                                     Agreement expressly
 26                                                  contemplates that the parties
                                                     would cooperate to work
 27
                                                     toward CAO being the
 28                                                  manufacturer of DenMat’s
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     products, and that the parties
  3                                                  would enter the Manufacturing
  4                                                  Agreement. Id. at § 10.1.
                                                     Section 10.2 of the License
  5                                                  Agreement states that the
  6                                                  results of any cooperation
                                                     between the parties with respect
  7                                                  to the product development
  8                                                  “shall have no effect on this
                                                     [License] Agreement.” Id. at
  9                                                  § 10.2.
 10
                                                     It is undisputed that the License
 11                                                  Agreement is a valid,
 12                                                  enforceable contract entered by
                                                     the parties in November 2017.
 13                                                  Dkt. No 1 (Complaint) at 2:21-27;
 14                                                  Dkt. No. 12 (CAO Answer and
                                                     Counterclaim) at 10:27 – 11:3. It
 15                                                  has not been terminated by
 16                                                  either party and neither has
                                                     challenged its validity in this
 17                                                  case. See id. Accordingly, under
 18                                                  Section 9.1 of the License
                                                     Agreement, it “shall continue
 19
                                                     until the expiration or
 20                                                  unenforceability of the last
                                                     PATENT (the ‘Term’).” Dkt.
 21
                                                     No. 55-7, Kopp Decl. 7/8/19, ¶ 4,
 22                                                  Ex. I, § 9.1 (License Agreement).
                                                     Even if the License Agreement
 23
                                                     had been terminated, Section
 24                                                  9.5 states: “nothing herein shall
                                                     relieve [DenMat] of its
 25
                                                     obligations to pay Royalties or
 26                                                  to make other payments
                                                     required hereunder that accrue
 27
                                                     prior to termination, or to fulfill
 28                                                  its surviving obligations under

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     this Agreement for a period of
  3                                                  one (1) year.” Id. at § 9.5.
  4
      49. After CAO’s initial repudiation, DenMat    Disputed, but DenMat’s
  5   engaged in discussions with CAO to try to      statement raises no genuine
  6   get CAO to perform from late May into          dispute of material fact
      early July 2018—but CAO never agreed to        regarding the issues before the
  7   perform. DEN 00275-00276, DEN05202-            Court on CAO’s Motion for
  8   DEN05208) (attached to Tiberi Decl. at Exh.    Partial Summary Judgment.
      10); Cartagena Depo. at 254:4-255:14;          The cited evidence for the
  9   Casper Depo. at 245:22-246:15 (attached to     statement does not support the
 10   Tiberi Decl. at Exh. 4); Casper Decl., ¶ 3.    statement, and the statement is
                                                     contradicted by the other
 11                                                  evidence on record.
 12
                                                     CAO never refused to perform
 13                                                  under the terms of the
 14                                                  Manufacturing Agreement, or
                                                     otherwise repudiated the
 15
                                                     Manufacturing Agreement. Dkt.
 16                                                  No. 55-23, CAO Decl. 7/8/19, ¶
                                                     33.
 17

 18                                                  DenMat also never engaged
                                                     with CAO on what was
 19
                                                     actually required under the
 20                                                  Manufacturing Agreement.
                                                     Instead, DenMat refused to
 21
                                                     approve or even consider any
 22                                                  alternative vendors or
                                                     components, despite the fact
 23
                                                     that DenMat requested a
 24                                                  proposal from CAO for just
                                                     that information, which
 25
                                                     proposal DenMat admits is
 26                                                  fully consistent with the terms
                                                     of the Manufacturing
 27
                                                     Agreement. DenMat then
 28                                                  attempted to impose a non-
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     contractual requirement on
  3                                                  CAO that CAO must use only
  4                                                  DenMat’s existing vendors,
                                                     which DenMat knew would
  5                                                  cause CAO to suffer a loss on
  6                                                  every product made. Dkt. No.
                                                     55-10, Kopp Decl. 7/8/19, ¶ 8,
  7                                                  Ex. M (Casper Depo. 225:16-24,
  8                                                  243:15-18, 246:16-25 to 247:1-
                                                     5; Dkt. No. 55-23 CAO Decl.
  9                                                  7/8/19, ¶ 17; Dkt. No. 55-27,
 10                                                  CAO Decl. 7/8/19, Ex. 16; Dkt.
                                                     No. 55-6, Kopp Decl. 7/8/19, ¶
 11                                                  4, Ex. H, § 5.2. (Manufacturing
 12                                                  Agreement); Dkt. No. 58-1,
                                                     Hoggan Decl., ¶ 3, Ex. 1 (Tiberi
 13                                                  E-mail 4/1/19) (ATTORNEYS’
 14                                                  EYES ONLY); Dkt. No. 38-9,
                                                     CAO 002861-002862 (attached
 15                                                  to Tiberi Decl. at Exh. 9).
 16
                                                     DenMat admits that the
 17
                                                     Manufacturing Agreement
 18                                                  does not contain language
                                                     requiring that DenMat’s
 19
                                                     products must be made with
 20                                                  only DenMat’s ‘existing’
                                                     components from DenMat’s
 21
                                                     ‘existing’ suppliers, essentially
 22                                                  admitting that its
                                                     representations to CAO on
 23
                                                     this point were false. Dkt. No.
 24                                                  55-10, Kopp Decl. 7/8/19, ¶ 8,
                                                     Ex. M (Casper Depo. 257:7-24).
 25
                                                     DenMat admits that CAO’s
 26                                                  Proposal to make changes
                                                     away from DenMat’s existing
 27
                                                     vendors and components is
 28                                                  consistent with the terms of

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     the Manufacturing
  3                                                  Agreement. Dkt. No. 55-10,
  4                                                  Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                     (Casper Depo. 243:15-18).
  5                                                  DenMat also admits that the
  6                                                  parties’ understanding from
                                                     the beginning was that CAO
  7                                                  would be sourcing non-critical
  8                                                  components from alternative
                                                     vendors, and that it would
  9                                                  have been possible to swap out
 10                                                  critical components of its
                                                     lasers, as well as non-critical
 11                                                  components. Dkt. No. 55-10,
 12                                                  Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                     (Casper Depo. 57:23-58:3,
 13                                                  59:13-19); Dkt. No. 55-9, Kopp
 14                                                  Decl. 7/8/19, ¶ 7, Ex. L
                                                     (Cartagena Depo. 198:17-19).
 15                                                  However, DenMat suddenly
 16                                                  decided to change its position
                                                     later, and attempt to impose a
 17
                                                     condition that it admits is not
 18                                                  contained in the
                                                     Manufacturing Agreement,
 19
                                                     stating that “we need our
 20                                                  lasers made with existing
                                                     components from existing
 21
                                                     suppliers.” Dkt. No. 55-27,
 22                                                  CAO Decl. 7/8/19, ¶ 43, Ex. 16.
 23
                                                     DenMat later used CAO’s
 24                                                  resistance to accepting a loss
                                                     to justify its claim that
 25
                                                     DenMat could terminate the
 26                                                  Manufacturing Agreement
                                                     based on alleged
 27
                                                     “repudiation”, walk away
 28                                                  from its settlement agreement

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and             Defendant’s Facts and
  2   Supporting Evidence                              Supporting Evidence
                                                       with CAO, continue to make
  3                                                    products using CAO’s patents
  4                                                    under an alleged “royalty-
                                                       free” license, and enjoy
  5                                                    perpetual immunity from
  6                                                    patent infringement claims by
                                                       CAO. See Dkt. No. 1
  7                                                    (Complaint).
  8
      50. DenMat attempted to resolve the impasse      See CAO’s Response to
  9   created by CAO’s repudiation by discussing       DenMat’s above Statement of
 10   the impasse with CAO between May and             Fact No. 49, incorporated here
      July 2018. DEN 00275-00276, DEN05202-            as though set forth in full.
 11   DEN05208 (attached to Tiberi Decl. at Exh.
 12   10); Cartagena Depo. at 254:4-255:14;
      Casper Decl., ¶ 3.
 13
      51. Those attempts proved futile. Casper         See CAO’s Response to
 14   Decl., ¶ 3.                                      DenMat’s above Statement of
                                                       Fact No. 49, incorporated here
 15
                                                       as though set forth in full.
 16
      52. Section 7.1 requires CAO to DEN              Undisputed that CAO would
 17
      00001-00021 (Section 7.1) “provide these         have been obligated to deliver
 18   quantities of Products in the Initial Purchase   products to DenMat under an
      Order [namely, $724,000 worth of SOL             Initial Purchase Order that
 19
      lasers, NVPro3 lasers, and laser tips] at no     complied with the terms of the
 20   cost to DenMat.” (attached to Tiberi Decl. at    Manufacturing Agreement,
      Exh. 10); Cao Depo. at 48:23-49:24, 156:16-      which DenMat never issued.
 21
      23 (attached to Tiberi Decl. at Exh. 1).
 22   53. Though it kept DenMat’s $200,000,            Undisputed that CAO kept
      CAO never provided any Products under the        DenMat’s first payment, in the
 23
      Initial Purchase Order to DenMat, and            amount of $200,000, toward the
 24   therefore it breached Section 7.1. Hult          total $800,000 license fee that
 25
      (Second) Depo. at 78:22-80:3 (attached to        DenMat owes under the License
      Tiberi Decl. at Exh. 8); Cao Depo. at 110:4-     Agreement. Disputed, to the
 26   111:8 (attached to Tiberi Decl. at Exh. 1);      extent it is implied by this
 27
      Casper Decl., ¶ 4.                               statement, that this payment
                                                       was made in consideration for
 28                                                    delivery of products. This
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     statement raises no genuine
  3                                                  dispute of material fact
  4                                                  regarding any issue before the
                                                     Court on CAO’s Motion for
  5                                                  Summary Judgment. The
  6                                                  statement is not supported by
                                                     the evidence it cites, and it is
  7                                                  contradicted by the evidence on
  8                                                  record.
  9                                                  Section 4.1 of the License
 10                                                  Agreement expressly states that
                                                     DenMat was to pay the
 11                                                  $800,000 License Issue Fee to
 12                                                  CAO in consideration for the
                                                     license that CAO granted to
 13                                                  DenMat under the License
 14                                                  Agreement. Dkt. No 55-7, Kopp
                                                     Decl. 7/8/19, Ex. I (License
 15                                                  Agreement) § 4.1. The
 16                                                  Manufacturing Agreement says
                                                     nothing about any of DenMat’s
 17
                                                     payments of the License Issue
 18                                                  Fee or any other obligation that
                                                     DenMat owes under the License
 19
                                                     Agreement. Dkt. No 55-6, Kopp
 20                                                  Decl. 7/8/19, Ex. H
                                                     (Manufacturing Agreement).
 21

 22                                                  Neither the License Agreement
                                                     nor the Manufacturing
 23
                                                     Agreement condition DenMat’s
 24                                                  obligation to make the first
                                                     payment of $200,000, toward
 25
                                                     the total $800,000 owed for the
 26                                                  license, on delivery of any
                                                     products by CAO.
 27

 28

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
  2   Supporting Evidence                             Supporting Evidence
      54. CAO wrote to DenMat on May 16, 2018:        Undisputed that this selected
  3   “For this activity to be profitable, CAO must   quote is set forth in the
  4   make some adjustments to the sourcing of        proposal that CAO provided to
      components for these products.” Cao Depo.       DenMat on May 16, 2018,
  5   at 126:6-127:6 (attached to Tiberi Decl. at     which CAO provided at
  6   Exh. 1); CAO 000250-000255 (attached to         DenMat’s request.
      Tiberi Decl. at Exh. 9); DEN 00704
  7   (attached to Tiberi Decl. at Exh. 10).
  8   55. After DenMat declined the Proposal,         Disputed, but this does not raise
      CAO failed to resume performance under          a genuine dispute of material
  9   the Manufacturing Agreement. DEN 00275-         fact regarding the issues before
 10   00276, DEN05202- DEN05208 (attached to          the Court on CAO’s Motion for
      Tiberi Decl. at Exh. 10); Cartagena Depo. at    Partial Summary Judgment.
 11   254:4-255:14 ; Casper Decl., ¶ 3.               This statement is not supported
 12                                                   by the evidence it cites, and it is
                                                      contradicted by the other
 13                                                   evidence on record.
 14
                                                      According to DenMat, CAO
 15
                                                      was still requesting information
 16                                                   from DenMat, through May 24,
                                                      2018, which CAO needed to
 17
                                                      build the lasers. Dkt. No. 55-10,
 18                                                   Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                      (Casper Depo. 167:24-25 to
 19
                                                      168:1-20, 169:16-25 to 170:1-5).
 20                                                   DenMat has also admitted that
                                                      it did not stop working with
 21
                                                      CAO under the Manufacturing
 22                                                   Agreement until early June
                                                      2018. Dkt. No. 55-9, Kopp Decl.
 23
                                                      7/8/19, ¶ 7, Ex. L (Cartagena
 24                                                   Depo. at 253:9-15, 254:15-20).
 25
                                                      The parties ceased performing
 26                                                   under the Manufacturing
                                                      Agreement because DenMat
 27
                                                      claimed, on June 4, 2018, that it
 28                                                   had terminated the
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
  2   Supporting Evidence                             Supporting Evidence
                                                      Manufacturing Agreement. Dkt.
  3                                                   No. 41-14, CAO Decl. 6/24/19, ¶
  4                                                   40, Ex. 12 (Tiberi June 4, 2018
                                                      Letter (CAO 2852-53).
  5

  6   56. DenMat’s CEO confirmed that he              Disputed, but this statement
      understood that “D.O.A.” meant CAO would        does not raise a genuine dispute
  7   not honor the Manufacturing Agreement.          of material fact regarding the
  8   Casper Depo. at 262:21-263:6; 285:13-286:4      issues before the Court on
      (attached to Tiberi Decl. at Exh. 4).           CAO’s Motion for Partial
  9                                                   Summary Judgment. It is also
 10                                                   contradicted by the other
                                                      evidence on record.
 11

 12                                                Mr. Casper, DenMat’s
                                                   appointed representative under
 13                                                Rule 30(b)(6), admits that he
 14                                                does not understand what Dr.
                                                   Cao was thinking, or what he
 15
                                                   meant, when he said “D.O.A.”
 16                                                and that he “has no idea what
                                                   that means” to Dr. Cao. Dkt.
 17
                                                   No. 55-10, Kopp Decl. 7/8/19, ¶
 18                                                8, Ex. M (Casper Depo. 263:1-25
                                                   to 264:1).
 19
      57. CAO at no time nullified or revoked its  Disputed. This is not a
 20   multiple repudiations. DEN 00275-00276,      statement of fact, it is DenMat’s
      DEN05202- DEN05208 (attached to Tiberi       legal argument. This statement
 21
      Decl. at Exh. 10); Cartagena Depo. at 254:4- raises no genuine dispute of
 22   255:14; Casper Depo. at 245:22-246:15        material fact regarding the
      (attached to Tiberi Decl. at Exh. 4); Casper issues before the Court on
 23
      Decl., ¶ 3.                                  CAO’s Motion for Partial
 24                                                Summary Judgment.
 25
      58. After its June 1, 2018 letter, CAO          Disputed, but this statement
 26   reiterated its repudiation and increased its    does not raise a genuine dispute
      threats to DenMat. DEN05202-DEN05208            of material fact regarding the
 27
      (attached to Tiberi Decl. at Exh. 10); Casper   issues before the Court on
 28   Decl., ¶ 3; Casper Depo. at 245:22-246:15       CAO’s Motion for Partial
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
      (attached to Tiberi Decl. at Exh. 4).          Summary Judgment. The
  3                                                  statement is not supported by
  4                                                  the evidence it cites, and it is
                                                     also contradicted by the other
  5                                                  evidence on record.
  6
                                                     According to the testimony and
  7                                                  notes from David Casper,
  8                                                  DenMat’s appointed
                                                     representative under Rule
  9                                                  30(b)(6), during the referenced
 10                                                  communications he exchanged
                                                     with Dr. Cao, Dr. Cao did not
 11                                                  repudiated the Manufacturing
 12                                                  Agreement, but promised to
                                                     enforce it and expressed CAO’s
 13                                                  desire to continue working
 14                                                  under the terms of the
                                                     Manufacturing Agreement.
 15

 16                                                  Mr. Casper testified that during
                                                     his conversations with Dr. Cao,
 17
                                                     Dr. stated that Mr. Casper was
 18                                                  wrong if he thought that
                                                     DenMat was going to “get out
 19
                                                     of the agreement.” Dkt. No. 55-
 20                                                  10, Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                     (Casper Depo. at 269:5-270:8).
 21
                                                     According to Mr. Casper’s
 22                                                  notes from his conversations
                                                     with Dr. Cao, Dr. Cao made
 23
                                                     multiple statements about
 24                                                  CAO’s intention to hold
                                                     DenMat to the terms of the
 25
                                                     Manufacturing Agreement, and
 26                                                  restated CAO’s desire to work
                                                     with DenMat under the terms
 27
                                                     of the Manufacturing
 28                                                  Agreement. Dkt. No. 55-22,

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  1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
  2   Supporting Evidence                             Supporting Evidence
                                                      Kopp Decl. 7/8/19, ¶ 23, Ex. Y
  3                                                   (DEN 05203).
  4
      59. CAO never took any steps toward             Undisputed that after DenMat
  5   resuming performance, such as resuming the      purported to terminate the
  6   validation protocol for DenMat’s lasers,        Manufacturing Agreement on
      issuing purchase orders for laser parts from    June 4, 2018, CAO did not
  7   DenMat’s suppliers, resuming                    continue performing. Disputed
  8   communications with DenMat’s                    that CAO ever gave DenMat an
      manufacturing team, or revoking its             “ultimatum” of any kind.
  9   ultimatum to increase prices, choose            DenMat’s statement does not
 10   suppliers, and redesign the lasers. DEN         raise a genuine dispute of
      00275-00276, DEN05202- DEN05208                 material fact regarding the
 11   (attached to Tiberi Decl. at Exh. 10); Casper   issues before the Court on
 12   Depo. at 245:22-246:15 (attached to Tiberi      CAO’s Motion for Partial
      Decl. at Exh. 4); Cartagena Depo. at 254:4-     Summary Judgment. It is not
 13   255:14 (attached to Tiberi Decl. at Exh. 6);    supported by the evidence cited,
 14   Casper Decl., ¶ 3.                              and it is contradicted by the
                                                      other evidence on record.
 15

 16                                                   CAO never issued an
                                                      ultimatum to DenMat. Dkt. No.
 17
                                                      55-23, CAO Decl. 7/8/19, ¶ 11.
 18                                                   CAO proposed alternative
                                                      vendors and components and
 19
                                                      requested DenMat’s approval
 20                                                   under Section 9.5 of the
                                                      Manufacturing Agreement, and
 21
                                                      DenMat admits that CAO’s
 22                                                   proposal was consistent with
                                                      the terms of the Manufacturing
 23
                                                      Agreement. Dkt. No. 55-10,
 24                                                   Kopp Decl. 7/8/19, ¶ 8, Ex. M
                                                      (Casper Depo. 243:15-18).
 25
      60. DenMat’s damages include, but are not       Disputed, but this statement
 26   limited to, its loss of $200,000 it paid to     does not raise a genuine dispute
      CAO, for which it never received anything       of material fact regarding the
 27
      of value; lost profits expected from the        issues before the Court on
 28   transfer of its laser manufacturing to CAO;     CAO’s Motion for Partial
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                             TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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  1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
  2   Supporting Evidence                             Supporting Evidence
      loss of thirty thousand dollars of free laser   Summary Judgment. DenMat
  3   components it gave to CAO; labor and other      has failed to present any
  4   expenses incurred over a seven-month            admissible evidence that
      period trying to get CAO to perform under       supports its damage claims.
  5   the Manufacturing Agreement; its attorneys
  6   fees; and all other relief deemed appropriate   Section 4.1 of the License
      by the Court. Casper Decl., ¶ 4; Casper         Agreement expressly states that
  7   238:20- 239:10; 296:23-297:1 (attached to       DenMat was to pay the
  8   Tiberi Decl. at Exh. 4).                        $800,000 License Issue Fee to
                                                      CAO, including the first
  9                                                   payment of $200,000, in
 10                                                   consideration for the license
                                                      that CAO granted to DenMat
 11                                                   under the License Agreement,
 12                                                   not for any obligation under the
                                                      separate Manufacturing
 13                                                   Agreement. Dkt. No. 55-7, Kopp
 14                                                   Decl. 7/8/19, Ex. I (License
                                                      Agreement) § 4.1.
 15

 16                                                   DenMat has presented no
                                                      evidence supporting the other
 17
                                                      damage claims it raises for the
 18                                                   first time in response to CAO’s
                                                      Motion for Partial Summary
 19
                                                      Judgment. DenMat did not
 20                                                   disclose these damage claims, or
                                                      any evidence to support them,
 21
                                                      in its Initial Disclosures in this
 22                                                   case or in any subsequent
                                                      disclosure or production. Kopp
 23
                                                      Decl., ¶ 3, Ex. Z (DenMat Initial
 24                                                   Disclosures).
 25
      61. CAO demanded that DenMat issue the          Disputed, but this statement
 26   Initial Purchase Order as a condition for       does not raise a genuine dispute
      CAO to consider buying laser components.        of material fact regarding any
 27
      Cartagena Depo. at 183:18-184:8 (attached       issue before the Court on
 28   to Tiberi Decl. at Exh. 6).                     CAO’s Motion. This statement
                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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  1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
  2   Supporting Evidence                            Supporting Evidence
                                                     is not supported by the
  3                                                  testimony it cites.
  4
                                                     The testimony cited from
  5                                                  Robert Cartagena does not say
  6                                                  that CAO ever demanded that
                                                     DenMat issue the Initial
  7                                                  Purchase Order, as it is defined
  8                                                  in Section 7.1 of the
                                                     Manufacturing Agreement. Dkt.
  9                                                  No. 55-6, Kopp Decl. 7/8/19, Ex.
 10                                                  H (Manufacturing Agreement)
                                                     § 7.1. DenMat admits that
 11                                                  because the parties never
 12                                                  completed the manufacturing
                                                     logistics phase of their work
 13                                                  together, the Initial Purchase
 14                                                  Order was not due, and
                                                     questions around its timing are
 15                                                  “irrelevant.”
 16
                                                     David Casper, DenMat’s Chief
 17
                                                     Executive Officer and
 18                                                  appointed representative under
                                                     Rule 30(b)(6), admits that the
 19
                                                     manufacturing logistics phase
 20                                                  was not completed because the
                                                     parties did not complete the
 21
                                                     process validation. He testified:
 22                                                  “As it clearly states in Section
                                                     7.1, the initial purchase order is
 23
                                                     to be issued after the
 24                                                  manufactured initial logistics
                                                     were completed, which includes
 25
                                                     process validation to your point,
 26                                                  and we had not gotten there
                                                     yet.” Dkt. No. 41-16, Kopp Decl.
 27
                                                     6/24/19 (Casper Depo. 153:24-
 28                                                  154:3).

                             CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
       62. After CAO received DenMat’s Initial        Undisputed. The cited e-mail
   3   Purchase Order, its Vice President of          further states that because
   4   Operations wrote to DenMat: “Thank you         DenMat still had not provided
       for sending over your PO’s.” CAO 002694        CAO with information that
   5   (attached to Tiberi Decl. at Exh. 9).          CAO needed to build the lasers,
   6                                                  CAO would not be able to
                                                      deliver finished products to
   7                                                  DenMat by the due dates in the
   8                                                  purchase orders.
   9   63. As a matter of commercial reality, for     Undisputed, immaterial to this
  10   purposes of inventory control, supply chain,   case and the issues before the
       and cash flow, it is standard for a buyer to   Court on CAO’s Motion. What
  11   issue purchase orders for manageable           is “standard” has nothing to do
  12   quantities of products to be delivered over    with the specific requirements
       time, which is what DenMat did. Casper         for the “Initial Purchase
  13   Depo. at 158:18-25 (attached to Tiberi Decl.   Order” at issue in this case,
  14   at Exh. 4).                                    which is a defined term in the
                                                      Manufacturing Agreement.
  15

  16   64. The Initial Purchase Order was             Disputed, but this statement
       comprised of six pages and timely was          does not raise a genuine dispute
  17
       issued by DenMat for the quantities of         of material fact regarding the
  18   products set forth in Section 7.1 of the       issues before the Court on
       Manufacturing Agreement. CAO 002676-           CAO’s Motion. DenMat’s
  19
       002684 (attached to Tiberi Decl. at Exh. 9);   statement is not supported by
  20   DEN 00001-00021 (Section 7.1) (attached to     the evidence it cites, and is
       Tiberi Decl. at Exh. 10).                      contradicted by the evidence on
  21
                                                      record.
  22
                                                      It is undisputed that DenMat
  23
                                                      did not send a single purchase
  24                                                  order which meets the
                                                      definition of the “Initial
  25
                                                      Purchase Order” under Section
  26                                                  7.1 of the Manufacturing
                                                      Agreement. Dkt. No. 55-6, Kopp
  27
                                                      Decl. 7/8/19, Ex. H
  28                                                  (Manufacturing Agreement)
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
                                                      § 7.1. Instead, DenMat issued
   3                                                  six separate purchases orders
   4                                                  for varying quantities of
                                                      products to be due at a range of
   5                                                  times. Dkt. No. 55-24, CAO
   6                                                  Decl. 7/8/19, ¶ 13, Ex. 13.
   7                                                  It is further undisputed that the
   8                                                  Manufacturing Agreement
                                                      required that the Initial
   9                                                  Purchase Order would be
  10                                                  issued after the parties
                                                      completed manufacturing
  11                                                  logistics. Dkt. No. 55-6, Kopp
  12                                                  Decl. 7/8/19, Ex. H
                                                      (Manufacturing Agreement)
  13                                                  § 7.1. However, DenMat
  14                                                  admits that the parties never
                                                      completed manufacturing
  15                                                  logistics because they never
  16                                                  completed the process
                                                      validation.
  17

  18                                                  David Casper, DenMat’s Chief
                                                      Executive Officer and
  19
                                                      appointed representative under
  20                                                  Rule 30(b)(6), testified: “As it
                                                      clearly states in Section 7.1, the
  21
                                                      initial purchase order is to be
  22                                                  issued after the manufactured
                                                      initial logistics were completed,
  23
                                                      which includes process
  24                                                  validation to your point, and we
                                                      had not gotten there yet.” Dkt.
  25
                                                      No. 41-16, Kopp Decl. 6/24/19
  26                                                  (Casper Depo. 153:24-154:3).
  27
       65. CAO nowhere alleges that it was            Disputed, but this statement
  28   damaged by DenMat’s issuance of its Initial    does not raise a genuine dispute
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
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   1   Plaintiff’s Uncontroverted Facts and            Defendant’s Facts and
   2   Supporting Evidence                             Supporting Evidence
       Purchase Order and it never fulfilled any       of material fact regarding the
   3   purchase order. Hult (Second) Depo. at          issues before the Court on
   4   78:22- 80:3 (attached to Tiberi Decl. at Exh.   CAO’s Motion.
       8); Cao Depo. at 110:4- 111:8 (attached to
   5   Tiberi Decl. at Exh. 1); Casper Decl., ¶ 4.     DenMat never issued the
   6                                                   “Initial Purchase Order”, for
                                                       the reasons addressed in CAO’s
   7                                                   above response to DenMat’s
   8                                                   Statement of Fact. No. 64.
   9   66. CAO had not provided the proposed           Disputed, but this statement
  10   tooling design to DenMat, which would have      does not raise a genuine dispute
       had to verify that the proposed tooling         of material fact regarding the
  11   design could be used to make its existing       issues before the Court on
  12   tips. Casper Decl., ¶ 5.                        CAO’s Motion. The statement
                                                       is contradicted by the evidence
  13                                                   on record.
  14
                                                       Section 3.1 of the
  15
                                                       Manufacturing Agreement
  16                                                   requires DenMat to pay for any
                                                       necessary tooling. Dkt. No. 55-6,
  17
                                                       Kopp Decl. 7/8/19, Ex. H
  18                                                   (Manufacturing Agreement)
                                                       § 3.1. Section 3.1 does not
  19
                                                       contain any language
  20                                                   conditioning DenMat’s obligation
                                                       under this provision on a
  21
                                                       requirement that CAO had to
  22                                                   submit a design which DenMat
                                                       “had to verify.” Id.
  23

  24   67. DenMat could not have “approved” the        See above Response to
       invoice without specifications for the          DenMat’s Statement of Fact No.
  25
       proposed tooling. CAO’s providing the           66, incorporated here as though
  26   Casper Decl., ¶ 5.                              set forth in full.
  27
       68. CAO admitted it never ordered or paid       Undisputed. When DenMat
  28   for the tooling. CAO’s Responses to             refused to pay for the tooling,
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
       DenMat’s First Set of Requests for             CAO mitigated its damages.
   3   Admissions, Nos. 18, 19, and 20 (attached to
   4   Tiberi Decl. at Exh. 11).
       69. The parties were in constant contact       Undisputed.
   5   regarding DenMat’s existing component
   6   inventory. CAO 002685-CAO 002693; CAO
       000005, 00007-000008, 000019- 000022
   7   (attached to Tiberi Decl. at Exh. 9).
   8   70. Because CAO’s failure threatened to        Disputed, but this statement
       disrupt DenMat’s ability to supply lasers to   does not raise a genuine dispute
   9   its customers, the parties discussed CAO’s     of material fact regarding the
  10   purchase of DenMat’s existing component        issues before the Court on
       inventory. CAO 002685-CAO 002693; CAO          CAO’s Motion. None of the
  11   000005, 00007-00008, 000019- 000022            documents and testimony cited
  12   (attached to Tiberi Decl. at Exh. 9);          by DenMat supports this
       Cartagena Depo. at 116:3-118:12 (attached      statement, and the evidence on
  13
       to Tiberi Decl. at Exh. 6).                    record contradicts it.
  14
                                                      None of the evidence cited
  15
                                                      suggests that the parties’
  16                                                  discussion about DenMat’s
                                                      existing inventory had anything
  17
                                                      to do with DenMat’s ability to
  18                                                  supply lasers to customers.
                                                      None of the evidence cited
  19
                                                      supports the suggestion there
  20                                                  was any such threatened
                                                      ‘disruption,’ or that anything
  21
                                                      CAO did could have caused
  22                                                  one.
  23
                                                      The parties had to discuss
  24                                                  DenMat’s existing inventory
                                                      because of the express terms of
  25
                                                      the Manufacturing Agreement.
  26                                                  In the event that DenMat
                                                      decided to exercise its option to
  27
                                                      require CAO to purchase its
  28                                                  existing inventory under
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
                                                      Section 4.2 of the
   3                                                  Manufacturing Agreement,
   4                                                  CAO would be prohibited from
                                                      purchasing components from
   5                                                  any other source until
   6                                                  DenMat’s existing inventory
                                                      was exhausted. Dkt. No. 55-6,
   7                                                  Kopp Decl. 7/8/19, Ex. H
   8                                                  (Manufacturing Agreement)
                                                      § 4.2. CAO was therefore
   9                                                  unable to order any
  10                                                  components from alternative
                                                      sources, without risking a
  11                                                  breach of Section 4.2 of the
  12                                                  Manufacturing Agreement,
                                                      until DenMat decided whether
  13                                                  or not it was going to exercise
  14                                                  the option under Section 4.2,
                                                      and advised CAO accordingly.
  15                                                  Id.; Dkt. No. 41-2, CAO Decl.
  16                                                  6/24/19, ¶ 13.
  17
       71. In early February 2018, DenMat             Disputed, but this statement
  18   provided to CAO a list of all “available       does not raise a genuine dispute
       inventory that CAO could, at its option, buy   of material fact regarding the
  19
       from [DenMat], if it felt it needed to, in     issues before the Court on
  20   order to get through validation.” CAO          CAO’s Motion. None of the
       002685-CAO 002693; CAO 000005, 00007-          documents and testimony cited
  21
       00008, 000019-000022 (attached to Tiberi       by DenMat supports this
  22   Decl. at Exh. 9); Cartagena Depo. at 116:3-    statement, and the evidence on
       118:12 (attached to Tiberi Decl. at Exh. 6);   record contradicts it.
  23
       Casper Decl., ¶ 22.
  24                                                  As the cited e-mails show, at
                                                      this point in the parties’
  25
                                                      communications about
  26                                                  DenMat’s existing inventory,
                                                      DenMat refused to allow CAO
  27
                                                      to purchase components from
  28                                                  DenMat’s existing inventory the
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
                                                      fair market price, even though
   3                                                  the fair market price was lower
   4                                                  than what DenMat wanted to
                                                      charge CAO for these
   5                                                  components.
   6
                                                      The evidence is also
   7                                                  uncontroverted that it was
   8                                                  DenMat’s option, not CAO’s,
                                                      under Section 4.2 of the
   9                                                  Manufacturing Agreement, to
  10                                                  require CAO to purchase
                                                      components from DenMat’s
  11                                                  existing inventory before CAO
  12                                                  could purchase components
                                                      from any other sources. Dkt.
  13                                                  No. 55-6, Kopp Decl. 7/8/19, Ex.
  14                                                  H (Manufacturing Agreement)
                                                      § 4.2. DenMat admits that it
  15                                                  never told CAO one way or the
  16                                                  other whether DenMat intended
                                                      to exercise its option under
  17                                                  Section 4.2. Dkt. No. 55-23,
  18                                                  CAO Decl. 7/8/19, ¶ 9; Dkt. No.
                                                      41-17, Kopp Decl. 6/24/19, ¶ 6,
  19
                                                      Ex. B (Cartagena Depo. 113:11-
  20                                                  25 to 115:5-18).
  21
                                                      Finally, as DenMat states in its
  22                                                  Statement of Fact No. 60,
                                                      contained herein, DenMat gave
  23
                                                      CAO the components to build
  24                                                  the validation lasers. CAO was
                                                      not purchasing parts to build
  25
                                                      the validation lasers.
  26
       72. Also in February 2018, DenMat              Disputed, but this statement
  27
       provided a spreadsheet with a list of all      does not raise a genuine dispute
  28   components, quantities, open purchase          of material fact regarding the
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and               Defendant’s Facts and
   2   Supporting Evidence                                Supporting Evidence
       orders for future deliveries, and prices for all   issues before the Court on
   3   components—all available for CAO to                CAO’s Motion. None of the
   4   purchase at any time. CAO 002685-CAO               documents and testimony cited
       002693; CAO 000005, 00007-00008,                   by DenMat supports this
   5   000019- 000022 (attached to Tiberi Decl. at        statement, and the evidence on
   6   Exh. 9); Cartagena Depo. at 116:3-118:12           record contradicts it.
       (attached to Tiberi Decl. at Exh. 6); Casper
   7   Decl., ¶ 22.                                       DenMat did not make its
   8                                                      existing inventory “available for
                                                          CAO to purchase at any time,”
   9                                                      as the statement suggests.
  10                                                      Rather than make the
                                                          components in its existing
  11                                                      inventory available for CAO to
  12                                                      purchase under the terms of the
                                                          Section 4.2 of the
  13                                                      Manufacturing Agreement,
  14                                                      DenMat refused to allow CAO
                                                          to purchase these components
  15                                                      at the lower fair market price,
  16                                                      but instead attempted to
                                                          persuade CAO to pay a
  17
                                                          negotiated “middle ground”
  18                                                      price. DenMat ultimately never
                                                          exercised the option anyway.
  19
                                                          Dkt. No. 55-23, CAO Decl.
  20                                                      7/8/19, ¶ 9; Dkt. No. 55-9, Kopp
                                                          Decl. 7/8/19, ¶ 7, Ex. L
  21
                                                          (Cartagena Depo. 113:11-25 to
  22                                                      115:5-18); Dkt. No. 55-15, Kopp
                                                          Decl. 7/8/19, ¶ 14, Ex. R (DEN
  23
                                                          2870). Dkt. No. 55-6, Kopp Decl.
  24                                                      7/8/19, Ex. H (Manufacturing
                                                          Agreement) § 4.2.
  25

  26                                                      According to DenMat’s own
                                                          recorded communications on
  27
                                                          this point, CAO asked DenMat
  28                                                      to tell CAO whether DenMat

                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
                                                      intended to exercise its option
   3                                                  under Section 4.2 of the
   4                                                  Manufacturing Agreement. In
                                                      it, DenMat’s Chief Operating
   5                                                  Officer, Robert Cartagena,
   6                                                  stated: “The CAO Group
                                                      simply wants to know whether
   7                                                  or not we will exercise our
   8                                                  option and if so, what items and
                                                      what quantities we will be
   9                                                  selling.” Dkt. No. 41-20, Kopp
  10                                                  Decl. 6/24/19, ¶ 9, Ex. E.
  11   73. CAO was given the opportunity by           See above Response to
  12   DenMat to purchase any or all of DenMat’s      DenMat’s Statement of Fact No.
       entire component inventory at any time; it     72, incorporated herein as
  13   chose not to. CAO 002685-CAO 002693;           though set forth in full.
  14   CAO 000005, 00007-00008, 000019-
       000022 (attached to Tiberi Decl. at Exh. 9);
  15
       Cartagena Depo. at 116:3-118:12 (attached
  16   to Tiberi Decl. at Exh. 6); Casper Decl., ¶
       22.
  17
       74. CAO’s suggestion that DenMat refused       See above Response to
  18   to provide information or prevented it from    DenMat’s Statement of Fact No.
       buying from other sources is false. CAO        72, incorporated herein as
  19
       002685-CAO 002693; CAO 000005, 00007-          though set forth in full.
  20   000008, 000019- 000022 (attached to Tiberi
       Decl. at Exh. 9); Cartagena Depo. at 116:3-    CAO was unable to order any
  21
       118:12 (attached to Tiberi Decl. at Exh. 6);   components from alternative
  22   Casper Decl., ¶ 22.                            sources, without risking a
                                                      breach of Section 4.2 of the
  23
                                                      Manufacturing Agreement,
  24                                                  until DenMat decided whether
                                                      or not it was going to exercise
  25
                                                      the option under Section 4.2,
  26                                                  and advised CAO accordingly.
                                                      Id.; Dkt. No. 41-2, CAO Decl.
  27
                                                      6/24/19, ¶ 13. DenMat admits
  28                                                  that it never sent CAO any
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
                                                      communication indicating
   3                                                  whether or not it intended to
   4                                                  exercise its option under
                                                      Section 4.2 of the
   5                                                  Manufacturing Agreement. Dkt.
   6                                                  No. 41-17, Kopp Decl. 6/24/19, ¶
                                                      6, Ex. B (Cartagena Depo.
   7                                                  113:11-25 to 115:5-18).
   8
       75. DenMat’s willingness to sell CAO its       Disputed, but this statement
   9   components, at a loss to DenMat, rather than   does not raise a genuine dispute
  10   haggle over price, was caused by CAO’s         of material fact regarding the
       failure to initiate, let alone maintain, a     issues before the Court on
  11   supply chain, for the manufacture of           CAO’s Motion. None of the
  12   DenMat’s lasers. Cartagena Depo. at 116:3-     documents and testimony cited
       118:12 (attached to Tiberi Decl. at Exh. 6).   by DenMat supports this
  13                                                  statement, and the evidence on
  14                                                  record contradicts it.
  15
                                                      Was not willing to sell CAO its
  16                                                  components, per the
                                                      requirements of Section 4.2 of
  17
                                                      the Manufacturing Agreement.
  18                                                  CAO repeatedly requested that
                                                      DenMat tell CAO whether
  19
                                                      DenMat intended to exercise its
  20                                                  option under Section 4.2, and if
                                                      so, to please provide CAO with
  21
                                                      the cost information for the
  22                                                  items DenMat wished to sell to
                                                      CAO from its existing
  23
                                                      inventory, so that the parties
  24                                                  could determine whether CAO
                                                      would pay: DenMat’s material
  25
                                                      cost plus 4%, or the fair market
  26                                                  price, whichever is less. When
                                                      CAO presented DenMat with
  27
                                                      information showing that the
  28                                                  fair market price for the
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
                                                      components was lower than
   3                                                  DenMat’s material costs,
   4                                                  DenMat attempted to persuade
                                                      CAO to pay a negotiated
   5                                                  “middle ground” price, rather
   6                                                  than the lower fair market
                                                      price, but DenMat ultimately
   7                                                  never exercised the option. Dkt.
   8                                                  No. 55-23, CAO Decl. 7/8/19, ¶
                                                      9; Dkt. No. 55-9, Kopp Decl.
   9                                                  7/8/19, ¶ 7, Ex. L (Cartagena
  10                                                  Depo. 113:11-25 to 115:5-18);
                                                      Dkt. No. 55-15, Kopp Decl.
  11                                                  7/8/19, ¶ 14, Ex. R (DEN 2870).
  12
                                                      CAO was unable to order any
  13                                                  components from alternative
  14                                                  sources, without risking a
                                                      breach of Section 4.2 of the
  15                                                  Manufacturing Agreement,
  16                                                  until DenMat decided whether
                                                      or not it was going to exercise
  17
                                                      the option under Section 4.2,
  18                                                  and advised CAO accordingly.
                                                      Id.; Dkt. No. 41-2, CAO Decl.
  19
                                                      6/24/19, ¶ 13. DenMat admits
  20                                                  that it never sent CAO any
                                                      communication indicating
  21
                                                      whether or not it intended to
  22                                                  exercise its option under
                                                      Section 4.2 of the
  23
                                                      Manufacturing Agreement. Dkt.
  24                                                  No. 41-17, Kopp Decl. 6/24/19, ¶
                                                      6, Ex. B (Cartagena Depo.
  25
                                                      113:11-25 to 115:5-18).
  26
       76. CAO’s Vice President of Products           Disputed, but this statement
  27
       acknowledged that “the whole point” of the     does not raise a genuine dispute
  28   Manufacturing Agreement was for CAO to         of material fact regarding the
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
       continue to buy from DenMat’s vendors the      issues before the Court on
   3   same laser components DenMat was buying        CAO’s Motion. None of the
   4   so that the process of buying the same         documents and testimony cited
       components “would remain unaffected.”          by DenMat supports this
   5   Larsen Depo. at 62:5-18 (attached to Tiberi    statement, and the evidence on
   6   Decl. at Exh. 2); CAO 002136 (attached to      record contradicts it.
       Tiberi Decl. at Exh. 9).
   7                                                  DenMat grossly misstates the
   8                                                  cited testimony from Rob
                                                      Larsen and the cited e-mail.
   9                                                  Mr. Larsen made no sweeping
  10                                                  statements about the “whole
                                                      point of the Manufacturing
  11                                                  Agreement,” as DenMat’s
  12                                                  statement suggests. Mr.
                                                      Larsen’s cited testimony
  13                                                  regards an e-mail he sent about
  14                                                  a single component, a battery.
  15                                                  DenMat has admitted that from
  16                                                  the early stages of CAO’s and
                                                      DenMat’s work together under
  17
                                                      the Manufacturing Agreement,
  18                                                  the parties understood that
                                                      CAO would be permitted to
  19
                                                      source components from
  20                                                  vendors other than DenMat’s
                                                      existing vendors, and the
  21
                                                      parties discussed this openly.
  22                                                  Dkt. No. 41-16, Kopp Decl.
                                                      6/24/19, ¶ 5, Ex. A (Casper Depo.
  23
                                                      57:23-25 to 58:1-3, 59:13-19);
  24                                                  Dkt. No. 41-17Kopp Decl. 7/8/19,
                                                      ¶ 6, Ex. B (Cartagena Depo. 55:4-
  25
                                                      11).
  26
       77. CAO never delivered anything of value      Disputed, but this statement
  27
       to DenMat. Hult (Second) Depo. at 78:22-       does not raise a genuine dispute
  28   80:3 (attached to Tiberi Decl. at Exh. 8);     of material fact regarding the
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
       Cao Depo. at 110:4-111:8 (attached to Tiberi   issues before the Court on
   3   Decl. at Exh. 1); Casper Decl., ¶ 4.           CAO’s Motion. None of the
   4                                                  documents and testimony cited
                                                      by DenMat supports this
   5                                                  statement, and the evidence on
   6                                                  record contradicts it.
   7                                                  David Casper, DenMat’s
   8                                                  appointed representative under
                                                      Rule 30(b)(6), admitted that
   9                                                  when CAO made lasers for the
  10                                                  validation process that passed
                                                      DenMat’s inspection, those
  11                                                  would be “sellable units” that
  12                                                  DenMat could “put into
                                                      finished goods in an
  13                                                  unquarantined fashion and
  14                                                  sold.” Dkt. No. 41-16, Kopp
                                                      Decl. 6/24/19, ¶ 5, Ex. A (Casper
  15                                                  Depo. 134:19-21, 198:17-25). It
  16                                                  is uncontroverted that CAO
                                                      made lasers during the process
  17
                                                      validation and delivered them
  18                                                  to DenMat, whereupon those
                                                      lasers passed DenMat’s
  19
                                                      inspection. Dkt. No. 55-30, CAO
  20                                                  Decl. 7/8/19, ¶ 49, Ex. 19 (CAO
                                                      000097). By DenMat’s own
  21
                                                      definition of “sellable” lasers,
  22                                                  CAO clearly delivered lasers
                                                      that were “of value” to DenMat.
  23

  24   78. CAO supplied nothing of value to           Disputed, but this statement
       DenMat in exchange for DenMat’s $200,000       raises no genuine dispute of
  25
       initial payment. Hult (Second) Depo. at        material fact regarding the
  26   78:22-80:3 (attached to Tiberi Decl. at Exh.   issues before the Court on
       8); Cao Depo. at 110:4-111:8 (attached to      CAO’s Motion. It is not
  27
       Tiberi Decl. at Exh. 1); Casper Decl., ¶ 4.    supported by the evidence it
  28                                                  cites, and is contradicted by the
                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1   Plaintiff’s Uncontroverted Facts and           Defendant’s Facts and
   2   Supporting Evidence                            Supporting Evidence
                                                      other evidence on record.
   3

   4                                                  Section 4.1 of the License
                                                      Agreement expressly states that
   5                                                  DenMat was to pay the
   6                                                  $800,000 License Issue Fee to
                                                      CAO in consideration for the
   7                                                  license that CAO granted to
   8                                                  DenMat under the License
                                                      Agreement. Dkt. No. 55-7, Kopp
   9                                                  Decl. 7/8/19, Ex. I (License
  10                                                  Agreement) § 4.1. DenMat
                                                      made the first payment, in the
  11                                                  amount of $200,000, toward the
  12                                                  total $800,000 it owes, in
                                                      exchange for CAO granting
  13                                                  DenMat a license to use CAO’s
  14                                                  patents.
  15
       79. According to CAO’s documents               Disputed, but this statement
  16   produced in discovery, CAO spent a total of    raises no genuine dispute of
       $240.00 on components for DenMat’s lasers,     material fact regarding the
  17
       which was for paper labels and brochures       issues before the Court on
  18   that cost between 13 and 22 cents each.        CAO’s Motion.
       CAO 002897 (attached to Tiberi Decl. at
  19
       Exh. 9).                                       See above Response to
  20                                                  DenMat’s Statement of Fact No.
                                                      74, incorporated herein as
  21
                                                      though set forth in full.
  22

  23   ///
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///

                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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   1
       Date: July 15, 2019
   2
                                                    Respectfully submitted,
   3
                                                    PROCOPIO, CORY, HARGREAVES
   4                                                  & SAVITCH, LLP
   5
                                                    By:   /s/ J. Christopher Jaczko
   6                                                      J. Christopher Jaczko
   7                                                      Raymond K. Chan

   8                                                DART, ADAMSON & DONOVAN
   9
                                                    Craig A. Hoggan
  10                                                Nathan J. Kopp
  11
                                                    Attorneys for CAO Group, Inc.
  12

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  28   DOCS 3712364.1


                              CAO’S REPLY STATEMENT TO DENMAT’S RESPONSES
                              TO CAO’S STATEMENT OF UNCONTROVERTED FACTS
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